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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                              EXHIBIT 15 TO EXHIBIT BOOK
                     W. R. GRACE & CO. GUARANTEE AGREEMENT (PI)

                                                                                                 EXHIBIT 15

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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            FORM OF W. R. GRACE & CO. GUARANTEE AGREEMENT (PI)

                       $1,550,000,000 Deferred Payment Agreement (PI)



                This W. R. GRACE & CO. GUARANTEE AGREEMENT (PI) (this “Guarantee
(PI)”) is made and entered into as of [ ], 2009, by and between W. R. Grace & Co., a Delaware
corporation (together with any successor thereto pursuant to the terms and conditions of Section
16, the “Guarantor”), and the WRG Asbestos PI Trust (the “Trust (PI)”), a Delaware statutory
trust established pursuant to §524(g) of the Bankruptcy Code in accordance with the Plan of
Reorganization (as hereinafter defined). Unless otherwise defined herein or the context
otherwise requires, capitalized terms used herein and defined in the Plan of Reorganization shall
be used herein as therein defined.

             This Guarantee (PI) is the “Parent Guarantee” described and defined in the
Deferred Payment Agreement (PI) (as defined below) and is effective as of the Effective Date.

                                        WITNESSETH

               In consideration of the terms and conditions contained herein, and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
hereto hereby agree as follows:

               1.      Definitions; Rules of Interpretation.

             (a)    As used in this Guarantee (PI), the following terms shall have the
following meanings:

                “Authorized Officer” means, with respect to any Entity, the chief executive
officer, president, chief financial officer, controller, executive vice president or senior vice
president of such Entity.

                “Bona Fide Compensation Transaction” means any payment, grant or award,
whether in cash, securities, options or other consideration, including without limitation salary or
bonus, to or for the benefit of any director, officer or employee of any Transferor or any of its
Affiliates made for legitimate, bona fide compensation and/or incentivization purposes; provided
that compensation paid, granted or awarded to any one such individual in any Fiscal Year of
Transferor whose aggregate value at the time or times of payment, grant or award is in excess of
$15,000,000 shall be a Bona Fide Compensation Transaction only (i) if the relevant Transferor is
then obligated to file or furnish, or is otherwise filing or furnishing, reports with the United
States Securities and Exchange Commission pursuant to Section 13 or 15 of the Securities
Exchange Act of 1934, it is approved by an independent committee of the Board of Directors of
the Transferor (or other similar management body of the Transferor) or (ii) if the relevant
Transferor is not then obligated to file or furnish, or is not otherwise filing or furnishing, reports
with the United States Securities and Exchange Commission pursuant to Section 13 or 15 of the




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Securities Exchange Act of 1934, a reputable independent compensation expert or consultant
selected by the Transferor with the consent of the Permitted Holder (which consent shall not be
unreasonably withheld, conditioned or delayed) shall have determined, in its reasonable, good
faith judgment, that such payment, grant or award is reasonable and appropriate. For purposes of
the proviso in the previous sentence, (A) no payment or other value received in a given year
pursuant to the terms of a grant or award in a previous year shall be taken into account for
calculating the compensation in such given year; and (B) in the event of multiple payments,
grants or awards in a given Fiscal Year, the independent committee approval, or independent
compensation expert or consultant determination, as appropriate, shall be made with respect to
each payment, grant or award beginning with the payment, grant or award that causes the
compensation to be in excess of $15,000,000.

               “Business Day” has the meaning set forth in the Deferred Payment Agreement
(PI).

               “Capital Stock” means, with respect to any Entity, any share of stock, or any
depositary receipt or other certificate representing any share of stock, or any similar equity
ownership interest, and any warrant, option, or any other security providing for the right to
acquire any such share of stock or similar equity ownership interest.

               “Claims” has the meaning set forth in Section 17(b).

               “Collateral Agent” has the meaning set forth in the Deferred Payment Agreement
(PI).

               “Compliance Certificate” means a certificate in the form of Exhibit C.

                “Control” means, as to any Entity, the power to direct the management and
policies of such Entity directly or indirectly, whether through the ownership of voting securities,
by contract or otherwise; and the terms “Controlling” and “Controlled” have meanings
correlative to the foregoing.

                 “Controlled Affiliate” means, as to any Entity (the “Controlling Entity”), any
Affiliate that is Controlled by such Controlling Entity.

               “Default Rate” has the meaning set forth in the Deferred Payment Agreement
(PI).

             “Deferred Payment Agreement (PI)” means that certain Deferred Payment
Agreement (PI), dated as of the date hereof, between Grace and the Trust (PI).

             “Deferred Payment Date (PI)” has the meaning set forth in the Deferred Payment
Agreement (PI).

             “Deferred Payment Documents” has the meaning set forth in the Deferred
Payment Agreement (PI).



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             “Deferred Payment Documents (PI)” means this Guarantee (PI), the Deferred
Payment Agreement (PI) and the Share Issuance Agreement.

             “Deferred Payment Documents (PD)” has the meaning set forth in the Deferred
Payment Agreement (PI).

             “Deferred Payment Documents (ZAI)” has the meaning set forth in the Deferred
Payment Agreement (PI).

             “Deferred Payment (PI)” has the meaning set forth in the Deferred Payment
Agreement (PI).

               “Demand for Issuance of the Section 524(g) Shares” has the meaning set forth in
the Share Issuance Agreement.

                “Designated Guarantor Senior Indebtedness” means Guarantor Senior
Indebtedness issued, pursuant to a facility with an aggregate principal amount, commitments
and/or other financial accommodations then outstanding and/or available (disregarding for
purposes of this definition whether any conditions for draws thereunder have been satisfied), as
of the relevant date of determination, of at least $25,000,000.

               “Disposition Transaction” has the meaning set forth in Section 7(b).

                “Disqualified Equity Interest” means that portion of any Equity Interest which, by
its terms (or by the terms of any security into which it is convertible or for which it is
exchangeable), or upon the happening of any event, matures or is mandatorily redeemable,
pursuant to a sinking fund obligation or otherwise, or is redeemable at the sole option of the
holder thereof on or prior to the final Deferred Payment Date (PI).

                “EBITDA” means, for any Entity for any period, such Entity’s and its
Subsidiaries’ consolidated net income (determined in accordance with GAAP) for such period
plus, without duplication, in respect of any such item of such Entity and/or any of its Subsidiaries
(i) to the extent deducted in determining such consolidated net income, the sum, without
duplication, of (a) interest expense, (b) provisions for any income or similar taxes paid or
accrued, (c) all amounts treated as expenses for depreciation and amortization of any kind, (d)
cash and non-cash restructuring and reorganization, and other similar fees, costs, charges and
expenses, including without limitation, as a result of, or in connection with, the Chapter 11 Cases
and the Deferred Payment Documents, (e) items classified as extraordinary under Accounting
Principles Board Opinion No. 30 (as amended, restated, supplemented, replaced or otherwise
modified from time to time) incurred during such period, and (f) any non-cash charges minus (ii)
to the extent included in determining such consolidated net income, the sum, without duplication,
of (a) gross interest income received during such period and (b) items classified as extraordinary
under Accounting Principles Board Opinion No. 30 (as amended, restated, supplemented,
replaced or otherwise modified from time to time) realized during such period, all, in the cases of
clauses (i) and (ii) above, as determined on a consolidated basis in accordance with GAAP.




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                “Equity Interest” means shares of capital stock or equity, equity securities or
ownership interests in any Entity or any rights (including any (x) options, warrants or other rights
to purchase or acquire any such stock, equity or interests (whether or not at the time exercisable),
or (y) securities by their terms convertible into or exchangeable for any such stock, equity or
interests (whether or not at the time so convertible or exchangeable) or options, warrants or
rights to purchase such convertible or exchangeable securities.

               “Event of Default” has the meaning set forth in the Deferred Payment Agreement
(PI).

              “Fiscal Quarter” means, in respect of any Entity, a fiscal quarter of such Entity as
determined by it.

              “Fiscal Year” means, in respect of any Entity, a fiscal year of such Entity as
determined by it.

               “GAAP” means generally accepted accounting principles in effect from time to
time in the United States, applied on a consistent basis; provided, however, that as of such time,
if any, when any Entity begins to provide financial information generally on the basis of IFRS,
then any reference to GAAP with respect to such Entity shall be given effect as a reference to
IFRS.

               “Governing Documents” means, as to any Entity, its articles or certificate of
incorporation and by-laws, its partnership agreement, its certificate of formation and operating
agreement and/or the organizational or governing documents of such Entity.

                “Governmental Authority” means the government of the United States of America
or any other country, or of any political subdivision thereof, whether state or local, and any
agency, authority, instrumentality, regulatory body, court, central bank or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of, or
pertaining to, government (including any supra-national bodies such as the European Union or
the European Central Bank).

                “Grace” means W. R. Grace & Co.-Conn., a Connecticut corporation, and any
successor to its obligations under the Deferred Payment Agreement (PI) pursuant to the terms
and conditions of Section 16 thereof.

               “Guaranteed Obligations (PI)” has the meaning set forth in Section 2(a).

               “Guarantee Payment Blockage Notice” has the meaning set forth in Section
8(a)(ii).

               “Guarantee Payment Blockage Period” has the meaning set forth in Section
8(a)(ii).

               “Guarantor” has the meaning set forth in the introductory paragraph.



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                 “Guarantor Senior Indebtedness” means any and all present and/or future, direct
and/or indirect, indebtedness, liabilities and other obligations of the Guarantor owed to any
Entity (whether as senior or subordinated indebtedness, as a first lien, second lien, any other
position or priority, and any mezzanine, subordinated or other indebtedness) including any
principal, interest and premiums, fees, investment points, reimbursement obligations, issuance
discounts and/or other costs, indemnities, liabilities and/or expenses thereon or in connection
therewith (including any interest accruing subsequent to the filing of a petition of bankruptcy at
the rate provided for in the documentation with respect thereto, whether or not such interest is an
allowed claim under applicable Law), in each case, under or with respect to (i) any credit or loan
facilities (whether provided by one or more banks, insurance companies, financial institutions,
private equity or hedge funds, lenders, and/or other Entities) and/or (ii) any debt, bonds,
debentures, notes, repurchase, discount, securitization, factoring and/or other similar facilities
providing for indebtedness, including any and all obligations of any nature in respect of loans,
credit agreements, indentures, and bonds, together with obligations in respect of hedging
arrangements (whether in respect of interest rates, currencies, commodities, equities,
indebtedness and/or otherwise), in each case, entered into with banks, insurance companies,
financial institutions, private equity or hedge funds, lenders and/or other Entities who are
engaged in the business of providing financing (but not customers of or suppliers to the
Guarantor to the extent constituting trade payables), notes, letters of credit, and synthetic letters
of credit in connection therewith, and/or (iii) any reimbursement, payment, indemnities, fees,
guarantees or other obligations in connection with any credit or loan facilities or indebtedness,
liabilities and other obligations referenced in clauses (i) or (ii);

                except in each case, for any indebtedness owed by the Guarantor (A) that by its
express terms is not Guarantor Senior Indebtedness for purposes of the Deferred Payment
Agreement (PI) and this Guarantee (PI) and is to be treated as pari passu or junior and
subordinated with respect thereto in accordance with its terms, (B) for the avoidance of doubt,
consisting of obligations to trade creditors and other trade payables in connection with the
purchase of goods, materials or services, (C) owed to, or guaranteed by Grace or the Guarantor
on behalf of, any director, officer or senior key employee of (1) Grace, (2) the Guarantor or (3)
any Subsidiary or Affiliate of Grace or the Guarantor (D) represented by Disqualified Equity
Interest, (E) owed to (1) Grace or (2) any Subsidiary or Affiliate of Grace or the Guarantor and
(F) resulting from the Deferred Payment Documents (PD) or the Deferred Payment Documents
(ZAI).

               “Guarantor Senior Non-Payment Default” has the meaning set forth in Section
8(a)(ii).

               “Guarantor Senior Payment Default” has the meaning set forth in Section 8(a)(i).

               “Guarantor Senior Remedies” means, if an event of default has occurred and is
continuing under the terms of any agreement or document relating to Guarantor Senior
Indebtedness, any of the following by the holder (or any agent or trustee of the holder) of any
Guarantor Senior Indebtedness: (1) exercising or seeking to exercise any rights or remedies
against Grace or the Guarantor with respect to such event of default or (2) instituting any action
or proceeding with respect to such rights or remedies (including any action of foreclosure,


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contest or protest) under any agreement or document relating to Guarantor Senior Indebtedness,
or under such event of default or otherwise or (3) attempting to do any of the foregoing.

               “IFRS” means the International Financial Reporting Standards as adopted by the
International Accounting Standards Board and in effect from time to time, consistently applied.

                “Insolvent” means the financial condition of the Guarantor and its Subsidiaries
taken as a whole such that, as of the date specified, the sum of their liabilities is greater than a
fair valuation of all of their property and assets.

               “Intercreditor Agreement” means the Intercreditor Agreement, dated as of the
date hereof, among the Trusts’ Representative, the Trust (PI) and the Trust (PD).

                “Laws” means, collectively, all applicable international, foreign, Federal, state
and local statutes, treaties, rules, regulations, ordinances and codes, including the binding
interpretation or administration thereof by any Governmental Authority charged with the
enforcement, interpretation or administration thereof.

               “NASDAQ” shall mean The NASDAQ Stock Market (including any of its
subdivisions such as the NASDAQ Global Select Market) or any successor market thereto.

              “NYSE” shall mean The New York Stock Exchange or any successor stock
exchange thereto.

                “Ordinary Dividends” means, in respect of any Entity, ordinary cash dividends
declared and paid out of surplus and/or net profits (as determined in accordance with applicable
law) in accordance with the dividend policy of such Entity as in effect from time to time;
provided, however, that notwithstanding the foregoing, the excess, if any, of (a) the aggregate
amount of dividends declared and paid by such Entity in any Fiscal Year over (b) 50% of such
Entity’s and its Subsidiaries’ consolidated net income (determined in accordance with GAAP)
for the immediately preceding Fiscal Year shall not constitute “Ordinary Dividends” to the
extent of such excess.

               “Permitted Holder” has the meaning set forth in the Deferred Payment Agreement
(PI).

               “Permitted Payee” has the meaning set forth in the Deferred Payment Agreement
(PI).

               “Permitted Payor” has the meaning set forth in the Deferred Payment Agreement
(PI).

                “Plan of Reorganization” means that certain First Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code of W. R. Grace & Co., et al., the
Official Committee of Asbestos Personal Injury Claimants, the Future Claimants’
Representative, and the Official Committee of Equity Security Holders Dated as of February 27,
2009, as filed by Grace and certain of its affiliates in their reorganization cases under chapter 11
of the Bankruptcy Code, in the United States Bankruptcy Court for the District of Delaware, and

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as confirmed by order of that court dated as of [__], 2009, together with the exhibits and
schedules thereto, each as amended, supplemented or otherwise modified from time to time in
accordance with its terms.

               “Post-Transaction Certificate” means a certificate in the form of Exhibit D.

               “Post-Transaction Pro Forma Cash Balance” means with respect to any Entity as
of any date of determination, the aggregate amount of such Entity’s and its consolidated
Subsidiaries’ cash and cash equivalents as of such date (after giving effect to and assuming the
consummation of any Significant Transaction with a Transaction Date occurring on or prior to
such date, notwithstanding that such Significant Transaction may not have actually been
consummated as of such date), other than cash and cash equivalents the disposition of which is
subject to a material restriction for the benefit of Entities other than such Entity and its
consolidated Subsidiaries.

                “Post-Transaction Pro Forma EBITDA” means, with respect to any Entity for any
four-Fiscal Quarter period and any specified Disposition Transaction, such Entity’s Pro Forma
EBITDA for such four-Fiscal Quarter period, computed assuming that such Disposition
Transaction, and any other Significant Transaction the Transaction Date of which occurs on or
prior to the Transaction Date of such Disposition Transaction and during the same Fiscal Quarter
as the Transaction Date of such Disposition Transaction, were consummated on the same terms
in effect on the respective Transaction Dates at the beginning of the four-Fiscal Quarter period
most recently ended prior to the Transaction Date of such Disposition Transaction, and shall
include adjustments which give effect to events that are (i) directly attributable to such
Disposition Transaction and any such Significant Transactions, (ii) expected to have a continuing
impact on the Entity, and (iii) factually supportable.

                “Post-Transaction Pro Forma Guarantor Senior Indebtedness” means with respect
to any Entity as of any date of determination, the aggregate outstanding principal amount of such
Entity’s and its consolidated Subsidiaries’ Guarantor Senior Indebtedness as of such date (after
giving effect to and assuming the consummation of any Significant Transaction (and any related
incurrence, reduction or repayment of Guarantor Senior Indebtedness) with a Transaction Date
occurring on or prior to such date, notwithstanding that such Significant Transaction (and any
related incurrence, reduction or repayment of Guarantor Senior Indebtedness) may not have
actually been consummated as of such date).

               “Post-Transaction Pro Forma Valuation” means, with respect to any Entity as of
any date of determination, the amount resulting from (a) the product of (i) such Entity’s Post-
Transaction Pro Forma EBITDA for the four-Fiscal Quarter period most recently ended,
multiplied by (ii) seven (7), minus (b) such Entity’s Post-Transaction Pro Forma Guarantor
Senior Indebtedness as of such date, plus (c) such Entity’s Post-Transaction Pro Forma Cash
Balance as of such date.

                “Proceeding” means, with respect to any Entity, any voluntary or involuntary
insolvency, bankruptcy, receivership, custodianship, liquidation, reorganization, assignment for
the benefit of creditors, appointment of a custodian, receiver, trustee or other officer with similar


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powers or any other proceeding for the liquidation, or other winding up of such Entity or all or
substantially all of the properties of such Entity.

               “Pro Forma Cash Balance” means with respect to any Entity as of the last day of
any four-Fiscal Quarter period, the aggregate amount of such Entity’s and its consolidated
Subsidiaries’ cash and cash equivalents as of such date (after giving effect to and assuming the
consummation of any Significant Transaction with a Transaction Date occurring during such
four-Fiscal Quarter period, notwithstanding that such Significant Transaction may not have
actually been consummated during such four-Fiscal Quarter period), other than cash and cash
equivalents the disposition of which is subject to a material restriction for the benefit of Entities
other than such Entity and its consolidated Subsidiaries.

                 “Pro Forma EBITDA” means, with respect to any Entity for any four Fiscal-
Quarter period, such Entity’s EBITDA for such four Fiscal-Quarter period, computed assuming
that any Significant Transaction the Transaction Date of which occurred during the relevant four-
Fiscal Quarter period was consummated, on the terms in effect on such Transaction Date, at the
beginning of such four-Fiscal Quarter period most recently ended prior to the Transaction Date
of such Significant Transaction, and shall include adjustments which give effect to events that
are (i) directly attributable to any Significant Transactions the Transaction Date of which occurs
during such four-Fiscal Quarter period, (ii) expected to have a continuing impact on the Entity,
and (iii) factually supportable.

                “Pro Forma Guarantor Senior Indebtedness” means with respect to any Entity as
of the last day of any four-Fiscal Quarter period, the aggregate outstanding principal amount of
such Entity’s and its consolidated Subsidiaries’ Guarantor Senior Indebtedness as of such date
(after giving effect to and assuming the consummation of any Significant Transaction (and any
related incurrence, reduction or repayment of Guarantor Senior Indebtedness) with a Transaction
Date occurring during such four-Fiscal Quarter period, notwithstanding that such Significant
Transaction (and any related incurrence, reduction or repayment of Guarantor Senior
Indebtedness) may not have actually been consummated during such four-Fiscal Quarter period).

               “Pro Forma Valuation” means, with respect to any Entity as of the last day of any
four-Fiscal Quarter period, the amount resulting from (a) the product of (i) such Entity’s Pro
Forma EBITDA for such four-Fiscal Quarter period, multiplied by (ii) seven (7), minus (b) such
Entity’s Pro Forma Guarantor Senior Indebtedness as of such date, plus (c) such Entity’s Pro
Forma Cash Balance as of such date.

               “Quarterly EBITDA and Valuation Certificate” means a certificate in the form of
Exhibit B.

               “Regulation S-X” means Regulation S-X promulgated by the United States
Securities and Exchange Commission as in effect on the date hereof.

               “Related Party” means in respect of an Entity (the “Affected Entity”): (a) any
senior key employee, officer or director of the Affected Entity or, in respect of an officer or
director, any person holding a similar position in an Affected Entity that is not a corporation (any
such person, an “Insider”); (b) any spouse, child, parent or sibling of an Insider; (c) another

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Entity which alone or together with other Entities under its Control directly or indirectly Controls
or holds ten percent (10%) or more of the Equity Interests that (i) generally entitle the holders
thereof to vote for the election of the board of directors or other governing body of the Affected
Entity, or (ii) confer upon the holders thereof an interest in the capital or profits of the Affected
Entity; (d) any Entity Controlled by the Affected Entity or by any Insider or in which the
Affected Entity or any Insider Controls or holds ten percent (10%) or more of the stock or other
equity interests which (i) generally entitle the holders thereof to vote for the election of the board
of directors or other governing body of the Affected Entity or (ii) confer upon the holders thereof
an interest in the capital or profits of such Affected Entity; or (e) any Controlled Affiliate of any
Entity that is a Related Person by virtue of clause (d) of this definition; provided, however, that
any direct or indirect 100% owned Subsidiary of the Guarantor shall not constitute a “Related
Party” for purposes of this Guarantee (PI).

                “Section 524(g) Shares” has the meaning set forth in the Share Issuance
Agreement.

                “Significant Transaction” means (a) any Disposition Transaction or (b) any
transaction of the type described in Section 210.11-01(a)(1) or Section 210.11-01(a)(2) of
Regulation S-X (disregarding, for purposes of clause (b) of this definition, whether the Entity
entering into such transaction is at the time obligated to file or furnish, or is otherwise filing or
furnishing, reports with the United States Securities and Exchange Commission pursuant to
Section 13 or 15 of the Securities Exchange Act of 1934, as amended).

                “Subsidiary” means, with respect to any Entity at any date, any corporation,
limited or general partnership, limited liability company, trust, estate, association, joint venture
or other business entity (i) the accounts of which would be consolidated with those of such Entity
in such Entity’s consolidated financial statements if such financial statements were prepared in
accordance with GAAP or (ii) of which more than 50% of (A) the outstanding Capital Stock
having (in the absence of contingencies) ordinary voting power to elect a majority of the board of
directors or other managing body of such Entity, (B) in the case of a partnership or limited
liability company, the interest in the capital or profits of such partnership or limited liability
company or (C) in the case of a trust, estate, association, joint venture or other entity, the
beneficial interest in such trust, estate, association or other entity business is, at the time of
determination, owned or Controlled directly or indirectly through one or more intermediaries, by
such Entity.

                “Taxes” means any and all present or future taxes, levies, imposts, fees,
assessments, levies, duties, deductions, charges, liabilities or withholdings (including interest,
fines, penalties or additions to tax) imposed by any Governmental Authority.

             “Threshold Amount” has the meaning set forth in the Deferred Payment
Agreement (PI).

                “Transaction Date” means, with respect to any Significant Transaction, (a) the
date, if any, on which final, definitive documentation providing for such Significant Transaction
is executed; provided, however, that the “Transaction Date” shall no longer be deemed to have
occurred with respect to any Significant Transaction if the final, definitive documentation

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providing for such Significant Transaction is terminated for any reason, or (b) if no such final,
definitive documentation for such Significant Transaction is executed, the date on which such
Significant Transaction is consummated.

               “Transfer” has the meaning set forth in Section 7(b).

               “Transferor” has the meaning set forth in Section 7(b).

               “Trust (PD)” has the meaning set forth in the Deferred Payment Agreement (PI).

               “Trust (PI)” has the meaning set forth in the introductory paragraph hereof.

               “Trusts” has the meaning set forth in the Share Issuance Agreement.

               “Trusts’ Representative” has the meaning set forth in the Share Issuance
Agreement.

               “Valuation” means, with respect to any Entity as of the last day of any four-Fiscal
Quarter period, the amount resulting from (a) the product of (i) such Entity’s EBITDA for such
four-Fiscal Quarter period, multiplied by (ii) seven (7), minus (b) the aggregate outstanding
principal amount of such Entity’s and its consolidated Subsidiaries’ Guarantor Senior
Indebtedness as of such date, plus (c) the amount of cash and cash equivalents of such Entity and
its consolidated Subsidiaries as of such date other than cash and cash equivalents the disposition
of which is subject to a material restriction for the benefit of Entities other than such Entity and
its consolidated Subsidiaries.

              (b)    Whenever the context may require, any pronoun shall include the
corresponding masculine, feminine and neuter forms. All references herein to Sections shall be
deemed references to Sections of this Guarantee (PI) unless the context shall otherwise require.

                (c)    Unless otherwise indicated, (i) the term “including” means “including
without limitation”, except when used in the computation of time periods, and (ii) any definition
of or reference to any agreement, instrument or other document herein shall be construed as
referring to such agreement, instrument or other document as from time to time amended,
supplemented or otherwise modified (subject to any restrictions on such amendments,
supplements or modifications set forth herein).

               (d)      For purposes of the computation of time periods, whenever this Guarantee
(PI) provides for an event to occur “within” a specified number of days of a preceding event, it
shall mean that the latter event shall occur before the close of business on the last of the specified
days, and the day on which the preceding event occurs shall not be included in the computation
of days elapsed. The word “from” means “from and including”, “after” means “after and
excluding”, and “to” and “until” mean “to and including”.

             (e)    All terms defined in this Guarantee (PI) in the singular form shall have
comparable meanings when used in the plural form and vice versa.

               2.      Guarantee (PI).

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                (a)      For value received and in consideration of the transactions set forth in the
Deferred Payment Agreement (PI) and in the Plan of Reorganization, the Guarantor hereby
absolutely, irrevocably and unconditionally guarantees for the benefit of the Permitted Holder
and each Permitted Payee, as a primary obligor and not merely as a surety, and pursuant to the
terms and conditions of this Guarantee (PI), (i) the full and prompt payment when due (whether
by acceleration or otherwise) of (A) all Deferred Payments (PI) and (B) all other amounts
payable under the Deferred Payment Agreement (PI) (including interest at the Default Rate)
accruing during the pendency of any bankruptcy, insolvency, receivership or other similar
proceeding, regardless of whether allowed or allowable in such proceeding) and at all times
thereafter, and (ii) the due performance by Grace of all of its other obligations under the
Deferred Payment Agreement (PI) (the obligations described in items (i) and (ii), the
“Guaranteed Obligations (PI)”).

               (b)      The Guarantor hereby agrees that this Guarantee (PI) is an absolute,
unconditional guarantee of payment and performance and is not merely a surety or guarantee of
collection, and that the Guarantor and Grace are jointly and severally liable for the Guaranteed
Obligations (PI), which liability is a continuing, absolute and unconditional obligation of
payment or performance, as the case may be, regardless of the solvency or insolvency of Grace
or the Guarantor at any time.

                 (c)    The obligations of the Guarantor hereunder are secured by the Guarantor’s
obligation to issue and deliver to the Trusts’ Representative, for the benefit of the Trusts, the
Section 524(g) Shares under the circumstances, and upon the terms and subject to the conditions,
set forth in the Share Issuance Agreement.

               (d)     If the acceleration of the Guaranteed Obligations (PI) is stayed in
connection with any Proceeding commenced by or against Grace, all such Guaranteed
Obligations (PI) shall nonetheless be payable by the Guarantor immediately upon demand by the
Permitted Holder.

               3.      Enforceability of Obligations.

                (a)    Subject to Section 3(b), the Guarantor hereby agrees that its obligations in
respect of this Guarantee (PI) shall be enforceable against the Guarantor irrespective of:

             (i) the legality, validity, enforceability, avoidance or subordination of any of the
       Guaranteed Obligations (PI) or the Deferred Payment Agreement (PI);

              (ii) any law, regulation, or order of any jurisdiction, or any other event, affecting
       any term of the Guaranteed Obligations (PI) or the Deferred Payment Agreement (PI);

               (iii) the absence of any attempt by, or on behalf of, the Permitted Holder to
       collect, or to take any other action to enforce, all or any part of the Guaranteed
       Obligations (PI) whether from or against Grace or any other Entity;




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                (iv) the election of any remedy available under the Deferred Payment Agreement
       (PI) or applicable Law or in equity by, or on behalf of, the Permitted Holder with respect
       to all or any part of the Guaranteed Obligations (PI);

             (v) any change in the corporate existence, structure or ownership of Grace or the
       Guarantor;

               (vi) any impairment of the capital of Grace or the Guarantor, or any insolvency,
       bankruptcy, reorganization or other similar proceeding affecting Grace, the Guarantor or
       their assets, or any resulting release or discharge of the Guaranteed Obligations (PI);

              (vii) any amendment, waiver, consent, extension, forbearance or granting of any
       indulgence by, or on behalf of, the Permitted Holder with respect to any provision of the
       Deferred Payment Agreement (PI), or any other act or thing or omission or delay to do
       any other act or thing which may or might in any manner or to any extent vary the risk of
       Grace or the Guarantor, including any renewal or extension of the time or change of the
       manner or place of payment or performance, as the case may be, of the Guaranteed
       Obligations (PI);

              (viii) the disallowance, under Section 502 of the Bankruptcy Code, of all or any
       portion of the claims against Grace held by the Permitted Holder for payment or
       performance, as the case may be, of all or any part of the Guaranteed Obligations (PI);

               (ix) the existence of any right, claim, counterclaim, or right of set-off, whether
       arising from or relating to the Guaranteed Obligations (PI) or Grace or otherwise, that the
       Guarantor may have at any time against Grace, the Permitted Holder or any other Entity,
       whether in connection herewith or any unrelated transactions, provided, however, that
       nothing herein shall prevent the assertion of a separate suit or compulsory counterclaim;

               (x) the cessation for any reason of the liability of Grace under the Deferred
       Payment Agreement (PI) or any other circumstance which might otherwise constitute a
       legal or equitable discharge of Grace or the Guarantor; or

              (xi) any other act or circumstance which might or could be deemed a discharge or
modification hereunder other than payment in full of the Guaranteed Obligations (PI).

                (b)    Notwithstanding Section 3(a) and Section 4, or any other provision to the
contrary in this Guarantee (PI), from and after such time, if any, that the Guarantor has notified
the Permitted Holder in writing that Grace is no longer a Subsidiary or a Controlled Affiliate of
the Guarantor, any amendment, waiver, modification, supplement, restatement or change in
respect of the terms and conditions of the Deferred Payment Agreement (PI) or any other
Deferred Payment Document (PI) shall require the prior written consent of the Guarantor.

               4.      Waivers. With respect to the Guaranteed Obligations (PI), the Guarantor
hereby waives (subject to Section 3(b)) (a) acceptance, promptness, diligence, presentment,
demand of payment, filing of claims with a court in the event of receivership or bankruptcy of
Grace, protest or notice, all setoffs and counterclaims and all presentments, demands for


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performance, notices of nonperformance, protests, notices of protest, notices of dishonor and
notices of acceptance of this Guarantee (PI) or the Deferred Payment Agreement (PI) (and shall
not require that the same be made on or given to Grace as a condition to the Guarantor’s
obligations hereunder), (b) any defense arising by reason of any disability or other defense of
Grace or any other guarantor, or the cessation from any cause whatsoever (including any act or
omission of the Permitted Holder or any other Entity) of the liability of Grace; (c) any right to, or
to require the Permitted Holder to, proceed against Grace, proceed against or exhaust any
security (including the Section 524(g) Shares) for the Guaranteed Obligations (PI), or pursue any
other remedy in the power of the Permitted Holder whatsoever, (d) any benefit of and any right
to participate in any security now or hereafter securing the Guaranteed Obligations (PI), (e) the
benefits of all statutes of limitation, and (f) all other demands and defenses whatsoever (other
than payment in full of all Guaranteed Obligations (PI)).

               5.      Payments.

               (a)     All payments to be made by the Guarantor pursuant to this Guarantee (PI)
shall be made in lawful currency of the United States of America by wire transfer of immediately
available funds to the Permitted Holder in accordance with such wire transfer instructions as are
provided by the Permitted Holder in writing from time to time. Subject to Sections 5(b), (c) and
(d), all payments under this Guarantee (PI) shall be made in full, without any set-off,
counterclaim or any deduction whatsoever.

                (b)    If, after giving effect to any Disposition Transaction or any assignment,
delegation or transfer by the Guarantor of its rights or obligations under this Guarantee (PI), the
Guarantor shall be required by applicable Law to withhold any Taxes from any payments
hereunder, and if such requirement would not have been imposed by such applicable Law but for
such Disposition Transaction, assignment or transfer, then (i) the sum payable shall be increased
as necessary so that after making all withholdings required by applicable Law (including
withholdings applicable to additional sums payable under this Section 5(b)) the payee receives
an amount equal to the sum it would have received had no such withholdings been made, (ii) the
Guarantor shall make such withholdings and (iii) the Guarantor shall timely pay the full amount
deducted to the relevant Governmental Authority in accordance with applicable Law. This
Section 5(b) shall survive the termination of this Guarantee (PI) pursuant to Section 15.

                (c)     If, after giving effect to any permitted assignment or Transfer by the
Permitted Holder of its rights or obligations under this Guarantee (PI), the Guarantor shall be
required by applicable Law to withhold any Taxes from any payments hereunder, and if such
requirement would not have been imposed by such applicable Law but for such assignment or
Transfer, then the obligation of the Guarantor or the Permitted Payor to make the relevant
payment hereunder shall be discharged by making such payment net of such Taxes. This Section
5(c) shall survive the termination of this Guarantee (PI) pursuant to Section 15.

                (d)     If, due to either (i) the introduction of or any change in any law or
regulation (or any change in the interpretation thereof) or (ii) the compliance with any guideline
or request from any central bank or other Governmental Authority (whether or not having the
force of law), in each case adopted after the date hereof, the Guarantor or a Permitted Payor shall
be required to withhold any Taxes from any payments hereunder, then the obligation of the

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Guarantor or the Permitted Payor to make the relevant payment hereunder shall be discharged by
making such payment net of such Taxes. This Section 5(d) shall survive the termination of this
Guarantee (PI) pursuant to Section 15.

                6.     Representations and Warranties. The Guarantor represents and warrants,
as of the Effective Date, that:

                (a)    The Guarantor is duly organized, validly existing and in good standing
under the laws of the jurisdiction of the Guarantor’s incorporation; provided, however, with
respect to good standing, only to the extent the concept of good standing exists in such
jurisdiction of incorporation.

               (b)     The Guarantor has the corporate power and authority to execute and
deliver this Guarantee (PI) and each other Deferred Payment Document (PI) to which it is a
party. This Guarantee (PI) and each other Deferred Payment Document (PI) to which the
Guarantor is a party has been duly authorized by all necessary corporate action of the Guarantor
and has been duly executed and delivered by the Guarantor.

                (c)    This Guarantee (PI) and each other Deferred Payment Document (PI) to
which the Guarantor is a party is a legal, valid and binding obligation of the Guarantor,
enforceable against the Guarantor in accordance with its terms, except as enforceability may be
limited by applicable bankruptcy, insolvency, reorganization, moratorium or similar laws
affecting the enforcement of creditors’ rights generally, by the discretion of the court in which
enforcement is sought, and/or by general equitable principles (whether enforcement is sought by
proceedings at law or in equity).

               (d)     The execution, delivery and performance by the Guarantor of this
Guarantee (PI) and each other Deferred Payment Document (PI) to which the Guarantor is a
party does not conflict with, result in a breach of any of the provisions of, or constitute a default
under, the Governing Documents of the Guarantor.

               7.      Guarantor Covenants. The Guarantor covenants and agrees that, from the
Effective Date until all Guaranteed Obligations (PI) are paid and performed in full:

               (a)     Affirmative Covenants. The Guarantor shall:

                (i)     Maintenance of Existence and Qualifications. Maintain and preserve in
full force and effect its existence and good standing (to the extent the concept of good standing
exists in the Guarantor’s jurisdiction of incorporation) and all other rights, powers, franchises,
licenses and qualifications necessary or desirable for its ownership or use of properties or the
conduct of its business, except (A) as permitted by Section 16, and (B) where the failure to do so
would not reasonably be likely to adversely affect the Guarantor’s ability to make payments in
respect of the Guaranteed Obligations (PI) or to perform its obligations under the Deferred
Payment Documents (PI) to which it is a party.

              (ii)  Notice of Event of Default, Guarantor Senior Payment Default and
Guarantor Senior Non-Payment Default. Furnish to the Permitted Holder (x) within five (5) days


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after an Authorized Officer of the Guarantor shall first learn of an Event of Default, and (y) on or
before the earlier of (A) the fifteenth (15th) day after an Authorized Officer of the Guarantor
shall first learn of a Guarantor Senior Payment Default or Guarantor Senior Non-Payment
Default and (B) the first Business Day following the date upon which a Guarantee Payment
Blockage Notice is delivered pursuant to Section 8(a)(ii), a written statement of an Authorized
Officer of the Guarantor stating that an Event of Default, Guarantor Senior Payment Default or
Guarantor Senior Non-Payment Default, as the case may be, has occurred, which written
statement shall, to the extent known by the Guarantor, set forth in reasonable detail the facts
giving rise to and status of such Event of Default, Guarantor Senior Payment Default or
Guarantor Senior-Non Payment Default, as the case may be, and the actions, if any, the
Guarantor is taking or proposes to take with respect thereto.

                (iii)   Information Covenants. If the Guarantor is not obligated to file or furnish,
or is not otherwise filing or furnishing, reports with the United States Securities and Exchange
Commission pursuant to Section 13 or 15 of the Securities Exchange Act of 1934, the Guarantor
shall furnish to the Permitted Holder:

                       (A)    Annual Financial Statements. As soon as available but in no event
later than ninety (90) days after the last day of each of the Guarantor’s Fiscal Years, its annual
consolidated financial statements audited by a nationally recognized registered independent
public accounting firm allowed to practice before the Securities and Exchange Commission or
any successor Governmental Authority, consisting of a consolidated balance sheet of the
Guarantor and its consolidated Subsidiaries as of the end of such year and consolidated
statements of income, cash flows and stockholders equity for such year (all in reasonable detail
and with all notes and supporting schedules); and

               (B)     Quarterly Financial Statements. As soon as available and in any event
       within forty-five (45) days after the end of each of the first three Fiscal Quarters in each
       Fiscal Year of the Guarantor, its consolidated balance sheet as of the end of such Fiscal
       Quarter, and consolidated statements of income and cash flows of the Guarantor and its
       consolidated Subsidiaries for such Fiscal Quarter, all in reasonable detail and certified by
       an Authorized Officer of the Guarantor to present fairly in all material respects the
       financial condition, results of operations and other information reflected therein and to
       have been prepared in accordance with GAAP (subject to year-end audit adjustments and
       the absence of footnotes).

               (iv)    Officer’s Certificates. The Guarantor shall furnish to the Permitted
Holder:

               (A)    No later than ninety (90) days after the last day of each of the Guarantor’s
       Fiscal Years and no later than forty-five (45) days after the end of each of the first three
       Fiscal Quarters in each Fiscal Year of the Guarantor, a Quarterly EBITDA and Valuation
       Certificate executed by an Authorized Officer of the Guarantor setting forth (I) if the
       Transaction Date of a Significant Transaction has occurred during the four-Fiscal Quarter
       period ending on the last day of such Fiscal Quarter or Fiscal Year, as the case may be,
       the Pro Forma EBITDA of the Guarantor for such four-Fiscal Quarter period and the Pro
       Forma Valuation of the Guarantor as of the last day of such four-Fiscal Quarter period or

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       (II) if the Transaction Date of a Significant Transaction did not occur during the four-
       Fiscal Quarter period ending on the last day of such Fiscal Quarter or Fiscal Year, as the
       case may be, the EBITDA of the Guarantor for such four-Fiscal Quarter period and the
       Valuation of the Guarantor as of the last day of such four-Fiscal Quarter period;
       provided, however, that the Guarantor shall not be required to furnish to the Permitted
       Holder a Quarterly EBITDA and Valuation Certificate under this subclause (A) if (x) the
       Guarantor is filing or furnishing reports with the United States Securities and Exchange
       Commission pursuant to Section 13 or 15 of the Securities Exchange Act of 1934, and
       (y)(1) if the Transaction Date of a Significant Transaction has occurred during the four-
       Fiscal Quarter period ending on the last day of the applicable Fiscal Quarter or Fiscal
       Year, the Pro Forma EBITDA of the Guarantor for such four-Fiscal Quarter period and
       the Pro Forma Valuation of the Guarantor as of the last day of such four-Fiscal Quarter
       period is readily ascertainable from such reports or (2) if the Transaction Date of a
       Significant Transaction did not occur during the four-Fiscal Quarter period ending on the
       last day of the applicable Fiscal Quarter or Fiscal Year, the EBITDA of the Guarantor for
       such four-Fiscal Quarter period and Valuation of the Guarantor as of the last day of such
       four-Fiscal Quarter period is readily ascertainable from such reports;

               (B)    no later than ninety (90) days after the last day of each of the Guarantor’s
       Fiscal Years, a Compliance Certificate executed by an Authorized Officer of the
       Guarantor for such Fiscal Year; and

              (C)    no later than thirty (30) days after the consummation by a Transferor of a
       Disposition Transaction of the type described in clause (ii) or clause (iii) of Section 7(b),
       a Post-Transaction Certificate setting forth the Post-Transaction Pro Forma EBITDA of
       the Guarantor with respect to such Disposition Transaction executed and delivered by an
       Authorized Officer of the Guarantor.

                (b)     Negative Covenant. The Guarantor shall not, and shall cause each of its
Subsidiaries and Controlled Affiliates (each, a “Transferor”) to not, sell, assign, transfer, license,
lease or otherwise dispose of (each, a “Transfer”) any property and/or other assets and/or enter
into any transaction or obligation, whether constituting or by way of merger, consolidation, sale
of assets or other disposition, reorganization, recapitalization, dividend, other distribution, or
otherwise, or any related series of the foregoing (any such Transfer other than Ordinary
Dividends, Bona Fide Compensation Transactions and other Transfers in the ordinary course of
business, a “Disposition Transaction”), if the Transferor (taken together with all of its direct and
indirect wholly owned Subsidiaries) would (1) receive (directly or indirectly) less than a
reasonably equivalent value in such Disposition Transaction, (2) become or be rendered
Insolvent as a result of such Transfer and/or such Disposition Transaction, or (3) be engaged in
business and/or transactions, and/or would be about to engage in business and/or transactions, for
which the Transferor’s (taken together with all of its direct and indirect wholly owned
Subsidiaries) remaining property and other assets would be unreasonably small capital; provided,
however, that notwithstanding the foregoing, a Transferor:

                (i)     That is a direct or indirect wholly-owned Subsidiary of the Guarantor may
make a Transfer to or engage in a Disposition Transaction exclusively with the Guarantor or any
other direct or indirect wholly-owned Subsidiary of the Guarantor; provided further, that if such

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Transferor is Grace or any of Grace’s Subsidiaries or Controlled Affiliates, such Disposition
Transaction shall be permitted under this clause (i) only if it is also permitted under Section 6(b)
of the Deferred Payment Agreement (PI);

                (ii)    may engage in a Disposition Transaction whereby such Transferor (A)
pays or makes (directly or indirectly) dividends or distributions (whether in cash, securities or
other property) with respect to any of its Capital Stock (including by way of a spin-off or spin-
out of any of its assets), or (B) repurchases its Capital Stock, provided that, in the case of any
Disposition Transaction under subclause (A) or (B) above, all of the following conditions are
satisfied:

                       (1)   no Event of Default has occurred and is continuing at the time of,
or would result from, such Disposition Transaction;

                      (2)   as of the Transaction Date of such Disposition Transaction, (x) the
Post-Transaction Pro Forma Valuation of the Guarantor shall equal or exceed the Threshold
Amount or (y) the “Post-Transaction Pro Forma Valuation” (as defined in the Deferred Payment
Agreement (PI)) of Grace shall equal or exceed the Threshold Amount; and

                        (3)    if such Disposition Transaction exceeds $15,000,000 and is not
publicly disclosed at least 10 days prior to the consummation of such Disposition Transaction,
then the Guarantor shall provide the Permitted Holder with, at least 10 days’ prior to the
consummation of such Disposition Transaction, a written notice describing in reasonable detail
the material terms of such Disposition Transaction and setting forth the Post-Transaction Pro
Forma Valuation of the Guarantor as of the Transaction Date of such Disposition Transaction;
and

                (iii)   other than as set forth in Section 7(b)(ii) above, shall not enter into any
Disposition Transaction with a Related Party to the Transferor in which the aggregate value of
the assets or other property Transferred in such Disposition Transaction to such Related Party
exceeds $15,000,000 if the Transferor (taken together with all of its direct and indirect wholly
owned Subsidiaries) would (1) receive (directly or indirectly) less than a reasonably equivalent
value in such Disposition Transaction, as determined by a reputable investment bank or valuation
firm jointly selected by the Guarantor and the Permitted Holder, (2) become or be rendered
Insolvent as a result of such Transfer and/or such Disposition Transaction or (3) be engaged in
business and/or transactions, and/or would be about to engage in business and/or transactions, for
which the Transferor’s (taken together with all of its direct and indirect wholly owned
Subsidiaries) remaining property and other assets would be unreasonably small capital; provided,
that if the aggregate value of the assets or other property Transferred to such Related Party in
such Disposition Transaction exceeds $15,000,000 and the existence of such Disposition
Transaction is not publicly disclosed at least 10 days prior to the consummation of such
Disposition Transaction, then the Guarantor shall provide the Permitted Holder with, at least 10
days’ prior to the consummation of such Disposition Transaction, a written notice describing in
reasonable detail the material terms of such Disposition Transaction and setting forth the Post-
Transaction Pro Forma Valuation of the Guarantor as of the Transaction Date of such
Disposition Transaction;


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                provided further that if the Guarantor is not the surviving or succeeding Entity as
a result of any Disposition Transaction (but in the case of a sale of assets, only if such sale
involves a sale of all or substantially all of the assets of the Guarantor) otherwise permitted by
the exceptions to this Section 7(b), such Disposition Transaction shall be permitted under this
Section 7(b) only if the Guarantor shall comply with the requirements of Section 16(e).

               8.      Subordination Terms.

                Any and all obligations of the Guarantor in respect of the Guaranteed Obligations
(PI) shall be subordinated and otherwise junior at all times in right of payment and in all other
respects, in the manner and to the extent set forth herein, to any and all present and future
obligations of the Guarantor in respect of any Guarantor Senior Indebtedness.

               (a)     Blockage of Payments for Guaranteed Obligations (PI).

                        (i)     If any payment default occurs and is continuing beyond any
applicable grace period pursuant to the terms and conditions of any Guarantor Senior
Indebtedness (a “Guarantor Senior Payment Default”), then subject to Section 8(g), no payment
or distribution of cash, securities or any other assets shall be made by the Guarantor with respect
to the Guaranteed Obligations (PI) or this Guarantee (PI) for as long as such Guarantor Senior
Payment Default is continuing.

                        (ii)   If any default other than a Guarantor Senior Payment Default
occurs pursuant to the terms and conditions of any Designated Guarantor Senior Indebtedness
that would allow the holders thereof to accelerate the maturity thereof (a “Guarantor Senior Non-
Payment Default”), then subject to Section 8(g), no payment or distribution of cash, securities or
any other assets shall be made by the Guarantor with respect to any Guaranteed Obligations (PI)
or pursuant to this Guarantee (PI) during the period (the “Guarantee Payment Blockage Period”)
(x) beginning on the date that the Permitted Holder receives from the Entity entitled to give
notice under any document evidencing such Designated Guarantor Senior Indebtedness (or from
the Guarantor acting at the direction or request of such Entity) a written notice (a “Guarantee
Payment Blockage Notice”) that such a Guarantor Senior Non-Payment Default has occurred and
is continuing and (y) ending on the earliest to occur of (1) 180 days from the date the Permitted
Holder shall have received the Guarantee Payment Blockage Notice, (2) the date such Guarantor
Senior Non-Payment Default shall have been cured or waived or shall have ceased to exist and
(3) the date such Guarantee Payment Blockage Period shall have been terminated by written
notice to the Permitted Holder from the Entity initiating such Guarantee Payment Blockage
Period.

                        (iii) Notwithstanding the foregoing, (A) in no event will a Guarantee
Payment Blockage Period extend beyond 180 days from the date the Guarantee Payment
Blockage Notice in respect thereof was received by the Permitted Holder, (B) there shall be a
period of at least 180 consecutive days in each period of 360 consecutive days when no
Guarantee Payment Blockage Period is in effect, and (C) no Guarantor Senior Non-Payment
Default that existed or was continuing on the date of delivery of any Guarantor Payment
Blockage Notice (whether or not such Guarantor Senior Non-Payment Default is with respect to
the same issue of Designated Guarantor Senior Indebtedness) may be, or be made, the basis for a

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subsequent Guarantor Payment Blockage Notice, unless such Guarantor Senior Non-Payment
Default has been cured or waived for a period of not less than 90 consecutive calendar days.

                         (iv)   The payment of Guaranteed Obligations (PI) shall resume, and the
payment of any Guaranteed Obligations (PI) not paid due to a suspension thereof pursuant to
clause (i) or clause (ii) above shall be paid, together with accrued interest thereon at the Default
Rate, when such suspension is no longer in effect (either due to cure or waiver of the relevant
Guarantor Senior Payment Default or the expiration or termination of the Guarantee Payment
Blockage Period pursuant to clause (i) or clause (ii) of this Section 8(a)) unless a subsequent
Guarantor Payment Blockage Notice has been delivered in accordance with clause (iii) of this
Section 8(a) and is not prohibited from being delivered by clause (iii) of this Section 8(a).

                (b)     Proceedings. Upon any payment made by the Guarantor, or any
distribution of cash, securities or other assets of any kind of the Guarantor (other than securities
issued in substitution for the obligation to make payments in respect of the Guaranteed
Obligations (PI) that are subordinated to at least the extent described herein for the obligation to
make payments in respect of the Guaranteed Obligations (PI), which Securities the Permitted
Holder (or any Permitted Payee, if applicable) is specifically authorized to receive
notwithstanding any other provision of this Section 8), to creditors in any Proceeding with
respect to the Guarantor or its properties, all obligations due on all Guarantor Senior
Indebtedness shall first be paid in full in cash before any payment or distribution is made on
account of any Guaranteed Obligations (PI) or otherwise pursuant to this Guarantee (PI).

                 (c)    Improper Payments Held in Trust. Any payments or property received by
the Permitted Holder or any Permitted Payee in breach of this Section 8 shall be held by the
Permitted Holder or such Permitted Payee in trust and promptly delivered in the form received to
the holder of Guarantor Senior Indebtedness entitled to receive the same (any such payment or
property delivered by the Permitted Holder or such Permitted Payee to any holder of Guarantor
Senior Indebtedness, a “Guarantor Turnover Payment”). To the maximum extent permitted
under applicable Law, the Guarantor agrees that any Guarantor Turnover Payment shall be
treated as a payment by the Guarantor on account of such Guarantor Senior Indebtedness and
shall not satisfy the Guarantor’s obligation with respect to any amount due to the Permitted
Holder or such Permitted Payee under this Guarantee (PI). If, notwithstanding the preceding
sentence, it is determined (by a court of competent jurisdiction or otherwise) that a Guarantor
Turnover Payment is a payment by the Guarantor on account of, and satisfies any obligation of
the Guarantor with respect to, any amount due to the Permitted Holder or any Permitted Payee
under this Guarantee (PI), then, to the extent of the amount of such Guarantor Turnover
Payment, the portion of the obligation which has been determined to be paid and satisfied by
such Guarantor Turnover Payment shall be reinstated and shall continue to be in full force and
effect as of the time immediately preceding the initial payment thereof by the Guarantor to the
Permitted Holder or such Permitted Payee. If, notwithstanding the preceding sentence, any
portion of an obligation of the Guarantor in respect of such Guarantor Turnover Payment is not
reinstated and continued to the extent of the amount of the relevant Guarantor Turnover
Payment, then the Permitted Holder or the applicable Permitted Payee shall, upon the payment in
full in cash of all Guarantor Senior Indebtedness owed to the holder thereof to whom the
Permitted Holder or such Permitted Payee delivered such Guarantor Turnover Payment, be
subrogated to the rights of such holder to receive payments or distributions applicable to such

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Guarantor Senior Indebtedness, and for the purpose of such subrogation such Guarantor
Turnover Payment shall not, as between the Guarantor and the Permitted Holder or such
Permitted Payee, be deemed to be payment by the Guarantor to or on account of such Guarantor
Senior Indebtedness.

                 (d)     Remedies Blockage. Subject in any event to the other terms and
conditions of this Section 8 (including Section 8(a) and Section 8(g)), if an Event of Default has
occurred and is continuing and any Guarantor Senior Indebtedness is then outstanding, the
Permitted Holder hereby agrees for itself and any assignee that it will not (1) exercise or seek to
exercise any rights or remedies against Grace or the Guarantor with respect to such Event of
Default or (2) institute any action or proceeding with respect to such rights or remedies
(including any action of foreclosure, contest or protest) under any Deferred Payment Document
(PI) or any agreement or document relating thereto, or under such Event of Default or otherwise
or (3) attempt to do any of the foregoing (collectively, the “Remedies”), for a period
commencing on the date that such Event of Default occurs and ending on the earliest to occur of
(i) 180 days after the first date on which such Event of Default shall have occurred, (ii) the
commencement of a Proceeding with respect to Grace, the Guarantor or their respective
properties, (iii) the date that the holder (or any agent or trustee of the holder) of any Guarantor
Senior Indebtedness commences exercising any Guarantor Senior Remedies with respect to such
Guarantor Senior Indebtedness (including, without limitation, the acceleration of all or any
portion of such Guarantor Senior Indebtedness) and (iv) the payment in full in cash of all
Guarantor Senior Indebtedness.

               (e)     Notwithstanding the foregoing, as applied to the Permitted Holder, the
term “Remedies” shall not include, and the Permitted Holder shall not be impaired by this
Section 8(d) from doing, any of the following: (A) exercising rights and remedies for specific
performance or injunctive relief to compel Grace or the Guarantor to comply with any non-
payment obligations under the Deferred Payment Documents (PI) (including commencing any
action contemplated by Section 16(f)), (B) instituting or maintaining any suit or action solely to
prevent the running of any applicable statute of limitations, (C) accruing interest on the Deferred
Payments (PI) at the Default Rate pursuant to the Deferred Payment Agreement (PI) and (D)
giving any notice (including notice of an Event of Default) to the Guarantor under the Deferred
Payment Documents (PI).

                (f)     No Secured Obligation. Except for this Guarantee (PI) and the share
issuance obligation with respect to the Section 524(g) Shares as and to the extent contemplated
in the Share Issuance Agreement, no credit support or security interest shall be granted by Grace,
the Guarantor or any of its Subsidiaries in connection with, or otherwise support or secure any
obligation set forth in, the Deferred Payment Documents (PI). Notwithstanding the foregoing,
the Permitted Holder may obtain to the extent permitted under applicable Law a judgment lien
on the properties of Grace and/or the Guarantor to secure the payment and performance of a
judgment obtained by the Permitted Holder against Grace and/or the Guarantor.

               (g)     No Impairment of Right to Receive Section 524(g) Shares or Warrant
Shares. Nothing in this Section 8 shall impair the rights of the Trust (PI) (or its permitted
successor or assigns) (i) acting through the Trusts’ Representative pursuant to the Intercreditor
Agreement, to deliver to the Guarantor a Demand for Issuance of the Section 524(g) Shares and

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to receive the Trust (PI)’s percentage of the Section 524(g) Shares pursuant to the Share Issuance
Agreement or (ii) to exercise all or any portion of the Warrant and to receive the shares of
Common Stock in connection therewith.

               (h)    Further Assurances. At the reasonable request of the Guarantor, the
Permitted Holder will, at the sole expense of the Guarantor, execute such agreements,
documents, certificates and/or other instruments confirming the existence and extent of the
subordination terms detailed in this Section.

               9.      Defaults and Remedies.

                (a)    Subject in each case to Section 8 of this Guarantee (PI), the Permitted
Holder shall have the right, power and authority to do all things deemed necessary or advisable
to enforce the provisions of this Guarantee (PI) and protect its rights under the Deferred Payment
Agreement (PI) and, upon the occurrence and during the continuance of an Event of Default, the
Permitted Holder may institute or appear in such appropriate proceedings permitted or not
prohibited under this Guarantee (PI) as the Permitted Holder shall deem most effectual to protect
and enforce any of its rights hereunder, whether for the specific enforcement of any covenant or
agreement in this Guarantee (PI) or in aid of the exercise of any power granted herein or in the
Permitted Holder, or to enforce any other proper remedy.

               (b)     Each and every Event of Default or breach by the Guarantor of this
Guarantee (PI) shall give rise to a separate cause of action hereunder, and separate actions may
be brought hereunder as each cause of action arises. For so long as such an Event of Default or
such a breach is continuing, the Permitted Holder shall have the right to proceed first and directly
against the Guarantor under this Guarantee (PI) without proceeding against any other Entity
(including Grace), without exhausting any other remedies which it may have and without
resorting to any other security (if any) (including the Section 524(g) Shares) held by the
Permitted Holder to secure the Guaranteed Obligations (PI).

                10.    Setoff. Subject to Section 8 of this Guarantee (PI), at any time after all or
any part of the Guaranteed Obligations (PI) have become due and payable or performable, as the
case may be (by acceleration or otherwise), the Permitted Holder or any Permitted Payee may,
without notice to the Guarantor and regardless of the acceptance of any security or collateral (if
any) for the payment thereof, and up to the unpaid amount of the Guaranteed Obligations (PI)
then due, appropriate and apply toward the payment or performance, as the case may be, of all or
any part of the Guaranteed Obligations (PI) then owing to the Permitted Holder or such
Permitted Payee (i) any indebtedness due or to become due from the Permitted Holder or such
Permitted Payee to the Guarantor, and (ii) any moneys, credits or other property belonging to the
Guarantor, at any time validly held by or coming into the possession of the Permitted Holder or
such Permitted Payee.

               11.    Financial Information. The Guarantor hereby acknowledges that it has
adequate means of, and assumes sole responsibility for, keeping itself informed of the financial
condition of Grace including any circumstances bearing upon the risk of nonpayment or
nonperformance of the Guaranteed Obligations (PI), or any part thereof, and the Guarantor
hereby agrees that no Permitted Holder shall have any duty to advise the Guarantor of

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information known to it regarding any such circumstances. In the event the Permitted Holder in
its reasonable discretion, undertakes at any time or from time to time to provide any such
information to the Guarantor, the Permitted Holder shall be under no obligation (i) to undertake
any investigation not a part of its regular business routine or (ii) to disclose any information
which the Permitted Holder, pursuant to accepted or reasonable practices, wishes to maintain
confidential.

               12.     Reinstatement. Notwithstanding any provision herein to the contrary, the
Guarantor agrees that, to the extent that any Entity makes a payment or payments to the
Permitted Holder on account of the Guaranteed Obligations (PI) which payments or any part
thereof are subsequently invalidated, declared to be fraudulent or preferential, set aside and/or
required or agreed to be repaid or returned by the Permitted Holder under any Law or in respect
of any Proceeding or other litigation to which the Guarantor, the Permitted Holder or any
Permitted Payee is subject, then, to the extent of the amount of such payments, the portion of the
Guaranteed Obligations (PI) which has been paid, reduced or satisfied by such amount shall be
reinstated and continued in full force and effect as of the time immediately preceding such initial
payment, reduction or satisfaction.

               13.     Distribution of Grace Assets in Proceeding; Subrogation.

                 (a)    Upon any distribution of assets of Grace to creditors in connection with
any Proceeding relating to Grace or its property (but subject to Section 8), (i) the Permitted
Holder and each Permitted Payee shall be entitled to receive payment in full of all Guaranteed
Obligations (PI) before the Guarantor shall be entitled to receive any payment of principal of or
interest on or any other amounts in respect of indebtedness of Grace in favor of the Guarantor;
and (ii) until payment and performance in full of all Guaranteed Obligations (PI), any
distribution of assets of any kind or character to which the Guarantor would otherwise be entitled
shall be paid by Grace or by any receiver, trustee in bankruptcy, liquidating trustee, agents or
other Entity making such payment or distribution to, or if received by the Guarantor, shall be
held for the benefit of and shall be forthwith paid or delivered to, the Permitted Holder and each
Permitted Payee on a pro rata basis according to the amount of all Guaranteed Obligations (PI)
owing to the Permitted Holder and each such Permitted Payee.

               (b)    The Guarantor hereby agrees that it will not assert, enforce, or otherwise
exercise any rights which it may acquire against Grace or any guarantor pursuant to any other
guaranties by way of subrogation pursuant to this Guarantee (PI), by any payment made
hereunder or otherwise, until the Guaranteed Obligations (PI) shall have been paid in full.

               14.     Amendments; Waivers.

               (a)  No provision of this Guarantee (PI) may be waived, amended,
supplemented or modified except by a written instrument executed by the Permitted Holder and
the Guarantor.

               (b)      No delay on the part of the Permitted Holder in the exercise of any right or
remedy arising under this Guarantee (PI) or the Deferred Payment Agreement (PI) or otherwise
with respect to all or any part of the Guaranteed Obligations (PI), any collateral (if any) or any

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other guarantee of or security (if any) for all or any part of the Guaranteed Obligations (PI) shall
operate as a waiver thereof, and no single or partial exercise by the Permitted Holder of any such
right or remedy shall preclude any further exercise thereof. Failure by the Permitted Holder at
any time or times hereafter to require strict performance by Grace, the Guarantor or any other
guarantor of all or any part of the Guaranteed Obligations (PI) or of any of the provisions,
warranties, terms and conditions contained in the Deferred Payment Agreement (PI) shall not
waive, affect or diminish any right of the Permitted Holder at any time or times hereafter to
demand strict performance thereof. No waiver of any Event of Default by the Permitted Holder
shall operate as a waiver of any other Event of Default or breach of this Guarantee (PI) or the
same Event of Default or breach of this Guarantee (PI) on a future occasion, and no action by the
Permitted Holder permitted hereunder shall in any way affect or impair the Permitted Holder’s
rights and remedies or the obligations of the Guarantor under this Guarantee (PI). The remedies
herein provided are cumulative and not exclusive of any remedies provided by law or in equity
or any other Deferred Payment Document (PI).

               15.    Effectiveness; Termination. This Guarantee (PI) shall become effective
against the Guarantor upon its execution by the Guarantor and the occurrence of the Effective
Date and shall continue in full force and effect and may not be terminated or otherwise revoked
until the Guaranteed Obligations (PI) shall have been paid in full.

               16.     Consolidation, Successors and Assigns.

                (a)    This Guarantee (PI) shall be binding upon the Guarantor and upon the
successors and permitted assigns of the Guarantor and shall inure to the benefit of the Permitted
Holder. The successors and assigns of the Guarantor and Grace shall include, without limitation,
their respective receivers, trustees or debtors-in-possession.

                (b)     If the Permitted Holder Transfers or grants a security interest in its rights
in the Deferred Payment Agreement (PI) or any Deferred Payments (PI) upon the terms and
subject to the conditions set forth in the Deferred Payment Agreement (PI), the Permitted Holder
shall have the right to Transfer or grant a security interest in this Guarantee (PI) to such
transferee or secured party without the consent of the Guarantor; provided, however, that in no
event shall any person or Entity other than the Collateral Agent have, or have the ability to bring,
or be able to enforce, any claim, right or cause of action against the Guarantor or any of its
Affiliates under, in connection with or as a result of such security interest.

                (c)       Subject to Section 16(d), the Guarantor may not Transfer its rights,
interests, duties, liabilities or obligations under this Guarantee (PI) without the prior written
consent of the Permitted Holder, which consent shall not be unreasonably withheld, conditioned
or delayed.

                (d)      Subject to Section 16(e), neither Section 16(c) nor anything else in this
Guarantee (PI) shall prohibit or restrict the ability of the Guarantor to undertake any Disposition
Transaction; provided that, unless the Permitted Holder otherwise consents in writing, (i) such
Disposition Transaction shall not violate Section 7(b), (ii) no Event of Default and, no event
which, with the giving of notice or the passage of time, or both, would constitute an Event of
Default, exists at the time of, or would exist immediately following the consummation of such

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Disposition Transaction, (iii) such Disposition Transaction does not conflict with, or result in a
breach of, any of the provisions of, or constitute a default under, the Governing Documents of
the Guarantor or such surviving or succeeding Entity and (iv) at least ten (10) days prior to
consummation of such Disposition Transaction, the Guarantor shall, subject to reasonable
confidentiality arrangements between the Permitted Holder and the Guarantor, deliver to the
Permitted Holder written notice of its intention to consummate such Disposition Transaction.

                (e) If the surviving or succeeding Entity as a result of any such Disposition
Transaction (but in the case of a sale of assets, only if such sale involves a sale of all or
substantially all of the assets of the Guarantor) is not the Guarantor, then prior to, or concurrently
with, the consummation of any such Disposition Transaction, the surviving or succeeding Entity
shall by written instrument substantially in the form of Exhibit A signed by such Entity, the
Guarantor and, at its option, the Permitted Holder expressly assume the rights and obligations of
the Guarantor hereunder, whereupon such Entity shall be the successor of all rights and
obligations of the Guarantor hereunder, with the same effect as if it had been originally named
herein (it being expressly acknowledged and agreed by the Guarantor and the Permitted Holder
that such written instrument shall, and shall expressly provide that it shall, be binding upon, and
inure to the benefit of, the Permitted Holder, the Guarantor and such surviving or succeeding
Entity whether or not the Permitted Holder shall have executed such written instrument);
provided, however, that the Guarantor shall not be discharged from, and shall remain liable for,
any and all of its duties, liabilities and obligations under this Guarantee (PI).

                (f) The Guarantor shall be responsible for, and shall pay promptly upon demand
all documented and direct out-of-pocket costs and expenses incurred by the Permitted Holder
(including legal fees and expenses of legal counsel) in connection with (i) enforcing its rights
and/or interests under this Guarantee (PI) and (ii) challenging any Disposition Transactions
proposed by the Guarantor pursuant to Section 16(d); provided, however, that in the case of
clause (i) above, the Guarantor shall not be responsible for any such costs and expenses
(including legal fees and expenses of legal counsel) unless the Permitted Holder is successful in
enforcing its rights and/or interests under this Guarantee (PI) in a judicial or other proceeding,
and in the case of clause (ii) above, the Guarantor shall not be responsible for any such costs and
expenses (including legal fees and expenses of legal counsel) unless the Permitted Holder
challenges such Disposition Transaction in a judicial or other proceeding or otherwise as being in
breach of the provisions of this Guarantee (PI) or any of the Deferred Payment Documents (PI)
and the Permitted Holder is successful in such challenge.

              (g)     Any assignment or transfer in breach of this Section 16 shall be null and
void and not Transfer any interest in this Guarantee (PI) to any other Entity.

               17.     Governing Law; Submission to Jurisdiction; Waiver of Jury Trial.

                (a)    This Guarantee (PI) and the rights and obligations of the parties hereto
shall be construed in accordance with the laws of the State of New York, without giving effect to
any choice or conflict of law provision or rule (whether of the State of New York or any other
jurisdiction) that would cause the application of the laws of any jurisdiction other than the State
of New York.


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                 (b)    With respect to claims, suits, actions, proceedings, and other disputes
arising out of, in respect of or relating to this Guarantee (PI) (such claims, suits, actions,
proceedings, and other disputes, the “Claims”) each of the parties to this Guarantee (PI) hereby
irrevocably submits to the jurisdiction of the Bankruptcy Court for the District of Delaware or
the United States District Court for the District of Delaware (the “Courts”), or, if both such
Courts are not permitted under applicable Law to exercise jurisdiction with respect to the matter
in question then to the jurisdiction of any other federal or state court in the state, county and city
of New York, New York and each of the parties to this Guarantee (PI) agrees that any and all
Claims may be brought, heard and determined in such courts.

                (c)     Each of the parties to this Guarantee (PI) agrees that (i) venue shall be
proper in the courts referenced in Section 17(b) and hereby waives any objection or defense
which it may now or hereafter have to the laying of venue in such Courts, including any of the
foregoing based upon the doctrine of forum non conveniens; and (ii) all process which may be or
be required to be served in respect of any such Claim (including any pleading, summons or other
paper initiating any such Claim or dispute) may be served upon it, which service shall be
sufficient for all purposes, in the manner for the provision of notice under Section 19 and shall be
deemed in every respect effective service of process upon such party when so given.

            (d) EACH PARTY HERETO HEREBY WAIVES, TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL
BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING
OUT OF, UNDER OR IN CONNECTION WITH THIS AGREEMENT OR ANY OF THE
DEFERRED PAYMENT DOCUMENTS (PI). EACH PARTY HERETO (A) CERTIFIES
THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT AND THE OTHER DEFERRED
PAYMENT DOCUMENTS (PI), AS APPLICABLE, BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS PROVISION.

                18.     Advice of Counsel. Each of the Guarantor and the Permitted Holder
represent and warrant to the other that it has analyzed this Guarantee (PI) with, and has been
advised as to its legal effects by, its legal counsel.

                19.     Notices. All notices required or permitted under this Guarantee (PI) must
be in writing and will be deemed to be delivered and received (i) if personally delivered or if
delivered by the United States Postal Service, facsimile or courier service, when actually
received by the party to whom notice is sent or (ii) with respect to parties located other than
within the United States, if deposited with the United States Postal Service (whether actually
received or not), at the close of business on the seventh Business Day after the day when placed
in the mail, postage prepaid, certified or registered with return receipt requested, addressed to the
appropriate party or parties, at the address of such party or parties set forth below (or at such
other address as such party may designate by written notice to all other parties in accordance
with this Section 19):


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        If to the Guarantor:           With copies,        Kirkland & Ellis LLP
                                       which shall         Citigroup Center
        W. R. Grace & Co.              not constitute      153 E. 53rd Street
        7500 Grace Drive               notice, to:         New York, NY 10022-4675
        Columbia, MD 21044                                 Attn: Theodore L. Freedman &
        Attn: Corporate Secretary                          Thomas W. Christopher
        Facsimile: (410) 531-4545                          Facsimile: (212) 446-4900

        If to the Permitted            With copies,
        Holder:                        which shall         [Notice Street Address]
                                       not constitute      [City], [State] [Zip]
        WRG Asbestos Trust             notice, to:         Attn: [ ]
        [Notice Street Address]                            Facsimile: [ ]
        [City], [State] [Zip]
        Attn: [ ]
        Facsimile: [ ]
        (if sending overnight
        packages use zip code [ ])

                20.     Severability. Wherever possible, each provision of this Guarantee (PI)
will be interpreted in such manner as to be effective and valid under applicable Law, but if any
provision of this Guarantee (PI) by any party hereto is held to be invalid, void, voidable, illegal
or unenforceable in any respect under any applicable Law in any jurisdiction, such event will not
affect any other provision or the effectiveness or validity of any provision in any other
jurisdiction, or the obligations of any other party to this Guarantee (PI), and this Guarantee (PI)
will be reformed, construed and enforced in such jurisdiction as if such invalid, void, voidable,
illegal, unenforceable or rejected provision had never been contained herein. The parties hereto
further agree to use commercially reasonable efforts to replace such invalid, void, voidable,
illegal, unenforceable or rejected provision of this Guarantee (PI) with a an effective, valid and
enforceable provision which will achieve, to the fullest extent possible, the economic, business
and other purposes of the invalid, void, voidable, illegal, unenforceable or rejected provision.

                21.      Entire Agreement. This Guarantee (PI), together with the Deferred
Payment Agreement (PI), the Share Issuance Agreement, the Plan of Reorganization and the
Confirmation Order, embodies the complete agreement and understanding between the parties
hereto in respect of the subject matter hereof and supersedes, preempts and terminates all other
prior understandings, agreements or representations by or among the parties hereto, written or
oral, to the extent relating thereto.

               22.    Execution in Counterparts. This Guarantee (PI) may be executed
(including by facsimile or portable document format (pdf)) in separate counterparts, each of
which will be deemed to be an original and all of which taken together will constitute one and
the same agreement.

              23.       Further Assurances. At the reasonable request of the Permitted Holder,
the Guarantor will, at the sole expense of the Permitted Holder, execute such agreements,

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documents, certificates and/or other instruments confirming the existence of this Guarantee (PI),
the obligations of the Guarantor hereunder and the rights of the Permitted Holder hereunder.

                 24.    Specific Performance. Each of the parties hereto acknowledges and
agrees that, in the event of any breach of, or any failure to perform, any specific provision of this
Guarantee (PI), the non-breaching party would be irreparably and immediately harmed and could
not be made whole by monetary damages. It is accordingly agreed that, subject to Section 8, the
parties hereto (a) shall be entitled, in addition to any other remedy to which they may be entitled
at law or in equity, to compel specific performance of any specific provision of this Guarantee
(PI) or to obtain injunctive relief to prevent breaches of any specific provision of this Guarantee
(PI) exclusively in the Courts, (b) shall waive, in any action for specific performance or
injunctive relief, the defense of the adequacy of a remedy at law, and (c) shall waive any
requirement for the securing or posting of any bond in connection with the obtaining of any such
specific performance or injunctive relief. For the avoidance of doubt, the parties agree that the
Permitted Holder shall be entitled to enforce specifically the terms and provisions of this
Guarantee (PI) to prevent breaches of or enforce compliance with those covenants of the
Guarantor set forth in Section 7. Any party’s pursuit of specific performance or injunctive relief
at any time will not be deemed an election of remedies or waiver of the right to pursue any other
right or remedy to which such party may be entitled, including the right to pursue remedies for
liabilities or damages incurred or suffered by such party.

               25.     Other Remedies. Except as otherwise provided herein, any and all
remedies herein expressly conferred upon a party shall be deemed cumulative with and not
exclusive of any other remedy conferred hereby or by law on such party, and the exercise of any
one remedy shall not preclude the exercise of any other.

                                             [Signature page follows]




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        IN WITNESS WHEREOF, this Guarantee (PI) has been duly executed by the Guarantor
as of the day and year first set forth above.


                                            W. R. Grace & Co.


                                            By____________________________
                                               Name:
                                               Title:




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Acknowledged and agreed to
as of the ____ day of [ ], 2009.

WRG ASBESTOS PI TRUST


By:____________________________
  Name:
  Title:




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                         EXHIBIT A

                         FORM OF

                ASSUMPTION AGREEMENT


                          [To come]




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                         EXHIBIT B

                         FORM OF

     QUARTERLY EBITDA AND VALUATION CERTIFICATE


                          [To come]




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                         EXHIBIT C

                         FORM OF

                COMPLIANCE CERTIFICATE


                          [To come]




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                         EXHIBIT D

                         FORM OF

             POST-TRANSACTION CERTIFICATE


                          [To come]




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                EXHIBIT 16 TO EXHIBIT BOOK
                              NON-DEBTOR AFFILIATE SCHEDULE

                                                                                                 EXHIBIT 16

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                           Non-Debtor Affiliates

 1. A.A. Consultancy & Cleaning Company Limited
 2. Advanced Refining Technologies GmbH
 3. Advanced Refining Technologies K.K.
 4. Advanced Refining Technologies LLC
 5. Alltech Applied Science B.V.
 6. Alltech Applied Science Labs (HK) Limited
 7. Alltech Associates (Australia) Pty. Ltd.
 8. Alltech Associates Applied Science Limited
 9. Alltech Associates, Inc.
10. Alltech France S.A.R.L.
11. Alltech Grom GmbH
12. Alltech Italia S.R.L.
13. Alltech Japan Company Limited
14. Alltech Scientific (China) Limited
15. Alltech y Applied Science Para Mexico, S.A. de C.V.
16. Amicon B.V.
17. Amicon Ireland Limited
18. AP Chem Incorporated
19. Arral & Partners
20. Asian Food Investment Limited
21. Borndear 1 Limited
22. Borndear 2 Limited
23. Borndear 3 Limited
24. Carbon Dioxide Slurry Systems L.P.
25. CJCS Grace Kriz
26. Colowyo Coal Company L.P.
27. Construction Products Dubai, Inc.
28. Cormix Limited
29. Cormix Middle East LLC
30. Darex CIS LLC
31. Darex UK Limited
32. Davison Chemicals India Pvt. Ltd. (f/k/a Flexit Laboratories Private Ltd.)
33. Denac Nederland B.V.
34. Emerson & Cuming (Trading) Ltd.
35. Emerson & Cuming (UK) Ltd.
36. Emirates Chemicals LLC
37. Envases Industriales y Comerciales, S.A.
38. Exemere Limited
39. GEC Divestment Corporation Ltd.
40. GKA Company Limited


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41. Grace (New Zealand) Limited
42. Grace AB
43. Grace Asia Pacific, Inc.
44. Grace Australia Pty. Ltd.
45. Grace Bauprodukte GmbH
46. Grace Brasil Ltda.
47. Grace Canada, Inc.
48. Grace Catalyst AB
49. Grace Chemicals K.K.
50. Grace Chemicals, Inc.
51. Grace China Ltd.
52. Grace Collections, Inc.
53. Grace Colombia S.A.
54. Grace Construction Products (Ireland) Limited
55. Grace Construction Products Limited
56. Grace Construction Products N.V.
57. Grace Construction Products S.A. (f/k/a Pieri S.A.)
58. Grace Container, S. A. de C. V.
59. Grace Darex GmbH
60. Grace Davison (Proprietary) Limited
61. Grace Davison Ltda.
62. Grace Energy GmbH (f/k/a Grace Holding GmbH)
63. Grace Értékesito Kft.
64. Grace Europe Holding GmbH
65. Grace Germany Holdings, Inc.
66. Grace GmbH & Co. KG
67. Grace GP GmbH
68. Grace Hellas E.P.E.
69. Grace Japan Kabushiki Kaisha
70. Grace Korea Inc.
71. Grace Latin America, Inc.
72. Grace Management GP GmbH
73. Grace Management Services, Inc.
74. Grace Manufacturing GmbH & Co. KG
75. Grace Offshore Turnkey
76. Grace Produits de Construction SAS
77. Grace Quimica Compania Limitada
78. Grace Receivables Purchasing, Inc.
79. Grace S.A. (f/k/a Grace N.V.)
80. Grace Silica GmbH
81. Grace Silica N.V.
82. Grace Sp. z o.o.


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 83. Grace Sweden AB
 84. Grace Trading (Shanghai) Co., Ltd.
 85. Grace Venezuela, S.A.
 86. Grace Yapi Kimyasallari Sanayi ve Ticaret A.S.
 87. Grace, S.A.
 88. Ichiban Chemical Co., Inc.
 89. Inverco Benelux N.V.
 90. Inversiones GSC, S.A.
 91. LC Service B.V.
 92. NZ Alltech, Inc.
 93. Papelera Camagueyana, S.A.
 94. Paramont Coal Company
 95. Pieri Especialidades, S.L.
 96. Pieri U.K. Limited
 97. PT. Grace Specialty Chemicals Indonesia
 98. Servicised Ltd.
 99. Société Civile Beau-Béton
100. Storm van Bentem en Kluyver B.V.
101. Trans-Meridian Insurance (Dublin) Ltd.
102. W. R. G. Colombia S.A.
103. W. R. Grace & Co. (India) Private Limited
104. W. R. Grace & Co. Employees Disaster Relief Foundation, Inc.
105. W. R. Grace (Hong Kong) Limited
106. W. R. Grace (Malaysia) Sendiran Berhad
107. W. R. Grace (Philippines), Inc.
108. W. R. Grace (Singapore) Private Limited
109. W. R. Grace (Thailand) Limited
110. W. R. Grace Africa (Proprietary) Limited
111. W. R. Grace Argentina S.A.
112. W. R. Grace B.V.
113. W. R. Grace Finance (NRO) Ltd.
114. W. R. Grace Foundation, Inc.
115. W. R. Grace Holdings, S. A. de C. V.
116. W. R. Grace Italiana S.p.A.
117. W. R. Grace Limited
118. W. R. Grace N.V.
119. W. R. Grace S.A.
120. W. R. Grace Southeast Asia Holdings Limited
121. W. R. Grace Specialty Chemicals (Malaysia) Sdn. Bhd.
122. W. R. Grace Taiwan, Inc.
123. W. R. Grace Vietnam Company Limited
124. WRG Argentina, S.A.


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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                              EXHIBIT 17 TO EXHIBIT BOOK
                        PLAN REGISTRATION RIGHTS AGREEMENT

                                                                                                 EXHIBIT 17

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                   FORM OF REGISTRATION RIGHTS AGREEMENT

        THIS REGISTRATION RIGHTS AGREEMENT (this “Registration Rights Agreement”)
is entered into as of __________, 2009 by and between W. R. Grace & Co., a Delaware
corporation (the “Company”), and the WRG Asbestos Trust (the “Trust”), a Delaware statutory
trust established pursuant to §524(g) of Title 11 of the United States Code in accordance with the
Plan of Reorganization (as defined below). Unless otherwise defined herein or the context
otherwise requires, capitalized terms used herein and defined in the Plan of Reorganization shall
be used herein as therein defined.

                                        RECITALS

       Pursuant to the Plan of Reorganization, on the Effective Date the Company will issue to
the Trust , upon the terms and subject to the conditions set forth in the Warrant Agreement,
Warrants (as defined below) to purchase shares of Common Stock (as defined below).

       NOW, THEREFORE, in consideration of the terms and conditions contained herein, and
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto hereby agree as follows:

                                        AGREEMENT

        1. Definitions. Unless the context otherwise requires, the terms defined in this Section 1
shall have the meanings herein specified for all purposes of this Registration Rights Agreement,
applicable to both the singular and plural forms of any of the terms herein defined.

       “Affiliate” has the meaning given to that term pursuant to Rule 405 promulgated under
the Securities Act.

       “Business Day” means any day other than a Saturday, Sunday, or other day on which
banks in the State of New York are authorized by law to remain closed.

       “Commission” means the U.S. Securities and Exchange Commission and any successor
agency thereto.

       “Common Stock” shall have the meaning assigned to such term in the Warrant
Agreement dated as of the date hereof, among the Company, the Trust and _____________, as
warrant agent.

        “Eligible Market” means the American Stock Exchange, the New York Stock Exchange,
Inc., the NASDAQ Global Select Market, the NASDAQ Global Market or the NASDAQ Capital
Market.

       “Exchange Act” means the Securities Exchange Act of 1934, as amended.

       “Free Writing Prospectus” means a free writing prospectus, as defined in Rule 405 under
the Securities Act.




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       “Grace” means W. R. Grace & Co.-Conn., a Connecticut corporation.

        “Plan of Reorganization” means that certain First Amended Joint Plan of Reorganization
Under Chapter 11 of the Bankruptcy Code of W. R. Grace & Co., et al., the Official Committee
of Asbestos Personal Injury Claimants, the Future Claimants Representative, and the Official
Committee of Equity Security Holders Dated as of February 27, 2009, as filed by Grace and
certain of its affiliates in their reorganization cases under Chapter 11 of the Bankruptcy Code, in
the United States Bankruptcy Court for the District of Delaware, and as confirmed by order of
that court dated as of [__], 2009, together with the exhibits and schedules thereto, each as
amended, supplemented or otherwise modified from time to time in accordance with its terms.

       The terms “register,” “registered” and “registration” refer to a registration effected by
preparing and filing a registration statement in compliance with the Securities Act, and the
declaration or ordering of the effectiveness of such registration statement.

       “Registration Date” means the fifth Business Day following the Effective Date.

        “Registrable Securities” means (i) the Warrants and (ii) the Warrant Shares; provided,
however, that such Warrants and Warrant Shares shall constitute Registrable Securities only so
long as they have not been sold or otherwise disposed of by the Trust.

      “Rule 144” means Rule 144 as promulgated under the Securities Act, as the same may be
amended from time to time.

       “Securities Act” means the Securities Act of 1933, as amended.

        “Suspension Period” means any period during which the Company has exercised its
rights to defer the filing or effectiveness of a Shelf Registration Statement pursuant to Section
2(b)(i) or when a Shelf Registration Statement may not be used to effect the resale of Registrable
Securities as the result of the Company exercising its rights pursuant to Section 2(b)(ii).

        “Warrants” shall mean the warrants to purchase shares of Common Stock issued to the
Trust in accordance with the Plan of Reorganization and subject to the terms and conditions of
the Warrant Agreement dated as of the date hereof, among the Company, the Trust and
_______________, as warrant agent.

        “Warrant Shares” means shares of Common Stock and any other shares of capital stock
or other securities of the Company issued or issuable as a result of any stock split, stock
dividend, recapitalization, exchange or similar event or otherwise purchased or purchasable upon
exercise of the Warrants (and, if the context requires, securities which may thereafter be issued
by the Company in respect of any such securities so purchased, by means of any stock splits,
stock dividends, recapitalizations, reclassifications or the like).



       1.1.        Table of Defined Terms.

        Term                                         Section Number

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 Claims                                      Section 11.9
 Company                                     Preamble
 Courts                                      Section 11.9
 Lock-Up Period                              Section 9(a)
 Registration Rights Agreement               Preamble
 Required Period                             Section 2(a)
 Shelf Demand Notice                         Section 2(a)
 Shelf Registration Statement                Section 2(a)
 Shelf Underwritten Demand Notice            Section 4(a)
 Trust                                       Preamble
 Underwritten Offering                       Section 4(a)

2. Shelf Registration.

       (a) Subject to Section 2(b):

                 (i)    Following the Registration Date, the Trust shall have the right to
request, by delivery of a written notice to the Company (a “Shelf Demand Notice”), that
the Company file a shelf registration statement (which registration statement shall be on
Form S-3 under the Securities Act if the Company is eligible to register Registrable
Securities on such form and shall be on Form S-1 if the Company is eligible to register
Registrable Securities otherwise than on Form S-3) pursuant to Rule 415 under the
Securities Act covering all of the Registrable Securities (a “Shelf Registration
Statement”) to enable the resale on a delayed or continuous basis of such Registrable
Securities; provided, however, that the Trust may not deliver to the Company a Shelf
Demand Notice at any time when (1) the Registrable Securities then held by the Trust
consist only of Warrant Shares, (2) the Trust has satisfied the Rule 144(d)(1)(ii) one-year
holding period applicable to such Warrant Shares following their issuance by the
Company to the Trust, (3) the Trust is not an Affiliate of the Company, as determined by
the Trust in its reasonable, good faith judgment, and (4) all such Warrant Shares are then
capable of being sold by the Trust in a single transaction without restriction under Rule
144.

                (ii)    As soon as reasonably practicable but in no event later than fifteen
(15) days after receiving a Shelf Demand Notice, the Company shall, subject to
Section 3(b)(i), file with the Commission a Shelf Registration Statement on Form S-1 or
S-3, as applicable;

               (iii)   The Company shall use its commercially reasonable best efforts to
cause the Shelf Registration Statement to become effective as expeditiously as possible
and to remain effective until the earlier of (x) the time all Registrable Securities subject
thereto have been sold and (y) the fifth anniversary of the initial effective time of the
Shelf Registration Statement (the “Required Period”), including by filing necessary post-
effective amendments and prospectus supplements reasonably required by the Trust;
provided, however, that the applicable time period during which the Shelf Registration
Statement is to remain effective shall be extended by that number of days equal to the
total number of days in all Suspension Periods. In the event that the Shelf Registration

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       may not be used for the offer and sale of Registrable Securities due to the passage of
       time, the Company shall promptly file a new replacement registration statement (which,
       once filed, shall constitute a Shelf Registration Statement for purposes of this
       Registration Rights Agreement) and use its commercially reasonable best efforts to cause
       the same to become effective as expeditiously as possible and otherwise in accordance
       with this Registration Rights Agreement.

               (b) Notwithstanding anything to the contrary in Section 2(a):

                       (i)     The Company shall have the right to defer the filing or the
       effectiveness of the Shelf Registration Statement for a period ending not more than 60
       days after the date on which the Company would otherwise have been required to file the
       Shelf Registration Statement pursuant to Section 2(a)(ii) by delivery of a written notice to
       the Trust stating that the Company is exercising its right of deferral under this Section
       2(b)(i).

                      (ii)     The Company shall have the right to prohibit the Trust from selling
       Registrable Securities pursuant to the Shelf Registration Statement for a period not to
       exceed 90 consecutive days and 90 days in the aggregate during any 12-month period by
       delivery of a written notice to the Trust stating that the Company is exercising its sales
       prohibition right under this Section 2(b)(ii) and demanding that the Trust ceases sales of
       Registrable Securities under the Shelf Registration Statement; provided, however, that
       any deferral of the filing or effectiveness of the Shelf Registration Statement resulting
       from the exercise by the Company of its rights pursuant to Section 2(b)(i) shall be
       counted towards the 90-day time periods provided in this Section 2(b)(ii) for the first
       twelve-month period.

                (c) The Company may elect to register in the Shelf Registration Statement any
additional shares of Common Stock (including, without limitation, any shares of Common Stock
to be distributed in a primary offering made by the Company) so long as the inclusion of such
Common Stock by the Company would not be reasonably likely to delay in any material respect
the Trust’s ability timely to sell the Registrable Securities pursuant to the Shelf Registration
Statement. Such election of the Company, if made, shall be made by the Company giving
written notice to the Trust stating (A) that the Company proposes to include additional shares of
Common Stock in such Shelf Registration Statement, and (B) the number of shares of Common
Stock proposed to be included.




       3. Registration Procedures.

                (a) If and whenever the Company is required by the provisions of Section 2 or
Section 4 to effect the registration of Registrable Securities under the Securities Act, the
Company, at its expense and as expeditiously as possible shall use its reasonable best efforts to
effect such registration and:


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                 (i)     in accordance with the Securities Act and all applicable rules and
regulations promulgated thereunder, prepare and file with the Commission a registration
statement with respect to such securities and use its reasonable best efforts to cause such
registration statement to become and remain effective as provided herein, and prepare
and file with the Commission such amendments and supplements to such registration
statement and any prospectus contained therein as may be necessary to keep such
registration statement effective and such registration statement and prospectus accurate
and complete and to permit the Trust subject to such registration statement to sell such
securities, until the earlier of (x) the time all Registrable Securities subject thereto have
been sold and (y) the third anniversary of the initial effectiveness thereof, subject to the
Company’s rights to delay the effectiveness of the Shelf Registration Statement pursuant
to Section 2(b)(ii) and cause the Trust to cease sales under an effective Shelf Registration
Statement pursuant to Section 2(b)(ii)); provided, however, that the applicable time
period during which the Shelf Registration Statement is to remain effective shall be
extended by that number of days equal to the total number of days in all Suspension
Periods; and provided further, that in the event that the Shelf Registration may not be
used for the offer and sale of Registrable Securities due to the passage of time, the
Company shall promptly file a new replacement registration statement (which, once filed,
shall constitute a Shelf Registration Statement for purposes of this Registration Rights
Agreement) and use its commercially reasonable best efforts to cause the same to become
effective as expeditiously as possible and otherwise in accordance with this Registration
Rights Agreement;

               (ii)   furnish to the Trust such number of copies of the registration
statement and each amendment and supplement thereto, preliminary prospectus, final
prospectus, prospectus supplement and such other documents as the Trust may
reasonably request;

                (iii)   use its reasonable best efforts to register or qualify the securities
covered by such registration statement under such state securities or blue sky laws of
such jurisdictions as the Trust may reasonably request, except that the Company shall not
for any purpose be required to execute a general consent to service of process or to
qualify to do business as a foreign corporation in any jurisdiction where it is not so
qualified;

                 (iv)   provide a transfer agent and registrar for all securities registered
pursuant to this Registration Rights Agreement and provide a CUSIP number for all such
securities, in each case not later than the effective date of such registration;

               (v)     upon reasonable notice and at reasonable times during normal
business hours, make reasonably available for inspection by a representative of the Trust,
one firm of counsel for the Trust, the managing underwriter, if any, participating in any
disposition of Registrable Securities and its counsel and any single accountant retained by
the Trust or any such underwriter, all financial and other records, pertinent corporate
documents and properties of the Company, and cause appropriate officers, directors and
employees of the Company to make reasonably available for such inspection all such
relevant information reasonably requested in writing by them in connection with a

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Registration Statement as is customary for “due diligence” investigations of the type,
nature and extent appropriate for an offering of the type contemplated; provided, that
such Entity shall first agree in writing with the Company that any information that is
reasonably designated by the Company as confidential at the time of delivery shall be
kept confidential by such Entity and such Entity shall not engage in trading any securities
of the Company until such material non-public information becomes publicly available,
except nothing in such writing shall restrict (A) disclosure of such information if it is
required by Law or (ii) sharing information with other underwriters, agents or dealers
participating in the disposition of any Registrable Securities, subject to the execution by
such other underwriters, agents or deals of reasonable non-disclosure agreements with the
Company;

                (vi)   notify the Trust, promptly after it shall receive notice thereof, of
the date and time when such registration statement and each post-effective amendment
thereto has become effective or a prospectus or supplement to any prospectus relating to a
registration statement has been filed;

              (vii) notify the Trust promptly of any request by the Commission for the
amending or supplementing of such registration statement or prospectus or for additional
information;

                (viii) prepare and file promptly with the Commission, and promptly
notify the Trust of the filing of, such amendments or supplements to such registration
statement or prospectus as may be necessary to correct any statements or omissions if, at
the time when a prospectus relating to such securities is required to be delivered under
the Securities Act, when any event has occurred as the result of which any such
prospectus or any other prospectus as then in effect would include an untrue statement of
a material fact or omit to state any material fact required to be stated therein or necessary
to make the statements therein not misleading;

               (ix)    in case the Trust is required to deliver a prospectus at a time when
the prospectus then in circulation is not in compliance with the Securities Act or the rules
and regulations promulgated thereunder, the Company shall use reasonable best efforts to
prepare promptly upon request such amendments or supplements to such registration
statement and such prospectus as may be necessary in order for such prospectus to
comply with the requirements of the Securities Act and such rules and regulations;

               (x)     advise the Trust, promptly after it shall receive notice or obtain
knowledge thereof, of the issuance of any stop order by the Commission suspending the
effectiveness of such registration statement or the initiation or threatening of any
proceeding for that purpose and promptly use its commercially reasonable best efforts to
prevent the issuance of any stop order or to obtain its withdrawal if such stop order
should be issued;

                (xi)  list the Registrable Securities (and to maintain such listing during
the pendency of the relevant registration period) on any securities exchange on which the
securities of the Company of the same class with Registrable Securities are listed or, if no

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       similar securities are then listed on any securities exchange, use commercially reasonable
       best efforts to cause all such Registrable Securities to be listed on an Eligible Market
       jointly agreed upon by the Company and the Trust; and

                       (xii) make generally available to its security holders, and to deliver to
       the Trust, an earnings statement of the Company that will satisfy the provisions of
       Section 11(a) of the Securities Act covering a period of 12 months beginning after the
       effective date of such registration statement as soon as reasonably practicable after the
       completion of such 12-month period

               (b) The Trust, at its expense and as expeditiously as possible, agrees to:

                     (i)     provide the Company with such information and assistance as
       reasonably requested by the Company to effect such registration under the Securities Act;

                      (ii)    keep confidential that the Company has exercised its rights under
       Section 2 and any other confidential information provided by the Company in connection
       with this Registration Rights Agreement; and

                      (iii)  comply with the prospectus delivery requirements and other
       provisions of the Securities Act and the Exchange Act and the respective rules and
       regulations promulgated thereunder applicable to the Trust, particularly Regulation M
       thereunder (or any successor rules or regulations), in connection with any offering by the
       Trust of Registrable Securities.

                (c) The Trust acknowledges that it has been advised to consult its own
independent securities law counsel regarding the consequences of demanding or requesting
registration of Registrable Securities hereunder or being named or not being named as a selling
securityholder in the registration statement and related prospectus.

       4. Underwritten Offerings.

                (a) Following the effective date of the Shelf Registration Statement, the Trust
shall have the right to request by delivery of a written notice to the Company (a “Shelf
Underwritten Demand Notice”) that the Company effect two (2) underwritten offerings of all or
a portion of the Registrable Securities included in the Shelf Registration Statement (each an
“Underwritten Offering”). Any such Shelf Underwritten Demand Notice must request an
underwritten offering of Registrable Securities having an aggregate market value, based on the
average per share closing price of the Registrable Securities as reported on the principal
exchange or market on which the Common Stock is then traded over the ten (10) consecutive
trading days prior to the date of the Shelf Underwritten Demand Notice, of not less than
$15,000,000. Any prospectus supplement or other filing with the Commission including a plan
or method of distribution of the securities subject to an Underwritten Offering pursuant to this
Section 4(a) shall reflect the plan or method of distribution of such securities as shall be
designated by the managing underwriter of the offering. The Company shall file with the
Commission such amendments to the Shelf Registration Statement and such prospectus
supplements or other filings that are necessary in connection with the Underwritten Offering of
the Registrable Securities subject to the Shelf Underwritten Demand Notice as promptly as
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practicable after receipt of such request, subject to Section 2(b). Notwithstanding anything to the
contrary herein, the Trust shall not deliver a Shelf Underwritten Demand Notice during the 120-
day period following (i) the date of pricing of the prior Underwritten Offering or (ii) the date of
termination of the prior Underwritten Offering pursuant to Section 4(f).

                (b) If the Company receives a Shelf Underwritten Demand Notice pursuant to
Section 4(a), it shall enter into such agreements (including an underwriting agreement containing
representations and warranties and indemnity and contribution provisions of the type made in
customary underwriting agreements for an underwritten public offering), in usual and customary
form, and take such other actions as may be reasonably requested by the Trust or the managing
underwriter to expedite the offer for sale or disposition of the Registrable Securities, and in
connection therewith, upon such request and upon the date of closing of any sale of Registrable
Securities in such underwritten registration:

                      (A) use its reasonable best efforts to obtain opinions of counsel to the
       Company (such counsel being reasonably satisfactory to the managing underwriter) and
       updates thereof covering matters customarily covered in opinions of counsel in
       connection with underwritten offerings, addressed to the Trust and the managing
       underwriter, in each case which opinion and updates thereof shall each state that it is
       being delivered at the request of the Company and solely in order to assist the Trust and
       the managing underwriter in establishing a “due diligence” defense;

                       (B) use its reasonable best efforts to obtain customary “comfort” letters
       from the independent certified public accountants of the Company (to the extent
       deliverable in accordance with their professional standards) addressed to the Trust (to the
       extent consistent with Statement on Auditing Standards No. 100 of the American Institute
       of Certified Public Accountants) and the managing underwriter, in customary form and
       covering matters of the type customarily covered in “comfort” letters in connection with
       underwritten offerings; and

                     (C) provide officers’ certificates and other customary closing documents
       customarily delivered in connection with underwritten offerings reasonably requested by
       the managing underwriter;

       provided, that the Company shall only be required to comply with this Section 4(b) in
connection with two (2) Underwritten Offerings.

                 (c) No securities to be sold for the account of any Entity (including the Company)
other than the Trust shall be included in an Underwritten Offering pursuant to this Section 4 if
the managing underwriter of the Underwritten Offering relating thereto advises the Trust that the
total amount of Registrable Securities requested to be registered, together with such other
securities that the Company and any other stockholders propose to include in such offering, is
such as to adversely affect the successful marketing (including the pricing) of the securities
included in such offering, in which case the Company shall include in such registration all
Registrable Securities requested to be included therein, up to the full amount that, in the view of
such managing underwriter can be sold without adversely affecting the success of such offering,
before including any securities of any Entity (including the Company) other than the Trust.

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                (d) The Trust shall in its reasonable discretion and with the consent of the
Company (which consent shall not be unreasonably withheld) select an investment banking firm
of national standing to be the managing underwriter for any Underwritten Offering.

                (e) If so requested (pursuant to a timely written notice) by the managing
underwriter for the Underwritten Offering relating thereto, the Company shall not effect any
underwritten public sale or distribution of any securities for its own account or the account of
any Entity not a party hereto that are the same as, or similar to, the Registrable Securities, or any
securities convertible into, or exchangeable or exercisable for, any securities of the Company
that are the same as, or similar to, the Registrable Securities, during the 15-day period prior to,
and during the 60-day period after the date of pricing of the Underwritten Offering.

                 (f) Notwithstanding the foregoing provisions of this Section 4, no request for the
Company to effect an Underwritten Offering pursuant to this Section 4 will count for the
purposes of determining the number of such underwritten offerings if (i) the Shelf Registration
Statement relating to such request is not declared effective with one hundred eighty (180) days of
the date such Shelf Registration Statement is first filed with the Commission (other than as a
result of any action or inaction by the Trust, including any refusal by the Trust to proceed or
provide any required information for inclusion therein) and the Trust withdraws its request prior
to such Shelf Registration Statement being declared effective, (ii) prior to the sale of at least 90%
of the Registrable Securities included in the applicable registration relating to such request, such
registration is adversely affected by any stop order, injunction or other order or requirement of
the Commission or other governmental agency or court for any reason (other than any reason
caused by or primarily caused by the Trust) and the Company fails to have such stop order,
injunction or other order or requirement removed, withdrawn or resolved to the Trust’s
reasonable satisfaction within thirty (30) days of the date of such order, (iii) any condition or
conditions to closing specified in the underwriting agreement or purchase agreement entered into
in connection with the registration relating to such request and solely with the control of the
Company are not satisfied or (iv) the Trust determines in its reasonable, good faith judgment to
withdraw an outstanding Shelf Underwritten Demand Notice due to market conditions; provided,
that only one (1) withdrawal pursuant to this clause (iv) shall be excluded in determining the
number of underwritten offerings. In addition, if the Company postpones the filing a Shelf
Registration Statement pursuant to Section 2(b)(i) following a request for such filing made by the
Trust pursuant to Section 4(a), the Trust will be entitled to withdraw a request for the filing of
such Shelf Registration Statement and in such event such registration request will not count for
the purpose of determining the number of underwritten offerings which the Company must effect
pursuant to Section 4.

                (g) If (i) the Shelf Registration Statement cease to be effective at any time during
the Required Period, (ii) there are Registrable Securities outstanding and (iii) the Company
proposes to register (including for this purpose a registration effected by the Company for
holders of capital stock other than the Trust) any of its stock under the Securities Act in
connection with the public offering of such securities solely for cash (other than a registration
relating solely to the sale of securities to participants in a Company stock plan or a transaction
covered by Rule 145 under the Securities Act, a registration in which the only stock being
registered is Common Stock issuable upon conversion of debt securities which are also being
registered, or any registration on any form which does not include substantially the same

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information as would be required to be included in a registration statement covering the sale of
the Registrable Securities), the Company shall, at such time, promptly give the Trust written
notice of such registration. Upon the written request of the Trust given within twenty (20) days
after the Trust’s receipt of such notice, subject to Section 4(h), the Company shall cause to be
registered under the Securities Act all of the Registrable Securities that the Trust has requested to
be registered.

                 (h) In connection with any offering involving an underwriting of shares of the
Company’s capital stock, the Company shall not be required under Section 4(g) to include any of
Registrable Securities in such underwriting unless the Trust accepts the terms of the underwriting
as agreed upon between the Company and the underwriters selected by it (or by other Entities
entitled to select the underwriters), and then only in such quantity as the underwriters determine
in their reasonable judgment will not jeopardize the success of the offering by the Company. If
the total amount of securities, including Registrable Securities, requested by holders of capital
stock to be included in such offering exceeds the amount of securities to be sold other than by the
Company that the underwriters determine in their reasonable judgment is compatible with the
success of the offering, then the Company shall be required to include in the offering only that
number of such securities, including Registrable Securities, which the underwriters determine in
their reasonable judgment will not jeopardize the success of the offering (the securities so
included to be apportioned pro rata among the selling security holders according to the total
amount of securities entitled to be included therein owned by each selling security holder or in
such other proportions as shall mutually be agreed to by such selling security holders) but in no
event shall (i) the amount of securities of the Trust included in the offering be reduced below
25% of the total amount of securities included in such offering or (ii) a greater number of
securities from any security holder of the Company other than the Trust be included if any
Registrable Securities are excluded.

                (i) Notwithstanding anything to the contrary herein, the Company shall have no
obligation to effect more than two (2) Underwritten Offerings.

        5. Expenses. In connection with the filing of any registration statement under this
Registration Rights Agreement and the sale of Registrable Securities pursuant thereto, the
Company shall pay for and bear all (i) registration, filing and New York Stock Exchange listing
and other fees, listing and other fees of any other securities exchange upon which securities
similar to the Registrable Securities are listed, fees and disbursements of printers, counsel and
accountants for the Company and (ii) all legal fees and disbursements and other expenses of the
Company complying with foreign, state securities or blue sky laws of any jurisdictions in which
the securities to be offered are to be registered or qualified and (iii) the expenses incurred by the
Company (but not the Trust) in connection with any “road show” undertaken as part of an
Underwritten Offering. For the avoidance of doubt, the Trust shall pay for all its own expenses,
including fees and expenses of any counsel retained by it.

       6. Indemnification.

               (a) The Company hereby agrees to indemnify and hold harmless the Trust and
each of the Trust’s trustees, officers, employees, legal counsel and accountants, and each Entity
which controls the Trust within the meaning of the Securities Act, from and against, and agrees

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to reimburse the Trust, its trustees, officers, employees, legal counsel and accountants and such
controlling Entities with respect to, any and all claims, actions (actual or threatened),
investigations, proceedings, demands, losses, damages, liabilities, costs and expenses (including
all costs of appearing as a witness in any claim, challenge, action, investigation or proceeding) to
which the Trust, trustees, legal counsel and accountants may become subject under the Securities
Act or otherwise, insofar as such claims, actions, investigations, proceedings, demands, losses,
damages, liabilities, costs or expenses arise out of or are based upon (i) any untrue statement or
alleged untrue statement of any material fact contained in a registration statement covering
Registrable Securities, any prospectus related thereto (preliminary or final), any Free Writing
Prospectus related thereto or any amendment or supplement thereto, (ii) the omission or alleged
omission to state therein a material fact necessary to make the statements therein (in the case of a
prospectus or Free Writing Prospectus, in light of the circumstances under which they were
made) not misleading or (iii) any violation or alleged violation by the Company of the Securities
Act, the Exchange Act, any federal or state securities law or any rule or regulation promulgated
under the Securities Act, the Exchange Act or any federal or state securities law in connection
with the offering and sale covered by such registration statement; provided, however, that the
Company will not be liable to any such Entity to the extent that any such claim, action,
investigation, proceeding, demand, loss, damage, liability, cost or expense is caused by an untrue
statement or alleged untrue statement or omission or alleged omission of material fact so made in
strict conformity with written information furnished by the Trust, its trustees, legal counsel and
accountants, specifically for use in the preparation thereof. Such indemnification shall remain in
full force and effect regardless of any investigation made by or on behalf of the Trust.

                 (b) The Trust hereby agrees to indemnify and hold harmless the Company, its
officers, directors, legal counsel and accountants and each Entity who controls the Company
within the meaning of the Securities Act, from and against, and agrees to reimburse the
Company, its officers, directors, employees, legal counsel, accountants and controlling Entity
with respect to, any and all claims, actions, demands, losses, investigations, proceedings,
damages, liabilities, costs or expenses to which the Company, its officers, directors, employees,
legal counsel, accountants or such controlling Entity may become subject under the Securities
Act or otherwise, insofar as such claims, actions, demands, losses, investigations, proceedings,
damages, liabilities, costs or expenses arise out of or are based upon (i) any untrue or alleged
untrue statement of any material fact contained in a registration statement covering Registrable
Securities, any prospectus (preliminary or final) related thereto, any Free Writing Prospectus
related thereto or any amendment or supplement thereto, or (ii) the omission or the alleged
omission to state therein a material fact required to be stated therein or necessary to make the
statements therein (in the case of a prospectus or Free Writing Prospectus, in light of the
circumstances under which they were made) not misleading, in each case to the extent, but only
to the extent, that such untrue statement or alleged untrue statement or omission or alleged
omission was so made in reliance upon and in strict conformity with written information
furnished by the Trust specifically for use in the preparation thereof; provided, however, that the
indemnity agreement contained in this Section 6(b) shall not apply to amounts paid in settlement
of any such loss, claim, investigation, proceeding, damage, liability or action if such settlement is
effected without the consent of the Trust, which consent shall not be unreasonably withheld or
delayed; provided, further, that the total amounts payable in indemnity by the Trust under this
Section 6(b) shall not exceed the net proceeds received by the Trust in the registered sale out of


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which such claim, action, investigation, proceeding, demand, loss, damage, liability, cost, or
expense arises.

                 (c) Promptly after receipt by a party indemnified pursuant to the provisions of
Section 6(a) or Section 6(b) of notice of the commencement of any action involving the subject
matter of the foregoing indemnity provisions, such indemnified party will, if a claim therefore is
to be made against the indemnifying party pursuant to the provisions of Section 6(a) or
Section 6(b), notify the indemnifying party of the commencement thereof; but the omission so to
notify the indemnifying party will not relieve the indemnifying party from any liability which it
may have to an indemnified party otherwise than under this Section 6 and shall not relieve the
indemnifying party from liability under this Section 6 unless such indemnifying party is actually
and materially prejudiced by such omission. In case any such action is brought against any
indemnified party, and it notifies the indemnifying party of the commencement thereof, the
indemnifying party will be entitled to participate therein and, to the extent that it may wish,
jointly with any other indemnifying parties similarly notified, to assume the defense thereof, with
counsel reasonably satisfactory to such indemnified party; provided, however, that if the
defendants in any such action include both the indemnified party and the indemnifying party and
the indemnified party shall have reasonably concluded that there may be legal defenses available
to it and/or other indemnified parties which are different from, conflict with or additional to
those available to the indemnifying party, the indemnified party or parties shall have the right to
select separate counsel (in which case the indemnifying party shall not have the right to direct the
defense of such action on behalf of the indemnified party or parties). Upon the permitted
assumption by the indemnifying party of the defense of such action, and approval by the
indemnified party of counsel, the indemnifying party shall not be liable to such indemnified
party under Section 6(a) or Section 6(b) for any legal or other expenses subsequently incurred by
such indemnified party in connection with the defense thereof (other than reasonable costs of
investigation) unless (i) the indemnified party shall have employed separate counsel in
connection with the assertion of legal defenses in accordance with the proviso to the next
preceding sentence, (ii) the indemnifying party shall not have employed counsel reasonably
satisfactory to the indemnified party to represent the indemnified party within a reasonable time,
(iii) the indemnifying party and its counsel do not actively and vigorously pursue the defense of
such action, or (iv) the indemnifying party has authorized the employment of counsel for the
indemnified party at the expense of the indemnifying party. No indemnifying party shall be
liable to an indemnified party for any settlement of any action or claim without the consent of the
indemnifying party and no indemnifying party may unreasonably withhold consent to any such
settlement. No indemnifying party will consent to entry of any judgment or enter into any
settlement that does not include as an unconditional term thereof the giving by the claimant or
plaintiff to the indemnified party of a release from all liability with respect to such claim or
litigation.

                 (d) If the indemnification provided for in Section 6(a) or Section 6(b) is held by a
court of competent jurisdiction to be unavailable to a party to be indemnified with respect to any
claims, actions, demands, losses, damages, liabilities, costs or expenses referred to therein, then
each indemnifying party under any such subsection, in lieu of indemnifying such indemnified
party thereunder, hereby agrees to contribute to the amount paid or payable by such indemnified
party as a result of such claims, actions, investigations, proceedings, demands, losses, damages,
liabilities, costs or expenses in such proportion as is appropriate to reflect the relative fault of the

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indemnifying party on the one hand and of the indemnified party on the other in connection with
the statements or omissions which resulted in such claims, actions, investigations, proceedings,
demands, losses, damages, liabilities, costs or expenses, as well as any other relevant equitable
considerations. The relative fault of the indemnifying party and of the indemnified party shall be
determined by reference to, among other things, whether the untrue or alleged untrue statement
of a material fact or the omission or alleged omission to state a material fact relates to
information supplied by the indemnifying party or by the indemnified party and the parties’
relative intent, knowledge, access to information and opportunity to correct or prevent such
statement or omission. Notwithstanding the foregoing, the amount the Trust shall be obligated to
contribute pursuant to this Section 6(d) shall be limited to an amount equal to the per share sale
price multiplied by the number of shares of Registrable Securities sold by the Trust pursuant to
the registration statement which gives rise to such obligation to contribute (less the aggregate
amount of any damages which the Trust has otherwise been required to pay in respect of such
claim, action, investigation, proceeding, demand, loss, damage, liability, cost or expense or any
substantially similar claim, action, demand, loss, damage, liability, cost or expense arising from
the sale of such Registrable Securities).

               (e) No person guilty of fraudulent misrepresentation (within the meaning of
Section 11(f) of the Securities Act) shall be entitled to contribution hereunder from any person
who was not guilty of such fraudulent misrepresentation.

               (f) The obligations of the Company and the Trust under this Section 6 shall
survive the completion of any offering of Registrable Securities in a registration statement and
termination of this Registration Rights Agreement.

        7. Stockholder Information.

        The Company may request the Trust to furnish the Company with such information with
respect to the Trust and the distribution of such Registrable Securities as the Company may from
time to time reasonably request in writing and as shall be required by law or by the Commission
in connection therewith, and the Trust agrees to promptly furnish the Company with such
information.

        8. Forms.

       All references in this Registration Rights Agreement to particular forms of registration
statements are intended to include, and shall be deemed to include, references to all successor
forms which are intended to replace, or to apply to similar transactions as, the forms herein
referenced.

        9. Agreements.

                 (a) The Trust agrees in connection with any registration of any securities for the
account of the Company or any other person that, upon the request of the Company for a period
beginning on a date not earlier than five (5) Business Days prior to the date of pricing of any
such registration and ending not later than 90 days after the date of such pricing (the “Lock-Up
Period”), it shall not directly or indirectly (i) offer, pledge, sell, contract to sell, grant any options
for the sale of, seek the redemption of or otherwise transfer or dispose of (including pursuant to a
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registration statement) any shares of Common Stock (or securities exchangeable or exercisable
for any shares of Common Stock) or Warrants, (ii) enter into a transaction which would have the
same effect, or enter into any swap, hedge or other arrangement that transfers, in whole or in
part, any of the economic consequences of ownership of the shares of Common Stock or
Warrants held by it, whether any such aforementioned transaction is to be settled by delivery of
shares of Common Stock or such other securities, in cash or otherwise, or (iii) publicly disclose
the intention to make any such offer, sale, pledge, transfer or disposition, or to enter into any
such transaction, swap, hedge or other arrangement.

                (b) The Trust represents that it has not prepared or had prepared on its behalf or
used or referred to, and agrees that it will not prepare or have prepared on it behalf or use or refer
to, any Free Writing Prospectus, and has not distributed and will not distribute any written
materials in connection with the offer or sale of the Common Stock without the prior express
written consent of the Company. The Company represents that it has not prepared or had
prepared on its behalf or used or referred to, and agrees that it will not prepare or have prepared
on it behalf or use or refer to, any Free Writing Prospectus, and has not distributed and will not
distribute any written materials in connection with the offer or sale of the Common Stock
without the prior express written consent of the Trust in connection with any registration which
is effected pursuant to this Registration Rights Agreement.

               (c) The Trust agrees to cease selling Registrable Securities pursuant to the Shelf
Registration Statement if an event under Section 2(b)(ii) or Section 3(a)(ix) or Section 3(a)(xi)
shall occur.

                (d) The Company agrees that nothing in this Registration Rights Agreement shall
prohibit the Trust, at any time and from time to time, from selling or otherwise transferring
Registrable Securities pursuant to a private placement or other transaction which is not registered
pursuant to the Securities Act. To the extent requested by the Trust, the Company shall take all
commercially reasonable steps necessary to assist and cooperate with the Trust to facilitate such
sale or transfer.

       10. Transfer of Registration Rights.

       The rights to cause the Company to register securities granted to the Trust pursuant to
this Registration Rights Agreement may not be transferred or assigned to any other Entity.

       11. Miscellaneous.

               11.1.   Waivers and Amendments.

                 (a) With the written consent of the Trust, the obligations of the Company and the
rights of the Trust under this Registration Rights Agreement may be waived (either generally or
in a particular instance, either retroactively or prospectively and either for a specified period of
time or indefinitely), and with such consent the Company may enter into a supplementary
agreement for the purpose of adding any provisions to or changing in any manner or eliminating
any of the provisions of this Registration Rights Agreement or of any supplemental agreement or
modifying in any manner the rights and obligations hereunder of the Trust and the Company.


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                (b) Neither this Registration Rights Agreement nor any provision hereof may be
changed, waived, discharged or terminated orally or by course of dealing, but only by a
statement in writing signed by the party against which enforcement of the change, waiver,
discharge or termination is sought. Specifically, but without limiting the generality of the
foregoing, the failure of any party hereunder at any time or times to require performance of any
provision hereof by the Company shall in no manner affect the right of such party at a later time
to enforce the same. No waiver by any party of the breach of any term or provision contained in
this Registration Rights Agreement, in any one or more instances, shall be deemed to be, or
construed as, a further or continuing waiver of any such breach, or a waiver of the breach of any
other term or covenant contained in this Registration Rights Agreement.

                11.2. Rights of the Trust. The Trust shall have the absolute right to exercise or
refrain from exercising any right or rights which the Trust may have by reason of this
Registration Rights Agreement or any Registrable Security, including the right to consent to the
waiver of any obligation of the Company under this Registration Rights Agreement and to enter
into an agreement with the Company for the purpose of modifying this Registration Rights
Agreement or any agreement effecting any such modification. The Company shall reimburse the
Trust for all documented out-of-pocket costs and expenses arising out of, or incurred by the Trust
in connection with, any successful action or proceeding brought against the Company by the
Trust to enforce any provision in this Registration Rights Agreement

                11.3. Notices. All notices required or permitted under this Registration Rights
Agreement must be in writing and will be deemed to be delivered and received (i) if personally
delivered or if delivered by the United States Postal Service, facsimile or courier service, when
actually received by the party to whom notice is sent or (ii) with respect to parties located other
than within the United States, if deposited with the United States Postal Service (whether
actually received or not), at the close of business on the seventh Business Day after the day when
placed in the mail, postage prepaid, certified or registered with return receipt requested,
addressed to the appropriate party or parties, at the address of such party or parties set forth
below (or at such other address as such party may designate by written notice to all other parties
in accordance with this Section 11.3):

      If to the Company:               With copies,       Kirkland & Ellis LLP
                                       which shall        Citigroup Center
      W. R. Grace & Co.                not constitute     153 E. 53rd Street
      7500 Grace Drive                 notice, to:        New York, NY 10022-4675
      Columbia, MD 21044                                  Attn: Thomas W. Christopher
      Attn: Corporate Secretary                           Facsimile: (212) 446-4900
      Facsimile: (410) 531-4545


      If to the Trust:                 With copies,
                                       which shall        [Notice Street Address]
      Asbestos Trust                   not constitute     [City], [State] [Zip]
      [Notice Street Address]          notice, to:        Attn: [ ]
      [City], [State] [Zip]                               Facsimile: [ ]
      Attn: [ ]

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       Facsimile: [ ]
       (if sending overnight
       packages use zip code [ ])



                11.4. Severability. Whenever possible, each provision of this Registration
Rights Agreement will be interpreted in such manner as to be effective and valid under
applicable Law, but if any provision of this Registration Rights Agreement by any party hereto is
held to be invalid, void, voidable, illegal or unenforceable in any respect under any applicable
Law in any jurisdiction, such event will not affect any other provision or the effectiveness or
validity of any provision in any other jurisdiction, or the obligations of any other party to this
Registration Rights Agreement, and this Registration Rights Agreement will be reformed,
construed and enforced in such jurisdiction as if such invalid, void, voidable, illegal,
unenforceable or rejected provision had never been contained herein. The parties hereto further
agree to use commercially reasonable efforts to replace such invalid, void, voidable, illegal,
unenforceable or rejected provision of this Registration Rights Agreement with a an effective,
valid and enforceable provision which will achieve, to the fullest extent possible, the economic,
business and other purposes of the invalid, void, voidable, illegal, unenforceable or rejected
provision.

                 11.5. Specific Performance. Each of the parties hereto acknowledges and
agrees that, in the event of any breach of, or any failure to perform, any specific provision of this
Registration Rights Agreement, the non-breaching party would be irreparably and immediately
harmed and could not be made whole by monetary damages. It is accordingly agreed that the
parties hereto (a) shall be entitled, in addition to any other remedy to which they may be entitled
at law or in equity, to compel specific performance of any specific provision of this Registration
Rights Agreement or to obtain injunctive relief to prevent breaches of any specific provision of
this Registration Rights Agreement exclusively in the Courts, (b) shall waive, in any action for
specific performance or injunctive relief, the defense of the adequacy of a remedy at law, and (c)
shall waive any requirement for the securing or posting of any bond in connection with the
obtaining of any such specific performance or injunctive relief. Any party’s pursuit of specific
performance or injunctive relief at any time will not be deemed an election of remedies or waiver
of the right to pursue any other right or remedy to which such party may be entitled, including
the right to pursue remedies for liabilities or damages incurred or suffered by such party.

               11.6. No Third Party Beneficiaries. Subject to Section 6, there are no third
party beneficiaries of this Registration Rights Agreement and nothing in this Registration Rights
Agreement, express or implied, is intended to confer on any Entity other than the parties hereto
and their respective successors, and assigns, any rights, remedies, obligations or liabilities.

                11.7. Headings. The headings of the sections, subsections and paragraphs of
this Registration Rights Agreement have been inserted for convenience of reference only and do
not constitute a part of this Registration Rights Agreement.

               11.8. Choice of Law. It is the intention of the parties that the internal
substantive laws, and not the laws of conflicts, of the State of New York should govern the

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enforceability and validity of this Registration Rights Agreement, the construction of its terms
and the interpretation of the rights and duties of the parties.

                 11.9. Jurisdiction. With respect to claims, suits, actions, proceedings, and other
disputes arising out of, in respect of or relating to this Registration Rights Agreement (such
claims, suits, actions, proceedings, and other disputes, the “Claims”), each of the parties to this
Registration Rights Agreement hereby irrevocably submits to the jurisdiction of the United
States Bankruptcy Court for the District of Delaware or the United States District Court for the
District of Delaware, or, if neither of such are permitted under applicable law to exercise
jurisdiction with respect to the matter in question, then to the jurisdiction of any other federal or
state court in the state, county and city of New York, New York (the “Courts”) and each of the
parties to this Registration Rights Agreement agrees that any and all Claims may be brought,
heard and determined in such courts.

                11.10. Venue. Each of the parties to this Registration Rights Agreement agrees
that venue shall be proper if determined pursuant to Section 11.9 and hereby waives any
objection or defense which it may now or hereafter have to the laying of venue in such courts,
including any of the foregoing based upon the doctrine of forum non conveniens. Each of the
parties hereto hereby agrees that all process which may be or be required to be served in respect
of any Claim (including any pleading, summons or other paper initiating any such Claim) may be
served upon it, which service shall be sufficient for all purposes, in the manner for the provision
of notice under this Registration Rights Agreement and shall be deemed in every respect
effective service of process upon such party when so given.

           11.11. No Jury Trial. EACH PARTY HERETO HEREBY WAIVES, TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE
TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY
ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS REGISTRATION RIGHTS
AGREEMENT. EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE,
AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B)
ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS REGISTRATION RIGHTS AGREEMENT, BY, AMONG
OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
PROVISION.

                11.12. Counterparts. This Registration Rights Agreement may be executed in any
number of counterparts and by different parties hereto in separate counterparts (including by
facsimile or portable document (pdf)), with the same effect as if all parties had signed the same
document. All such counterparts shall be deemed an original, shall be construed together and
shall constitute one and the same instrument.

               11.13. Reports Under the Exchange Act. In order to provide the Trust the use of
Section 2, and so long as there are Registrable Securities outstanding, the Company will (i) file
the reports required to be filed by it pursuant to the Securities Act and the Exchange Act and the
rules and regulations promulgated thereunder, (ii) make and keep public information available,

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as those terms are understood and defined in Rule 144 under the Securities Act, (iii) will take
such further action as the Trust may reasonably request, all to the extent required from time to
time to enable the Trust to sell Registrable Securities without registration under the Securities
Act within the limitation of the exemptions provided by Rule 144 or Rule 144A under the
Securities Act, as such rules may be amended from time to time, or any similar rule or regulation
hereafter adopted by the Commission, and (iv) take such other actions required by the
Company’s transfer agent to consummate any issuance and sale of Registrable Securities in
accordance with such Rule 144 or Rule 144A. Upon the request of the Trust, the Company will
deliver to the Trust a written statement as to whether it has complied with such reporting and
information requirements and, to the extent available, with a copy of the most recent annual or
quarterly report of the Company, and such other reports and documents of the Company as the
Trust may reasonably request in availing itself of any rule or regulation of the Commission
allowing a holder to sell securities without registration only if such report is not available at
www.sec.gov or on the Company’s website.

              11.14. Entire Agreement/Effectiveness.

        This Registration Rights Agreement, together with the Warrant Agreement and the
Warrants, the Plan of Reorganization and the Confirmation Order, is intended by the parties as a
final expression of their agreement and intended to be a complete and exclusive statement of the
agreement and understanding of the Company and the Trust in respect of the subject matter
contained herein, and supersedes, preempts and terminates all other prior understandings,
agreements or representations by or among the parties hereto, written or oral, to the extent
relating thereto.

              11.15. Other Remedies.

       Except as otherwise provided herein, any and all remedies herein expressly conferred
upon a party shall be deemed cumulative with and not exclusive of any other remedy conferred
hereby or by law on such party, and the exercise of any one remedy shall not preclude the
exercise of any other.



                                    [Signature page follows]




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            [REGISTRATION RIGHTS AGREEMENT SIGNATURE PAGE]

        IN WITNESS WHEREOF, the parties hereto, intending to be bound by the terms of this
agreement, have caused this Registration Rights Agreement to be executed by its duly authorized
officer as of the date first above written.

                                               W. R. Grace & Co.



                                               By:
                                                        Name:
                                                        Title:


                                               The WRG Asbestos Trust



                                               By:
                                                        Name:
                                                        Title:




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                          THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                     EXHIBIT 18 TO EXHIBIT BOOK
    REJECTED EXECUTORY CONTRACTS AND UNEXPIRED LEASES SCHEDULE

                                                                                                 EXHIBIT 18



The Debtors do not presently contemplate the rejection of any Executory Contracts or Unexpired
Leases.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                              EXHIBIT 19 TO EXHIBIT BOOK
                         RETAINED CAUSES OF ACTION SCHEDULE

                                                                                                 EXHIBIT 19

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                             RETAINED CAUSES OF ACTION
                               (ACCOUNTS RECEIVABLE)

Unicoat Technology            U.S. Aggregates                      AAA Ready Mix
International, Inc.           A Block Co.                          P.O. Box 729
804 Winkler                   147 West Election Road               Reddick, FL 32686
South Houston, TX 77587       Suite 110
                              Draper, UT 84020                     IDC Corporation
Landmark Window Systems,                                           11-40 Borden Avenue
Inc.                          Image Concrete                       Long Island City, NY 11101
806-808 Windsor Street        P.O. Box 1693
Hartford, CT 06120            Roanoke, TX 76262                    Dolle's Hydraulics & Tools
                                                                   128 S. Miami Avenue
Liberty Miron                 Peerless Tube Company                Miamisburg, OH 45342
282 Rt. 52 East               58-76 Locust Avenue
Liberty, NY 12754             Bloomfield, NJ 07003                 North American Wire Products
                                                                   30000 Solon Road
RM Engineered Products        Norris Rader, Inc.                   Solon, OH 44139
4854 O'Hear Avenue            P.O. Drawer 10410
North Charleston, SC 29405    New Iberia, LA 70562                 Abilez Development
                                                                   21205 S. E. 59th Street
Charles Redi Mix              Containment Solutions/Hoover         Newalla, OK 74857-8338
P.O. Box 644                  Group
Wingate Road                  6740 Bay Meadow Drive                Sheldon Concrete (Saboyd
Murphy, NC 28906              Glen Burnie, MD 21060                Ents.)
                                                                   P.O. Box 4787
Thacker Smyrna                Warren Electric                      Bryan, TX 77805
4755 North Church Lane SE     2202 S. Battleground Road
Smyrna, GA 30080              P.O. Box 520                         Oklahoma Mobil Mix
                              La Porte, TX 77571                   P.O. Box 245
George Nutrients                                                   Spencer, OK 73084
P.O. Box 247                  Skagit Pacific
Canton, GA 30114              Building A1                          Norat Environmental
                              500 Metcalf Street                   Road 862
Plibrico                      Sedro Woolley, WA 98284              KM 1.5 #I22
1800 N. Kingsbury Street                                           Bayamon, PR 00959
Chicago, IL 60614             Irvin H. Whitehouse
                              P.O. Box 32670                       Site Mix Ready Mix
U.S. Aggregates               Louisville, KY 40232                 P.O. Box 60178
Western Aggregates                                                 Colorado Springs, CO 80960-
c/o Mohave Concrete           Rockland Materials                   0178
147 West Election Road        3636 South 43rd Avenue
Suite 110                     Phoenix, AZ 85009                    Bahl, Inc.
Draper, UT 84020                                                   50 8th Street North
                              United Concrete Products             Sauk Rapids, MN 56379
U.S. Aggregates               P.O. Box 676
Western Rock Product Corp.    Frederick, MD 21705                  Isla Nia Paving
147 West Election Road                                             Apartado 1552
Suite 110                     Hanover Materials                    Vieques, PR 00765
Draper, UT 84020              P.O. Box 896
                              Ashland, VA 23005                    Dawson Ready Mix
U.S. Aggregates                                                    5674 Highway 53 East
Cox Rock Products Co.         Kenny Manta                          Dawsonville, GA- 30534
P. 0. Box 220289              414 North Orleans Avenue
Centerfield, UT 84622         Suite 801
                              Chicago, IL 60610




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Jackson Stone                   Lee’s Concrete                         Thompson Hancock
P.O. Box 5398                   4315 N. Foster Drive                   Technologies, Inc.
Jackson, MS 39216               Baton Rouge, LA 70805                  P.O. Box 1963
                                                                       Burlington, NC 27216
Concretera Del Este             Rainbow Materials
HC-01 BOX 16999                 P.O. Box 18838                         Vines Precast Services
Humacao, PR 00791               Austin, TX 78760                       233 Gatewood Circle West
                                                                       Burleson, TX 76028
Quick-Wright Associated         Regional Concrete
150 Cooper Road C-7             Rt. 5, Box 5640                        Intercat, Inc.
West Berlin, NJ 08091           Palestine, TX 75801                    2399 Highway 34, Suite C-I
                                                                       Manasquan, NJ 08736
D & G Brice Contractors, Inc.   Concretera Del Este
P.O. Box 31846                  HC-01 BOX 16999                        Trenton Ready Mix
Baltimore, MD 21207             Humcao, PR 00791                       1017 East 38th Street
                                                                       Chattanooga, TN 37407
North Shore Concrete LLC        Royal Cement
45 Jefferson Avenue             State Road 169                         Burks Concrete
Salem, MA 01970                 Logandale, NV 89021                    P.O. Box 68
                                                                       Hitchcock. TX 77563
MPI Ready Mix                   Dinaso & Sons Building Supply
P.O. Box 641                    820 Mount Ephraim Avenue               Dump Master/Master Mix of NJ
Overton, NV 89040               Camden, NJ 08108                       7 Herrick Avenue
                                                                       Staten Island, NY 10307
Advanced Concrete Innovations   Lassiter Plastering
15870 Johnson Memorial Drive    6939 Amaryllis Court                   Quality Concrete
Jordan, MN 55352                Elyria, OH 44035                       810 Fish Road
                                                                       Tiverton, RI 02878
Allied Ready Mix                Pro Tec Fireproofing, Inc.
106 Industrial Park Loop NE     1100 NE 249th Street                   Southeastern Fireproofing
Rio Rancho, NM 87124            Ridgefield, WA 98642                   P.O. Box 101207
                                                                       2512 Commerce Square West
DAC Art Louisiana LLC           Twisted Pair Communications            Birmingham, AL 35210
6709 Perkins Road               2511 Pan Am Blvd.
Baton Rouge, LA 70808           Elk Grove, IL 60007                    Toman & Associates
                                                                       P.O. Box 408
Delta Concrete                  P T Hutchins Co, Ltd.                  Poteet, TX 78065
P.O. Box 1092                   P.O. Box 910916
Forrest City, AR 72336          Los Angeles, CA 90091




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                                  RETAINED CAUSES OF ACTION
                                 (CLAIMS AGAINST CUSTOMERS)

Johnson Matthey Catalysts
Formerly ICI/Synetix
Accounts Payable
Two Transam Plaza Drive
Suite 230
Oakbrook Terrace, IL 60181

Kellogg Brown & Root, Inc.
601 Jefferson Avenue
Houston, TX 77001

ConocoPhillips
600 North Dairy Ashford
Houston, TX 772 1 0

Sumitomo Osaka Cement Co., Ltd
6-28, Rokubancho
Chiyoda-Ku
Toyko 1 02-8465
Japan




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                                 RETAINED CAUSES OF ACTION
                                  (CLAIMS AGAINST VENDORS)

DuPont Chemical Solutions         Ennis Knupp                          Penn Bottle & Supply Co.
3419 Clearwater Court             10 South Riverside Plaza             7 10 E. Third Street
Sugar Land, TX 77478              Suite 700                            Essington, PA 19029
                                  Chicago, IL 60606
Microsoft Corporation                                                  Ernst & Young
One Microsoft Way                 Fidelity Investments                 Metro Park
Redmond, WA 98052-6399            82 Devonshire Street V5A             99 Wood Avenue South
                                  Boston, MA 02109                     Iselin, NJ 08830
Kansas City Southern/Kansas
City Southern Railway             Capital Guardian Trust               Prudential Relocation
427 W. 12th Street                Company                              225 Crooked Creek Trail
Kansas City, MO 64105             1230 Peachtree Street                Canton, GA 30115
                                  Suite 2550
Norfolk Southern Corporation      Atlanta, GA 30309                    Runzheimer International
Three Commercial Place                                                 Runzheimer Park
Norfolk, VA 23510                 Dwight Asset Management              Rochester, WI 53167
                                  Company
APS Connections CC                100 Bank Street                      Todd Organization
Burman Road, FCU Building         Suite 800                            30 Oak Street, 4th Floor
Deal Party, Port Elizabeth        Burlington, VT 050401                Stamford, CT 06905
and
P.O. Box 2157                     Northern Trust                       Wachovia Bank, NA
North End, Port Elizabeth 6056    50 South LaSalle Street              1 23 Broad Street
                                  Chicago, IL 60675                    Philadelphia, PA 19109
Phil Smith
Burman Road, FCU Building         Fidelity Management Trust            ORREX
Deal Party, Port Elizabeth        Company                              Odessa, TX
and                               82 Devonshire Street
P.O. Box 2157                     Boston, MA 02109                     Greif Brothers
North End, Port Elizabeth 6056                                         (Address Unknown)
                                  Wachovia Bank, NA
Antonia Mincheva                  1 West 4th Street                    APS Connections
Burman Road, FCU Building         Winston-Salem, NC 27101              Burman Road
Deal Party, Port Elizabeth                                             FCU Building
and                               JP Morgan Fleming Asset              Deal Party
P.O. Box 2157                     Management                           Port Elizabeth, South Africa
North End, Port Elizabeth 6056    522 Fifth Avenue, Floor 11
                                  New York, NY 10036                   Wachovia Bank, NA
McAllister Towing of                                                   1021 East Carey Street
Philadelphia, Inc.                Barclays Global Investor             6th Floor
PNVC, Commandment Building        Services                             Richmond, VA 23219
4900 South Broad Street           45 Fremont Street
Building 6                        San Francisco, CA 94105              Wells Fargo
Philadelphia, PA 19112                                                 2701 Wells Fargo Way
                                  Standish Mellon Asset                6th Floor
Honeywell Burdick & Jackson       Management                           Minneapolis, MN 55408
Honeywell International, Inc.     One Financial Center
101 Columbia Road                 Boston, MA 02111
Morristown, NJ 07962                                                   AON Consulting
                                  T. Rowe Price                        1001 Brickell Bay Drive
                                  100 East Pratt Street                Miami, FL 33131
                                  Baltimore, MD 21202


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AON Pension Service Center          Marsh USA, Inc.                      Chase Mellon
1701 Golf Road                      1166 Avenue of the Americas          85 Challenger Road
Tower 2, Suite 200                  New York, NY 10036                   Ridgefield Park, NJ 07660
Rolling Meadows, IL 60008
                                    Spectera                             Fidelity Investments
Fidelity Institutional Retirement   2811 Lord Baltimore Drive            300 Puritan Way, MM1L
Services Co.                        Baltimore, MD 21244                  Marlborough, MA 01752
300 Puritan Way
Marlborough, MA 01752               EBenX, Inc.                          Merck Serono S.A. (formerly
                                    5045 Ten Mills Road                  Serono International S.A.)
SystemMed, LLC                      Columbia, MD 21 044                  9 Chemin des Mines
100 Parsons Pond Drive                                                   1211 Geneva 20, Switzerland
Franklin Lakes, NJ 0741 7           Chapman Kelly
                                    100 W. Court Avenue                  Abbott Laboratories
Aetna                               Suite 200                            I00 Abbott Park Road
1302 Concourse Drive, #402          Jeffersonville, IN 47130             Abbott Park, Illinois 60064-
Linthicum, MD 21090                                                      3500
                                    CIGNA Healthcare
MetLife                             1111 Market Street                   Wyeth
501 US Highway 22                   Chattanooga, TN 37402                5 Giralda Farms
P.O. Box 6891                                                            Madison, NJ 07940
Bridgewater, NJ 08807               Metasa Group - PSMI
                                    164 Lott Court                       Biovail Corporation
Tufts Member Services               W. Columbia, SC 29169                7150 Mississauga Road
333 Wyman Street                                                         Mississauga, Ontario L5N 8M5
P.O. Box 91 12                      MAMSI Health Plans                   Canada
Waltham, MA 02454                   20 West Rolling Crossroads
                                    Suite 11                             Biovail Technologies Ltd
Palisades Communications, Inc.      Baltimore, MD 21228                  700 Route 200/206
800 Palisade Avenue, Suite 201                                           Bridgewater, N J 08807
Ft. Lee, NJ 07024                   Triple S, Inc.
                                    Avenida Roosevelt 1441               Biovail Pharmaceuticals, Inc
HMO Illinois                        San Juan, PR 00920                   700 Route 202/206
300 East Randolph Street                                                 Bridgewater, NJ 08807
Chicago, IL 60601                   Health Network America
                                    187 Monmouth Parkway                 Elan Corporation plc.
Kaiser of Mid-Atlantic States       West Long Branch, NJ 07764           Treasury Building
2101 East Jefferson Street                                               Lower Grand Canal Street
Rockville, MD 20852                 Ceridian                             Dublin 2, Ireland
                                    6731 Columbia Gateway Dr.
Kaiser of Northern California       First Floor                          Elan Pharmaceuticals, Inc.
Region                              Columbia, MD 21046                   40 Parker Drive
1950 Franklin Street                                                     Morris Plains, NJ 07950-2439
Oakland, CA 94612                   Kronos
                                    8850 Stanford Blvd.                  Teva Pharmaceutical Industries
Kaiser of Southern California       Suite 2000                           5 Basel Street
1950 Franklin Street                Columbia, MD 21 045                  Petach Tikva 49131
Oakland, CA 94612                                                        Israel
                                    TALX
Uniprise                            8600 LaSalle Road                    Teva Pharmaceuticals USA, Inc.
450 Columbus Blvd., 11-NA           Suite 200                            1090 Horsham Rd. P.O.B. 7090
Hartford, CT 06103                  Towson, MD 21286                     North Wales. PA 19454
EAP Systems                         National Bond and Trust
500 West Cummings Park              1725 Eye Street, NW
Woburn, MA 01801                    Suite 300
                                    Washington, DC 20006

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GlaxoSmithKline                 Chubb Group of Insurance           Axis Insurance Company
One Franklin Plaza              Companies                          Connell Corporate Park
P.O. Box 7929                   15 Mountain View Road              Three Connell Drive
Philadelphia, PA 19101          Warren, NJ 07059                   P.O. Box 357
                                                                   Berkeley Heights, NJ 07922-
National Union Fire Insurance                                      0357
Company of Pittsburgh, PA
175 Water Street                                                   Allied World Assurance
New York, NY 10038                                                 Company, Inc
                                                                   225 Franklin Street
                                                                   Boston, MA 02110




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                                    RETAINED CAUSES OF ACTION
                         (CLAIMS UNDER FEDERAL OR STATE SECURITIES LAWS)

Protein Genetics, Inc.
1825 Infinity Drive
DeForest, WI 53532

Avantium Holding BV
Zekeringstraat 29
1014 BV
Amsterdam, The Netherlands




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                                    RETAINED CAUSES OF ACTION
                                 (CLAIMS FOR BREACH OF CONTRACT)

Nalco Company
1601 W. Diehl Road
Naperville, IL 60563

Odyssey Logistics & Technology Corporation
39 Old Ridgebury Road
Danbury, CT 06810

Alstom Power Inc./Air Preheater Co.
4525 Weaver Parkway, Suite 250
Warrenville. IL 60555

G.O. Carlson, Inc.
350 Marshallton Thorndale Road
Downingtown, PA 19335

Proforma Global Printing &
Design Solutions, Inc.
2 Winters Lane
Baltimore, MD 21228




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                                      RETAINED CAUSES OF ACTION
                                         (REAL ESTATE CLAIMS)

Cummings Properties
200 West Cummings Park
Woburn, MA 01801

Remington & Vernick Engineers, Inc.
232 Kings Highway East
Haddonfield, NJ 08033

Woolwich Township Planning Board
121 Woodstown Road
Woolwich Township, NJ 08085

Gloucester County Construction Board of Appeals
1 North Broadway
Woodbury, NJ 08097

Town of Acton
Town Hall
472 Main St.
Acton, MA 01720

Sheplers, Inc.
6501 W. Kellogg
Wichita, KS 67209

E. I. Dupont De Nemours and Company
1007 Market St.
Wilmington, DE 19898




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                                   RETAINED CAUSES OF ACTION
                                      (INSURANCE CLAIMS)

Acc & Casualty Ins. of              American Reinsurance Co               British Northwestern
Winterthur                          American Re Plaza                     60 St. Mary Axe
750 7th Avenue, 2nd Floor           555 College Rd. East
New York, NY 10019                  Princeton, NJ 08543-5241              Bryanston Ins. Co. Ltd.
                                                                          750 7th Avenue, 22nd Floor
Admiral Insurance                   Ancon Ins. Co. (U.K.)                 New York, NY 10019
1255 Caldwell Road                  750 7th Avenue, 22nd Floor
P.O. Box 5725                       New York, NY10019                     Buffalo Reinsurance
Cherry Hill, NJ 08034                                                     c/o Continental Ins. 40 Wall St.
                                    Andrew Weir Ins. Co. Ltd.             New York, NY 10005
Aetna                               750 7th Avenue, 22nd Floor
1302 Concourse Drive                New York, NY 10019                    C.A.M.A.T.
Linthicum, MD 21090                                                       750 7th Avenue, 22nd Floor
                                    Argonaut Northwest Ins. Co.           New York, NY 10019
Aetna Casualty & Surety             750 7th Avenue, 22nd Floor
c/o Travelers Insurance Co.         New York, NY 10019                    California Union Ins Co
1 Tower Square, 2FG                                                       1601 Chestnut Street TLP-19-
Hartford, CT 06181                  Assicurazioni Generali S.p.A.         Long Term Expos.
                                    750 7'h Avenue, 22nd Floor            Philadelphia, PA 19192-2181
AG Belge de 1830                    New York, NY 10019
Blvd. Emile Jacqmain, 53                                                  Centennial Ins Co
Brussels, 98 B-1000                 Associated International              3 Giralda Farm Three Geralda
                                    21 860 Burbank Blvd. Suite 380        Farms
Allianz Underwriters Ins.           Woodland Hills, CA 91367              Madison, NJ 07940
3400 Riverside Drive, Suite 300
Burbank, CA 91505                   Axis Reinsurance Company              Central National Ins Co
                                    Connell Corporate Park                1601 Chestnut Street TLP-19-
Allied World Assurance              3 Connell Drive                       Long Term Expos.
225 Franklin Street                 Berkeley Heights, NJ 07922            Philadelphia, PA 19192-2181
Boston, MA 02110
                                    Bermuda Fire & Marine Ins. Co.        Century Indemnity Co
American Centennial                 Ltd.                                  1601 Chestnut Street TLP-19-
3501 Silverside Rd.                 8 Wesley Street Craig Appin           Long Term Expos.
203 Naamans Bldg                    House                                 Philadelphia, PA 19192-2181
Wilmington, DE 19810                Hamilton, BM HM JX
                                                                          Chubb & Son, division of
American Employers                  Birmingham Fire Ins Co                Federal Insurance Company
2 Central Square                    Excess Casualty Clms Div              82 Hopmeadow Street
Cambridge, MA 02139-3311            175 Water Street, 22nd Floor          Simsbury, CT 06070
                                    New York, NY 10038
American Home Assurance                                                   Cie Europeene D’Ass.
750 7th Avenue, 22nd Floor          Bishopsgate Ins. Co. Ltd.             Industrielles
New York, NY 10019                  7507 Avenue, 22nd Floor               750 7th Avenue, 22nd Floor
                                    New York, NY 10019                    New York, NY 10019
American Int'l Underwriter
Excess Casualty Claims              Boston Old Colony Ins Co              CAN Reinsurance of London
Division                            1100 Cornwall Road                    Ltd.
175 Water Street, 22nd Floor        Monmouth, NJ 08852-0906               750 7th Avenue, 22nd Floor
New York, NY 10038                                                        New York, NY 10019
                                    British National Ins. Co. Ltd.
American Manufacturers Mutual       750 7th Avenue, 22nd Floor            Continental Casualty Co.
Central Claims Tube Station J- 1    New York, NY 10019                    333 S. Wabash, 19 South
Long Grove, IL 60049                                                      Chicago, IL 60685

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Continental. Casualty Company   First State Ins Co                    Highlands Ins. Co.
333 S. Wabash, 19 South         150 Federal Street                    275 Phillips Blvd.
Chicago, UL 60685               Boston, MA 02110-1753                 Trenton, NJ 08618

Continental Ins Co              Folksam International Ins. Co.        Home Insurance Co
1100 Cornwall Road              Ltd.                                  c/o REM
Monmouth, NJ 08852-0906         750 7th Avenue, 22nd Floor            59 Maiden Lane 5th F1.
                                New York, NY 10019                    New York, NY 10038
Dairyland Insurance Co
750 7th Avenue, 22nd Floor      GEICO                                 Ideal Mutual
New York, NY 10019              GEICO Plaza                           123 Williams Street, 7th Fl.
                                Washington, DC 20076-0001             New York, NY 10038
Dominion Ins. Co. Ltd.
750 7th Avenue, 22nd Floor      General Insurance Company of          Illinois National
New York, NY 10019              America                               Excess Casualty Claims Div.
                                GEICO Plaza                           175 Water St.- 22nd Floor
Eisen Und Stahl                 Washington, DC 20076-0001             New York, NY 10038
Karl Wiechert Allee
50 Postfach 610369              Gerling Konzern Ins                   INA
Hanover, GR D-30603             Anchorage House 2 Clove               1601 Chestnut Street TLP-19-
                                Crescent                              Long Tern Expos.
El Paso Ins. Co. Ltd.           Leamouth, London, EG E 14             Philadelphia, PA 19192-2181
750 7th Avenue, 22nd Floor      2BE
New York, NY 10019                                                    Insurance Co State of PA
                                Gibraltar Cas. Co.                    Excess Casualty Claims Div
Employers Comm’l Union          477 Martinsville Rd.                  175 Water Street, 22nd Floor
2 Central Square                PO Box 830                            New York, NY 10038
Cambridge, MA 02139-3311        Liberty Corner, NJ 0793 8
                                                                      Integrity Insurance Co
Employers Mutual Cas Co         Granite State Ins                     Company in Liquidation
c/o Mutual Marine               Excess Casualty Claims                49 East Midland Ave
919 Third Ave-10th Floor        175 Water St.- 22nd Floor             Paramus, NJ 07652-2920
New York, NY 10022              New York, NY 10038
                                                                      Kraft Ins. Co. Ltd.
English & American Ins. Co.     Guarantee Insurance Co                750 7th Avenue, 22nd Floor
Ltd.                            650 Naamamf Road, Suite 301           New York, NY 10019
750 7th Avenue, 22nd Floor      Claymont, DE 19703
New York, NY 10019                                                    Lexington Ins. Co.
                                Haftpflichtverband                    750 7th Avenue, 22nd Floor
European General                Anchorage House                       New York, NY 10019
Anchorage House 2 Clove         2 Clove Crescent
Crescent                        Leamouth, London, EG E 14             Lloyds Underwriters
Leamouth, London, EG E 14       2BE                                   750 7th Avenue, 22nd Floor
2BE                                                                   New York, NY 10019
                                Harbor Insurance Co
Federal Insurance Co            333 South Wabash, 19 South            London & Edinburgh General
2201 Bryan Street, Suite 3400   Chicago, IL 60685                     Ins. Co.
Dallas, TX 75201 -3068                                                750 7th Avenue, 22nd Floor
                                Hartford Insurance                    New York, NY 10019
Fireman’s Fund                  Hartford Plaza
Asbestos Claim Unit             Hartford, CT 06115                    London & Overseas Ins. Co.
777 San Marin Drive                                                   Ltd.
Novato, CA 94998                The Hartford                          750 7th Avenue, 22nd Floor
                                Hartford Plaza C-2-45                 New York, NY 10019
                                Hartford, CT 06115

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London Guarantee & Acc           National Union Fire Insurance        Royal Indemnity Company
1100 Cornwall Road               Company of Pittsburgh                750 7th Avenue, 22nd Floor
Monmouth, NJ 08852-0906          AIG                                  New York, NY 10019
                                 175 Water Street
Louisville Ins. Co. Ltd.         New York, NY 10038                   Royal Insurance Co
750 7th Avenue, 22nd Floor                                            9140 Arrowpoint Boulevard,
New York, NY 10019               Natl. Union Fire Pittsburgh          Suite 440
                                 Excess Casualty Claims Div           Charlotte, NC 28273
Ludgate Ins. Co. Ltd.            175 Water Street, 22nd Floor
750 7th Avenue, 22nd Floor       New York, NY 10038                   Royale Belge S.A.
New York, NY 10019                                                    Anchorage House 2 Clove
                                 New Hampshire Insurance              Crescent
Marsh Private Client Services    Excess Casualty Claims               Leamouth, London, EG E 14
44 Whippany Road                 175 Water Street, 22nd Floor         2BE
Morristown, NJ 07962             New York, NY 10038
                                                                      Sphere Drake Ins. Co. Ltd.
Maryland Casualty Co.            North Atlantic Ins. Co. Ltd.         750 7th Avenue, 22nd Floor
Claims Division 3910 Keswick     750 7th Avenue, 22nd Floor           New York, NY 10019
Road                             New York, NY 10019
Baltimore, MD 21211                                                   St. Helens Ins. Co. Ltd.
                                 North Star Reinsurance               750 7th Avenue, 22nd Floor
Maryland Casualty Company        695 E. Main Street                   New York, NY 10019
Claims Division 3910 Keswick     Stamford, CT 06904-2354
Road                                                                  St. Katherine Ins. Co. Ltd.
Baltimore, MD 21211              Northbrook Ins. Co                   750 7th Ave, 22nd Floor
                                 3 Allstate Comm’l Plaza              New York, NY 10019
Mentor Ins. Co. (U.K.) Ltd.      51 W. Higgins Rd.-T2B
750 7th Avenue, 22nd Floor       So Barrington, IL 60010              Stronghold Ins. Co. Ltd.
New York, NY 10019                                                    750 7 Avenue, 22nd Floor
                                 Orion Ins. Co. Ltd.                  New York, NY 10019
Midland Insurance Co.            750 7th Avenue, 22nd Floor
123 Williams Street, 7th Floor   New York, NY 10019                   Swiss Reinsurance
New York, NY 10038                                                    Myuthenquai 50/60 CH 8022
                                 Pacific Employers Ins Co             Zurich
Minster Ins. Co. Ltd.            1601 Chestnut Street TLP- 19-
750 7th Avenue, 22nd Floor       Long Term Expos.                     Swiss Union Gen. Ins. Co. Ltd.
New York, NY 10019               Philadelphia, PA 19192-2181          750 7th Avenue, 22nd Floor
                                                                      New York, NY 10019
Mission Insurance Co.            Protective Nat’l Ins Co
Dept of Conser & Liqtn           11128 John Galt Blvd. Suite 200      Terra Nova Ins. Co. Ltd.
P.O. Box 26894                   Omaha, NE 68137-6312                 750 7th Avenue, 22nd Floor
San Francisco, CA 94126-0894                                          New York, NY 10019
                                 Prudential Reinsurance
Mutual Reinsurance Co. Ltd.      477 Martinsville Road                Transamerica Ins. Co.
750 7th Avenue, 22nd Floor       Liberty Corner, NJ 07938-0830        250 Commercial St., Suite 5000
New York, NY 10019                                                    Manchester, NH 03101
                                 Republic Insurance Co
National Casualty Co. of         2727 Turtle Creek Blvd.              Transit Casualty
America                          Dallas, TX 75219                     CNA Plaza 37 South
c/o Scottsdale Insurance                                              Chicago, IL 60685
8877 N. Gainey Ctr. Dr.          Reunion-Adriatica
Scottsdale, AZ 85258             C/O Chilington Int’l                 Turegum Ins. Co.
                                 I00 Commons Way Ste. 210             750 7th Avenue, 22nd Floor
                                 Holmdel, NJ 07737                    New York, NY 10019



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Twin City Fire Ins. Co.       Walbrook Ins. Co. Ltd.              World Auxiliary Ins. Cop. Ltd.
Hartford Plaza                750 7th Avenue, 22nd Floor          750 7th Avenue, 22nd Floor
Hartford, CT 06115            New York, NY 10019                  New York, NY 10019

Unigard Security              Wausau Insurance Co                 Yasuda Fire & Marine Ins. Co.
2 Central Square 2nd Floor    400 Westwood Drive                  Ltd.
Cambridge, MA 02139           P.O. Box 8020                       750 7th Avenue, 22nd Floor
                              Wausau, WI 54402-8020               New York, NY 10019
US Fire Insurance Co
305 Madison Avenue            Winterthur Swiss Ins. Co.           Zurich Insurance Co
P.O. Box 1973                 750 7th Avenue, 22nd Floor          Anchorage House 2 Clove
Morristown, NJ 07960          New York, NY 10019                  Crescent
                                                                  Leamouth, London EG E 14
                                                                  2BE




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                                      RETAINED CAUSES OF ACTION
                                 (CLAIMS AGAINST TAXING AUTHORITIES)

U.S. Customs and Border                Executive Director                   Commissioner
Protection                             Department of Revenue                Department of Revenue
Thomas A. Smith, Director              State Capitol Annex                  100 North Senate Avenue
National Finance Center                1375 Sherman Street                  Indiana Government Center
Internal Revenue Service               Denver, CO 80261                     North
409 Silverside Road                                                         Indianapolis, IN 46204-2253
Wilmington, DE 19809                   Commissioner
                                       Department of Revenue Services       Director
Internal Revenue Service               25 Sigourney Street                  Department of Revenue and
7850 SW 6th Court, Room 285            Hartford, CT 06106                   Finance
Plantation, FL 33324                                                        Hoover State Office Building
                                       Director                             East 13th and Walnut
Internal Revenue Service               Division of Revenue                  Des Moines, IA 50319
Summit Building, Stop 202-D            Carve1 State Building
Room 1520                              820 N. French Street                 Secretary
401 W. Peachtree Street, N.W.          Wilmington, DE 19801                 Department of Revenue
Atlanta, GA 30365                                                           Robert B. Docking State Office
                                       Chief Financial Officer              Building
Internal Revenue Service               Office of Tax and Revenue            915 S.W. Harrison Street
Atlanta Service Center                 941 North Capitol Street, N.E.       Topeka, KS 66612-1588
P.O. Box 47-421                        Washington, DC 20002
Doraville, GA 30362                                                         Secretary
                                       Executive Director                   Revenue Cabinet
Attention: Stop 35-Beverly             Department of Revenue                200 Fair Oaks Lane
Steed                                  104 Carlton Building                 Frankfort, KY 40620
Do Not Open In Mail Room               Tallahassee, FL 32399-0100
Commissioner                                                                Secretary
Department of Revenue                  Commissioner                         Department of Revenue
4112 Gordon Persons Building           Department of Revenue                Box 3863
50 N. Ripley Street                    Trinity-Washington Building          330 N. Ardenwood Drive
Montgomery, AL 36132                   270 Washington Street, SW            Baton Rouge, LA 70806
                                       Atlanta, GA 30334
Commissioner                                                                Executive Director
Department of Revenue                  Director                             Revenue Services
P.O. Box 110400                        Department of Taxation               24 State House Station
Juneau, AK 99811-0400                  P.O. Box 259                         Augusta, ME 04333-0024
                                       Honolulu, HI 96809-0259
Director                                                                    Comptroller
Department of Revenue                  Chairman                             Goldstein Treasury Building
1600 W. Monroe Street                  State Tax Commission                 80 Calvert Street
Phoenix, AZ 85007                      P.O. Box 36                          Annapolis, MD 21404
                                       800 Park Boulevard
Commissioner                           Plaza IV                             Commissioner of Revenue
Dept. of Finance and                   Boise, ID 83722-0036                 Department of Revenue
Administration                                                              51 Sleeper Street, 8th Floor
1509 W. 7th                            Director                             Boston, MA 02114
Little Rock, AR 72201                  Department of Revenue
                                       103 West Jefferson Street            State Treasurer
State Controller and FTB Chair         Springfield, IL 62702                Department of Treasury
Franchise Tax Board                                                         Treasury Building
P.O. Box 942840                                                             430 W. Allegan Street
Sacramento, CA 94240-0040                                                   Lansing, MI 48922


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Commissioner                    Commissioner                        Secretary
Department of Revenue           Department of Taxation and          Department of Revenue
600 North Robert Street         Finance                             Anderson Building
St. Paul, MN 55146              W.A. Harriman Campus                445 East Capital Avenue
                                Building #9                         Pierre, SD 57501-3185
Chairman and                    Albany, NY 12227-0125
Commissioner of Revenue                                             Commissioner
State Tax Commission            Commissioner of Finance             Department of Revenue
1577 Springridge Road           25 Elm Place                        Andrew Jackson State Office
Raymond, MS 391 54-9602         Brooklyn, NY 11201                  Building
                                                                    500 Deaderick Street
Director                        Secretary                           Nashville, TN 37242
Department of Revenue           Department of Revenue
301 West High Street            501 N. Wilmington Street            Comptroller of Public Accounts
Jefferson City, MO 65105-0311   P.O. Box 25000                      LBJ State Office Building
                                Raleigh, NC 27640-0640              111 E. 17th Street
Director                                                            Austin, TX 78774
Department of Revenue           Tax Commissioner
455 Sam W. Mitchell Building    Tax Department                      Executive Director, Chairman
125 N. Roberts                  8th Floor                           State Tax Commission
P.O. Box 5805                   Capitol Building                    210 North 1950 West
Helena, MT 59604-5805           600 E. Boulevard Avenue             Salt Lake City, UT 84134
                                Bismarck, ND 58505-0599
Tax Commissioner                                                    Commissioner
Department of Revenue           Commissioner                        Department of Taxes
301 Centennial Mall South       Department of Taxation              Pavilion Office Building
P.O. Box 94818                  30 East Broad Street                109 State Street
Lincoln, NE 68509-4818          P.O. Box 530                        Montpelier, VT 05609
                                Columbus, OH 432 1 6-053 0
Executive Director                                                  State Tax Commissioner
Department of Taxation          Chairman                            Department of Taxation
1550 E. College Parkway         State Tax Commission                2220 W. Broad Street
Carson City, NV 89706           2501 Lincoln Boulevard              Richmond, VA 23220-2008
                                Oklahoma City, OK 73194-000
Commissioner                    I                                   Director
Dept. of Revenue                Director                            Department of Revenue
Administration                  Department of Revenue               4 15 General Administration
45 Chennell Drive               Revenue Building                    Building
P.O. Box 457                    955 Center Street, N.E.             Washington Street East
Concord, NH 03301               Salem, OR 973 10                    Olympia, WA 98504-0090

Director                        Acting Secretary                    Secretary
Division of Taxation            Department of Revenue               Department of Tax and Revenue
50 Barrack Street               1133 Strawberry Square              Building 1
P.O. Box 240                    Harrisburg, PA 17128-1100           State Capitol Building
Trenton, N3 08646-0240                                              Charleston, WV 25305
                                Tax Administrator
Secretary                       Division of Taxation                Secretary
Taxation and Revenue            One Capitol Hill                    Department of Revenue
Department                      Providence, RI 02908-5800           P.O. Box 8933
P. 0. Box 630                                                       125 South Webster Street
1100 S. St. Francis Drive       Director                            Madison, WI 53708
Santa Fe, NM 87504-0630         Department of Revenue
                                301 Gervais Street
                                Columbia, SC 29214


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Director                         Alaska Department of Revenue          Bekaert Textiles, N.V.
Department of Revenue            State Office Building, 11th Floor     Deerlijkseweg 22
Herschler Building               333 Willoughby Avenue                 B-8790 Waregem
122 W. 25th Street               Juneau, Alaska 99811                  Belgium
Cheyenne, WY 82002-0 1 10
                                 Arizona Department of Revenue         Axa Bank Europe N.V.
Calcasieu Parish Sales and       1600 West Monroe Street               I 170 Brussels
Use Tax Department               Phoenix, Arizona 85007                Vorstlaan 25
P.O. Box 2050                                                          Belgium
Lake Charles, LA 70602           District of Columbia Office of
                                 Tax and Revenue                       Linklaters DeBandt
Department of the Treasury       941 North Capital Street, NE          Rue Brederode
Internal Revenue Service         8th Floor                             13 B-1000
Ogden, Utah 82401                Washington, D.C. 20002                Brussels, Belgium

Fresenius Medical Care           Georgia Department of Revenue         Cyr Cambier N.V.
Holdings, Inc.                   1800 Century Center Boulevard         Deerlijkseweg 22
Two Ledgemont Center             Atlanta, Georgia 30345                B-8790 Waregem
95 Hayden Avenue                                                       Belgium
Lexington, MA 02493              Kentucky Department of
                                 Revenue                               Colowyo Coal Company, L.P.
Sealed Air Corporation           200 Fair Oaks Lane                    5731 State Highway 13
200 Riverfront Boulevard         Frankfort, Kentucky 40620             Meeker, Colorado 81641
Elmwood Park, NJ 07407
                                 Gamma Holdings, N.V.                  Rio Tinto Energy America
California Franchise Tax Board   Hoogeindsestraat 47                   505 South Gillette Avenue
P.O. Box 942840                  5705 AL Helmond                       (82716)
Sacramento, California 94257     The Netherlands                       P.O. Box 3009
                                                                       Gillette, Wyoming 82717-3009




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                                      RETAINED CAUSES OF ACTION
                                    (CLAIMS RELATING TO DEPOSITS)

Amerada Hess
P.O. Box 11510
Newark, NJ 07101-4510

Baltimore Gas & Electric Co.
P.O. Box 1431
Baltimore, MD 21203-143 1

City of Anaheim
P.O. Box 3069
Anaheim, CA 92803-3069

City of E. Chicago
Dept. of Water Works
P.O. Box 423
East Chicago, IN 463 12

Electric Power Bd. Of Chattanooga
P.O. Box 182255
Chattanooga, TN 37422-7255

Reliant Energy/Entex
P.O. Box 2628
Houston, TX 77252

South Carolina Electric & Gas
1426 Main Street
Columbia, SC 29201




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                               RETAINED CAUSES OF ACTION
                      (ENVIRONMENTAL AND PRODUCT LIABILITY CLAIMS)

Burton Shaffer, Irving Shaffer,
Milton Shaffer, BIM Investment Corp.
Shaffer Realty Nominee Trust
c/o Solomon M. Felman
199 Wells Avenue, Suite 201
Newton. MA 02459

E.I. Du Pont De Nemours and Company
Corporate Real Estate
1007 Market Street
Wilmington, DE 19898

Covidien d/b/a Tyco Healthcare Group LP
675 McDonnell Blvd. 10-3-S
Hazelwood, MO 63042




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                                 RETAINED CAUSES OF ACTION
                           (INTELLECTUAL PROPERTY RIGHTS CLAIMS)

BP America, Inc.                  Sika Technology AG                   Anheuser-Busch
4101 Winfield Road                Branch Zurich                        1 Busch Place
Warrenville, IL 60555.            Tuffenweis 16 P.O. Box               St. Louis, MO 631 18
                                  CH-8048 Zurich
Colormatrix                       Switzerland                          Colgate-Palmolive Company
3005 Chester Avenue                                                    300 Park Avenue
Cleveland, OH 44005               The Dow Chemical Company             New York, NY 10022
                                  P. 0. Box 1967
Amcor Whitecap Deutschland        Midland, MI 48641 -1 967             DA NanoMaterials LLC
GmbH Limited                                                           2507 West Erie Drive
Hansastrasse 4, D-30419           Euco Fosroc                          Tempe, Arizona 85282
Hanover, Germany                  Gasteiz Bidea, 11
                                  Spain                                Phenomenex
Fosroc International                                                   41 1 Madrid Avenue
Coleshill Road                    Access Business Group LLC            Torrance, CA 90501
Tamworth                          7575 Fulton Street East
Staffordshire B78 3TL, England    Ada, Michigan 49355-0001             Promega Corporation
                                                                       2800 Woods Hollow Road
                                                                       Madison, WI 53711




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                                  RETAINED CAUSES OF ACTION
                              (PENDING AND POTENTIAL LITIGATION)

Entity         Case No.       Plaintiff/       Nature of         Court or Agency        Status
                              Case Name        Proceeding
Grace-Conn.    A.R.01/975/A   Bekaert          Tax               Court of First         Pending
                              Textiles N.V.                      Instance, Bruges,
                                                                 Belgium
Grace-Conn.    A.R.01/975/A   Bekaert          Fraud, Breach     Court of First         Pending
                              Textiles N.V.    of Contract       Instance, Bruges,
                                                                 Belgium
Grace-Conn.    A.R.01/975/A   Bekaert          Fraud, Breach     Court of First         Pending
                              Textiles N.V.    of Contract       Instance, Bruges,
                                                                 Belgium
Grace-Conn.    A.R.01/975/A   Bekaert          Fraud, Breach     Court of First         Pending
                              Textiles N.V.    of Contract       Instance, Bruges,
                                                                 Belgium
Grace Energy   979-05135      Grace Energy     Contract          Dallas County, TX      Pending
                              v. Kaneb Pipe
                              Line
W. R Grace     BC222456       Petro            Environmental     Superior Court, Los    Pending
Grace Energy                  Resources v.                       Angeles County, CA
                              N.Y. Hillside
W. R. Grace-   01-769         Samson           Indemnification   Dallas County, TX      Pending
Conn.                         Investment
W. R. Grace-   97CIV8941      Uniguard         Insurance         US District Court,     Pending
Conn.                         Security Ins.                      S.D.N.Y.
                              v. W. R.
                              Grace & Co.-
                              Conn.
W. R. Grace-   98-CV-         W. R. Grace      Environmental     US District Court,     On Appeal
Conn.          0838s(F)       & Co. v.                           Buffalo, NY
                              Zotos
                              International,
                              Inc.
W. R. Grace-   02CV495        Estate of        Wrongful          Circuit Court, Eau     Pending
Conn.                         Jeffrey B.       Death             Claire County, WI
                              Chwala, et al.
W. R. Grace-   88CIV4337      Maryland         Insurance         US District Court,     Settled
Conn.                         Casualty Co.                       S.D.N.Y.
                              v. W. R.
                              Grace & Co.
                              and
                              Continental
                              Casualty
                              Company
Gloucester     L-1347-03      Summit           Real Estate       Superior Court of      Pending
New                           Ventures                           New Jersey             (On Trial)
Communities                   LLC                                Law Division
Company,                                                         Gloucester County
Inc.
W. R. Grace    95-CV-6400L    Seneca           Environmental     U.S. District Court,   Pending
& Co.                         Meadows,                           W.D.N.Y.
W. R. Grace-                  Inc.
Conn.                         Macedon


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                            Homes, Inc.
W. R. Grace-                Fosruc Euco,                       The Mercantile Court      Pending
Conn.                       SA                                 of Bilbao, Spain
Grace SA
Grace          Action No.   Affordable         Products        Supreme Court of          Pending
Construction   S036827      Housing            Liability       British Columbia,
& Grace                     Charitable                         New Westminster
Darex                       Assoc. et al.                      Registry
Packaging                   v. Weber &
Technologies                Associate
                            Architectural
                            Consultant
                            Inc., et al.
                            (Regent
                            Place)
Grace          Action No.   Canada             Products        Supreme Court of          Pending
Construction   S015358      Mortgage &         Liability       British Columbia,
& Grace                     Housing                            Vancouver Registry
Darex                       Corporation
Packaging                   v. Santos
Technologies                Enterprises,
                            Ltd., et al.
                            (Larchway
                            Gardens)
Grace          CIV 446857   Miramar            Products        Superior Court, State     Pending
Construction                Apartments v.      Liability       of California, County
& Grace                     Douglas                            of San Mateo
Darex                       Roses
Packaging                   Construction,
Technologies                Inc.
Grace                       Anita Terrace      Products        Supreme Court of the      Pending
Construction                Owners, Inc.       Liability       State of New York,
& Grace                     v. Goldstein                       County of Queens
Darex                       Associates
Packaging                   Consulting
Technologies                Engineers,
                            PLLC
                            R&L
                            Construction,
                            Inc. et al.
Grace          MICV2008-    241 Boston         Products        Superior Court for        Pending
Construction   02079-J      Post Rd. v.        Liability       Middlesex County,
& Grace                     Gleeson                            MA
Darex                       Powers, Inc.
Packaging                   et al.
Technologies
Grace          08CA3790     Gregory            Products        Circuit Court of the      Pending
Construction                Dowdy v.           Liability       5th Judicial Circuit in
& Grace                     River Oaks                         and for Lake County,
Darex                       Dev. Corp.,                        FL
Packaging                   Troy Fans,
Technologies                Inc. et al.
Grace          BC354827     Zormaxx            Products        Superior Court of         Pending
Construction                Corp., et al. v.   Liability       California, County of
& Grace                     Standard                           Los Angeles


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Darex                      Concrete
Packaging                  Products, et
Technologies               al.
                           Standard
                           Concrete v.
                           Grace, et al.
Grace                      Ingram            Products        District Court, 319th   Pending
Construction               Readymix,         Liability       Judicial District of
& Grace                    Inc. v.                           Nueces County, TX
Darex                      Southern
Packaging                  Contracting,
Technologies               et al. v. W. R.
                           Grace & Co.,
                           et al.
Grace                      Scott Blaine      Motor Vehicle   Superior Court of       Pending
Construction               Burdett v.                        Columbia County,
& Grace                    Frederick                         State of Georgia
Darex                      Jordan, et al.
Packaging
Technologies
Grace                      Carissa           Motor Vehicle   State Court of          Pending
Construction               Parker v.         and Personal    Douglas County,
& Grace                    James E.          Injury          State of Georgia
Darex                      Bush, W. R.
Packaging                  Grace & Co.
Technologies               and John Doe
                           Company,
                           d/b/a
                           Prudential
                           Leasing
Grace                      The Official      Recovery of     U.S. Bankruptcy         Pending
Construction               Committee of      Alleged         Court for the
& Grace                    Unsecured         Preference      Northern District of
Darex                      Creditors of      Payments        Illinois Eastern
Packaging                  Kenny                             Division
Technologies               Industrial
                           Services, Inc.,
                           et al. v. W. R.
                           Grace & Co.
W. R. Grace,               John Morgan,      Appeal          Commonwealth of         Pending
Inc.                       et al.                            Massachusetts
                                                             Appeals Court
W. R. Grace    13-C-08-    Global                            Circuit Court           Pending
& Co.-Conn.    074673 CN   Printing &                        for Howard County,
                           Design                            Maryland
                           Solutions,
                           Inc. d/b/a
                           Proforma
                           Global v. W.
                           R. Grace &
                           Co.-Conn.




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                                  RETAINED CAUSES OF ACTION
                            (CLAIMS AGAINST FORMER PROFESSIONALS)

Henk Vanhulle                      Marie C. Dunbar
LinkIaters De Bandt                41 28 Lonicera Loop
Brederodestraat 13                 Jacksonville, FL 32259              Charles D. Rabensbuxg
Rue Brederode B-1000               John E. Feery                       2920 Ozark Road
Brussels, Belgium                  863 Sun Disk Place                  Chattanooga, TN 3741 5
                                   Boynton Beach, FL 33436
Jose R. Alvarez                                                        Richard G. Remmes
337 Gatewater Court, Apt. 202      Michael Freedman                    1 15 Woolford Road
Glen Burnie, MD 21060              5266 Fairway Woods Drive            Wrentham, MA 02093
                                   Apt. 4011
Beverly J. Artale                  Delray Beach, FL 33484              Ronald E. Ritter
3826 Sunflower Circle                                                  55 Laguna Road
Mitchelleville, MD 20721           Walter Gregory, Jr.                 Lake Monticello, VA 22963
                                   1 583 Braebum Drive
Lewis R. Barber                    Atlanta, GA 30316
200 Riverside Avenue                                                   Steven M. Rotheim
Chattanooga, TN 37405              Annette P. Kassa                    800 Palisade Avenue, #201
                                   494 Erin Garf.h                     Ft. Lee, NJ 07024
Francis T. Bennett                 Severna Park, MD 21146
2 Montrose Avenue                                                      Nile R. Strohman
Arlington, MA 02174                Apparao T. Lengade                  1 1504 Long Meadow Drive
                                   3342 N. Chatham Road                Glen Allen, VA 23059
Jorge Bonilla                      Apt. L
7500 Grace Drive                   Ellicott City, MD 21042             Dorothy T. Toohey
Columbia, MD 21044                                                     19 Cherokee Road
                                   Roy D. Lyda                         Arlington, MA 02474
Christopher Bull                   P.O. Box 104
5525 Charles Street                Cross Anchor, SC 29331              Howard J. Troffkin
Bethesda, MD 20814                                                     7808 Ivymount Terrace
                                   Gretchen M. Mavrovouniotis          Potomac, MD 20854
Richard W. Collins                 14 Sunliver
7733 Cove Ridge Drive              Irvine, CA 92614                    Robert Turner
Hixson, TN 37343                                                       30 Heritage Road
                                   Mary R. McGrath                     Acton, MA 01720
Edward F. Connelly                 25 Lawrence Lane
12 Oceanwood Drive                 Arlington, MA 02474                 Diane M. Vaughan
Scarborough, ME 04074                                                  50 Knowles Road
                                   Thomas E. Murray                    Watertown, MA 02472
Timothy M. Cremin                  16 Horseshoe Road
3 140 St. James Drive              Chelmsford, MA 01 824               Henry P. Zerhusen
Boca Raton, FL 33434                                                   5055 Dry Well Court
                                   Thomas J. Murray                    Columbia, MD 21045
                                   77 Tanya Drive
                                   Mansfield, MA 02048




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                                  RETAINED CAUSES OF ACTION
                          (MISCELLANEOUS CONTRACT AND TORT CLAIMS)

Air Liquide Industrial U S LP      Bekaert Textiles, N.V.               Robert W. Heldt
158 Barre Way                      Deerlijkseweg 22                     c/o Norquay Techology, Inc.
Dandridge, TN 37725                8790 Waregem                         800 West Front Street
                                   Belgium                              Chester, PA 19013
Ed Slotwinski
Steeb Anwendungssysteme            Pricewaterhouse Coopers LLP          BASELL USA INC.
GMBH                               200 South Biscayne Blvd.             912 Appleton Road
Heilbronner Str.4                  Suite 1900                           Elkton, MD 21921
74232 Abstattt                     Miami, FL 33131
Germany                                                                 Dr. Dinesh Gopinath Prabhu
                                   Pricewaterhouse Coopers LLP          C-104 Woodland near Gandhi
Richard A. Dolan                   1301 K Street N.W. 800W              Bhavan
1716 Tangiers                      Washington, DC 20005-3333            Kothrud, Pune 411029
Henderson, NV 89 102                                                    lndia
                                   Lab Vantage
Dr. Yehuda Shalon                  245 Highway 22 West                  Mrs. Asha Prabhu
1566 Hamilton Avenue               Bridgewater, NJ 08807                C-104 Woodland near Gandhi
Palo Alto, CA                                                           Bhavan
                                   Kvaemer Process Systems US           Kothrud, Pune 411029
Dr. Tidhar Dari Shalon             7909 Parkwood Circle, 6th Floor      lndia
Pinkas 54, Apt. 63                 Houston, TX 77036
Tel Aviv 6226 1, Israel                                                 Mr. Krishnakumar Dani
                                   Rohm & Haas                          1109 Woodland Harmondy near
Indopco, Inc.                      100 Independence Mall West           Gandhi Bhavan
10 Finderne Avenue                 Philadelphia, PA 191 06-2399         Kothrud, Pune 411029
Bridgewater, NJ 08807                                                   lndia
                                   Flexia Corporation
Kennecott Colorado Co.             369 Elgin Street                     Cianbro
James Belcher                      Brantford, Ontario N3S 7P5           One Hunnewell Square
Holland & Hart LLP                                                      P.O. Box 1000
25 1 5 Warren Avenue               Attention: Mr. Edward Bowles         Pittsfield, ME 04967
Suite 450                          President and CE
Cheyenne, WY 82001                 Phenomenex                           SSOE, Inc.
                                   411 Madrid Avenue                    1001 Madison Avenue
Fidelity Management Trust          Torrance, CA 90501-1430              Toledo, OH 43604
Company
82 Devonshire Street               Promega                              Warren Environmental, Inc.
Boston, MA 021 09                  2800 Woods Hollow Road               P.O. Box 1206
                                   Madison, WI 53711                    Carver, MA 02330
State Street Global Advisors
Fiduciary Services                 Intercat, Inc                        Engineered Crane Service of
Two International Place            104 Union Avenue                     America
Boston, MA 02 1 10                 Manasquan, NJ 08736                  2000 McFarland 400 Blvd.
                                                                        Alpharetta, GA 30004
Gamma Holding, N.V.                Norquay Technology, Inc.
C/O Mr. Meint Veninga              800 West Front Street                G. O. Carlson, Inc.
Hoogeindsestraat 47                Chester, PA 19013                    350 Marshalltown Thorndale
5705 AL Helmond                                                         Road
The Netherlands                    KYSU, Inc.                           Dowington, PA 19335-2063
                                   800 West Front Street
                                   Chester, PA 19013                    Acme Industrial Piping
                                                                        P.O. Box 72936
                                                                        Chattanooga, TN 37407

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Samson Hydrocarbons
Samson Plaza
2 W. 2nd Street
Tulsa, OK 741 03-3103




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                 EXHIBIT 20 TO EXHIBIT BOOK
                                 SHARE ISSUANCE AGREEMENT

                                                                                                 EXHIBIT 20

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                       FORM OF SHARE ISSUANCE AGREEMENT


        THIS SHARE ISSUANCE AGREEMENT (this “Share Issuance Agreement”) is made
and entered into as of [__], 2009 by and between (i) W. R. Grace & Co., a Delaware corporation
(together with any successor thereto pursuant to the terms and conditions of Section 12, “Parent”
or the “Obligor”), (ii) WRG Asbestos PD Trust acting on behalf of the Holders of the US ZAI
PD Claims and the Holders of Asbestos PD Claims (in such capacity the “Trust (PD/ZAI)”), a
Delaware statutory trust established pursuant to §524(g) of the Bankruptcy Code in accordance
with the Plan of Reorganization (as hereinafter defined), (iii) WRG Asbestos Trust (the “Trust
(PI)” and collectively with the Trust (PD/ZAI), the “Trusts” and each a “Trust”), a Delaware
statutory trust established pursuant to §524(g) of the Bankruptcy Code in accordance with the
Plan of Reorganization, and (iv) the Trust (PI), as representative for the Trusts pursuant to the
terms of the Intercreditor Agreement (in such capacity, and together with its permitted successors
pursuant to Section 2 of the Intercreditor Agreement, the “Trusts’ Representative”). Unless
otherwise defined herein or the context otherwise requires, all capitalized terms used herein and
defined in the Plan of Reorganization shall be used herein as therein defined.

                                      W I T N E S S E T H:

        NOW, THEREFORE, in consideration of the premises contained herein and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
the parties hereto agree as follows:

       Section 1. For purposes of this Share Issuance Agreement, the following terms shall have
the meanings set forth below:

        “Common Stock” means the common stock of the Obligor, par value $0.01 per share, and
the common stock of any successor corporation thereto pursuant to the terms and conditions of
Section 12 or any similar equity ownership interest in any other successor Entity thereto pursuant
to the terms and conditions of Section 12.

        “Controlled Affiliate” means, as of the relevant date of determination, any Entity (i) in
which the Obligor, directly or indirectly, holds at least 10% of the Equity Interests of such
Entity, and (ii) which directly or indirectly is subject to the control of the Obligor. For purposes
of this definition, “control” as used with respect to any Entity means the possession of the power
to direct or cause the direction of the management or policies of such Entity, whether through the
ownership of Equity Interests, by agreement or otherwise.

“Deferred Payment” means each of (i) the Deferred Payments (PI) under the Deferred Payment
Agreement (PI), (ii) the Deferred Payments (PD) under the Deferred Payment Agreement (PD)
and (iii) the Deferred Payments (ZAI) under the Deferred Payment Agreement (ZAI).

        “Deferred Payment Agreement” means any of the following agreements, each dated as of
the date hereof: (i) the Deferred Payment Agreement between Grace and the Trust (PI), (ii) the
Deferred Payment Agreement (Class 7(a) PD) between Grace and the Trust (PD/ZAI) and (iii)
the Deferred Payment Agreement (Class 7(b) ZAI) between Grace and the Trust (PD/ZAI).




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        “Deferred Payment Documents” means, collectively, the Deferred Payment Documents
(PD), the Deferred Payment Documents (PI) and the Deferred Payment Documents (ZAI), each
as defined in the respective Deferred Payment Agreements.

        “Demand for Issuance of the Section 524(g) Shares” means a written notice by the
Trusts’ Representative delivered to the Obligor in accordance with Section 2 of this Share
Issuance Agreement stating that an Event of Default has occurred and is continuing and
demanding issuance, transfer and delivery to the Trusts’ Representative, on behalf of the Trusts,
of the Section 524(g) Shares.

        “Equity Interest” means shares of capital stock or equity, equity securities or ownership
interests in any Entity or any rights (including any (x) options, warrants or other rights to
purchase or acquire any such stock, equity or interests (whether or not at the time exercisable), or
(y) securities by their terms convertible into or exchangeable for any such stock, equity or
interests (whether or not at the time so convertible or exchangeable) or options, warrants or
rights to purchase such convertible or exchangeable securities.

      “Event of Default” means any Event of Default as defined in Section 8 of any Deferred
Payment Agreement.

       “Fair Market Value” means, with respect to each share of Common Stock:

                       (i)     If traded on the NYSE, NASDAQ or another stock exchange, the
average sale price (as of the close of business of each relevant trading date) of the Common
Stock on the NYSE, NASDAQ or such other exchange for the 30 trading days immediately prior
to the date for which the value is to be determined (or if no sale took place on such trading date
the average of the closing bid and ask prices of the Common Stock on such trading date);

                      (ii)   If traded over-the-counter other than on NASDAQ, the average of
the closing bid and ask prices (as of the close of business of each relevant trading date) of the
Common Stock for the 30 trading days immediately prior to the date for which the value is to be
determined; and

                        (iii)  If there is no public market for the Common Stock, the fair market
value of the Common Stock as of the day immediately prior to the date for which the value is to
be determined, as determined by a reputable investment bank or valuation firm selected jointly
by the Obligor and the Trusts’ Representative (the “Independent Appraiser”). The Obligor and
the Trusts’ Representative shall instruct the Independent Appraiser to render its decision within
thirty days of its acceptance of its selection. The fees and expenses of the Independent Appraiser
shall be borne by the Obligor.

       “Governing Documents” means, as to any Entity, its articles or certificate of
incorporation and by-laws, its partnership agreement, its certificate of formation and operating
agreement and/or the organizational or governing documents of such Entity.

        “Governmental Authority” means the government of the United States of America or any
other country, or of any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court, central bank or other entity exercising

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executive, legislative, judicial, taxing, regulatory or administrative powers or functions of, or
pertaining to, a government (including any supra-national bodies such as the European Union or
the European Central Bank).

       “Intercreditor Agreement” means the Intercreditor Agreement dated as of even date
herewith among the Trust (PI), the Trust (PD/ZAI), and the Trust (PI), in its capacity as
representative of the Trusts, upon the terms and conditions set forth in such Intercreditor
Agreement.

        “Laws” means, collectively, all applicable international, foreign, Federal, state and local
statutes, treaties, rules, regulations, ordinances and codes, including the binding interpretation or
administration thereof by any Governmental Authority charged with the enforcement,
interpretation or administration thereof.

        “Lien” means any encumbrance, mortgage, pledge, hypothecation, charge or security
interest of any kind.

       “NASDAQ” shall mean The NASDAQ Stock Market (including any of its subdivisions
such as the NASDAQ Global Select Market) or any successor market thereto.

        “NYSE” shall mean The New York Stock Exchange or any successor stock exchange
thereto.

        “Parent Guarantee” means any of the following agreements, each dated as of the date
hereof: (i) the W. R. Grace & Co. Guarantee Agreement between Parent and the Trust (PI), (ii)
the W. R. Grace & Co. Guarantee Agreement (Class 7(a) PD) between Parent and the Trust
(PD/ZAI) and (iii) the W. R. Grace & Co. Guarantee Agreement (Class 7(b) ZAI) between
Parent and the Trust (PD/ZAI).

        “Plan of Reorganization” means that certain Joint Plan of Reorganization Under Chapter
11 of the Bankruptcy Code of W. R. Grace & Co., et al., the Official Committee of Asbestos
Personal Injury Claimants, the Future Claimants Representative, and the Official Committee of
Equity Security Holders Dated as of [__], 2008, as filed by Grace and certain of its affiliates in
their reorganization cases under chapter 11 of the Bankruptcy Code, in the United States
Bankruptcy Court for the District of Delaware, and as confirmed by order of that court dated as
of [__], 2009, together with the exhibits and schedules thereto, each as amended, supplemented
or otherwise modified from time to time in accordance with its terms.

        “Section 524(g) Shares” means ________________ shares of Common Stock, equal to
fifty and one tenth (50.1) percent of the total number of shares of Common Stock issued and
outstanding as of the Effective Date (after giving effect to any issuance of shares of Common
Stock on the Effective Date), and all securities issuable in replacement of or in connection with
such shares pursuant to an Adjustment Event, or otherwise in accordance with the terms and
conditions of this Share Issuance Agreement.

       “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings, assessments, fees or other charges imposed by any Governmental Authority,


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including without limitation any interest, additions to tax, penalties and any similar liabilities
with respect thereto.

        “Transaction” means, in respect of a specified Entity, any transaction or series of
transactions consisting of or effected by means of merger, consolidation, Transfer of all or
substantially all assets of such Entity, business combination, share exchange, reclassification,
reorganization or recapitalization.

        “Transfer” and “Transferred” means any sale, assignment, transfer, pledge, grant of a
security interest, lease, license or other disposition of any property or assets.

      “Trusts” has the meaning set forth in the introductory paragraph of this Share Issuance
Agreement.

       “Trusts’ Representative” has the meaning set forth in the introductory paragraph of this
Share Issuance Agreement.

      All terms defined in this Share Issuance Agreement in the singular form shall have
comparable meanings when used in the plural form and vice versa.

       Whenever the context may require, any pronoun shall include the corresponding
masculine, feminine and neuter forms.

       All references herein to Sections shall be deemed references to Sections of this Share
Issuance Agreement unless the context shall otherwise require.

        Unless otherwise indicated, (i) the term “including” means “including without
limitation,” except when used in the computation of time periods, and (ii) any definition of or
reference to any agreement, instrument or other document herein shall be construed as referring
to such agreement, instrument or other document as from time to time amended, supplemented or
otherwise modified (subject to any restrictions on such amendments, supplements or
modifications set forth herein).

        For purposes of the computation of time periods, whenever this Share Issuance
Agreement provides for an event to occur “within” a specified number of days of a preceding
event, it shall mean that the latter event shall occur before the close of business on the last of the
specified days, and the day on which the preceding event occurs shall not be included in the
computation of days elapsed. The word “from” means “from and including”, “after” means
“after and excluding”, and “to” and “until” mean “to and including”.

        Section 2. Share Issuance Obligation. At any time upon the occurrence and during the
continuance of an Event of Default, the Trusts’ Representative may (but shall not be obligated
to) provide the Obligor with a Demand for Issuance of the Section 524(g) Shares. Promptly upon
the receipt by the Obligor of such Demand for Issuance of the Section 524(g) Shares, the Obligor
shall issue the Section 524(g) Shares in consideration of a reduction (on a pro rata basis based
upon the then outstanding Deferred Payments) of the amount of Deferred Payments as defined in
each of the Deferred Payment Agreements, and shall transfer and deliver to the Trusts’
Representative such Section 524(g) Shares by issuing, transferring and delivering to the Trusts’

                                                  4


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Representative one duly issued stock certificate registered in the name of the Trusts’
Representative representing the Section 524(g) Shares or, if the shares of Common Stock of the
Obligor are at the time of the issuance hereunder permitted to be uncertificated and the Trusts’
Representative so requests, the Obligor shall cause the Section 524(g) Shares to be credited to
the name and account of the Trusts’ Representative on the stock transfer books and records of the
Obligor as maintained by the Obligor or its transfer agent.

        Section 3. Deferred Payment Obligations. (a) The obligation to issue the Section 524(g)
Shares shall secure and serve as support and credit enhancement for the prompt and complete
payment when due (whether by acceleration or otherwise) of each Deferred Payment (including
interest thereon, if any) to the Trusts under and pursuant to the Deferred Payment Agreements,
each as the same may from time to time be amended, modified, supplemented, extended,
renewed, deferred, refinanced, replaced, refunded or restated, in whole or in part, in accordance
with the terms and conditions thereof, by operation of Law or otherwise, in each case, with the
consent of Parent and the applicable Trust (collectively, the “Deferred Payment Obligations”).

        (b) To the extent that the Trusts’ Representative exercises its rights on behalf of the Trust
(PI) under this Share Issuance Agreement and the Section 524(g) Shares are issued and delivered
to it on behalf the Trusts, the amount of the remaining Deferred Payments shall be reduced by
the Fair Market Value of the Section 524(g) Shares allocated to the Trusts in the manner set forth
in Section 4 of the Intercreditor Agreement (as such Section 4 of the Intercreditor Agreement,
together with any defined terms used (directly or indirectly) in such Section 4 are in effect as of
the date hereof, or as amended or modified from time to time with the consent (not to be
unreasonably withheld) of Grace and Parent Guarantor after the date hereof.

        Section 4. Representations and Warranties. The Obligor hereby represents and warrants
to each of the Trusts and to the Trusts’ Representative that, as of the Effective Date and as of the
time of issuance of the Section 524(g) Shares, the following are true and correct:

        (a) The issuance of the Section 524(g) Shares has been duly and validly authorized as of
the Effective Date and as of the time of such issuance.

        (b) As of the Effective Date, the number of Section 524(g) Shares is equal to fifty and
one tenth (50.1) percent of the total number shares of Common Stock issued and outstanding as
of the Effective Date (after giving effect to any issuance of shares of Common Stock on the
Effective Date).

        (c) The rights granted hereunder to the Trusts’ Representative for the benefit of each
Trust to be issued the Section 524(g) Shares do not and will not conflict in any material respect
with the rights granted to other holders of the Obligor’s securities under any other agreements.

         (d) As of the Effective Date, the Obligor’s Board of Directors has approved this Share
Issuance Agreement and the transactions contemplated hereby, including the issuance, upon the
terms and subject to the conditions set forth in this Share Issuance Agreement, of the Section
524(g) Shares to the Trusts’ Representative for the benefit of each Trust, and has taken all
actions within its control to ensure that such issuance shall not be subject to the provisions or
restrictions of Section 203 of Delaware General Corporation Law or any other business
combination, interested stockholder, fair price, control share acquisition, or other Law regulating
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mergers, acquisitions, change of control transactions, voting rights or share acquisitions which is
in effect as of the Effective Date and applicable to such issuance.

       Section 5. Covenants. The Obligor hereby covenants and agrees, with respect to each
Deferred Payment Agreement until such time as the corresponding Deferred Payments
Obligations thereunder have been paid in full, as follows:

        (a) Upon issuance (if any) of the Section 524(g) Shares pursuant to a Demand for
Issuance of Section 524(g) Shares, and assuming compliance by each of the Trusts and the
Trusts’ Representative with its obligations under the Plan of Reorganization, the Confirmation
Order and Section 2 of this Share Issuance Agreement, the Section 524(g) Shares shall be duly
authorized, duly and validly issued, fully paid and non-assessable, and free and clear of any
Liens and any preemptive or similar rights. In addition, to the extent permitted by applicable
Law and listing requirements and regulations of any Governmental Authority and/or relevant
securities exchanges, concurrently with the issuance of Section 524(g) Shares, such shares shall
be listed for trading on the New York Stock Exchange (or any successor thereto) and all other
securities exchanges upon which the Common Stock is listed or traded.

        (b) The Obligor shall reserve and keep available, free from preemptive or similar rights
(other than rights created pursuant to this Share Issuance Agreement, the other Deferred Payment
Documents or the Plan of Reorganization), for issuance shares of Common Stock in an amount at
least equal to the Section 524(g) Shares. The Obligor shall promptly pay all Taxes, expenses and
charges attributable to the issuance or delivery of the Section 524(g) Shares, but any Taxes,
expenses or charges in connection with the issuance of such shares in any name other than that of
the Trusts’ Representative shall be paid by the Trusts’ Representative.

       (c) Neither the Obligor nor Grace shall create (other than pursuant to this Share Issuance
Agreement, the other Deferred Payment Documents or the Plan of Reorganization) any Liens or
any preemptive or similar rights on the Section 524(g) Shares).

        (d) The Obligor shall take, or cause to be taken, all actions necessary to (i) comply with
all applicable requirements of any material Law which may be imposed on the Obligor or any of
its Controlled Affiliates with respect to the issuance of the Section 524(g) Shares to the Trusts’
Representative; (ii) obtain any material consent, authorization, order or approval of, or any
exemption by or from, and shall register or qualify with or provide any notice to, any
Governmental Authority or Entity which is required or necessary pursuant to any material Law
to be obtained, performed or made by the Obligor or any of its Controlled Affiliates in order to
consummate the issuance of the Section 524(g) Shares to the Trusts’ Representative on behalf of
the Trusts; (iii) to the extent within the control of the Obligor and its Controlled Affiliates
(through its or their boards of directors, stockholders, other governing bodies, managements or
otherwise), cause the issuance of the Section 524(g) Shares to the Trusts’ Representative on
behalf of the Trusts not to be subject to and/or not to trigger, as the case may be, any (A) “poison
pill,” shareholder or stockholder rights plan, other anti-takeover or takeover defense provision
contained in the Governing Documents of the Obligor or its Controlled Affiliates, (B) change of
control or severance or “golden parachute” agreement, plan or provision of or to which the
Obligor or any of its Controlled Affiliates is a party, (C) business combination, interested
stockholder, fair price, control share acquisition, or other Law regulating mergers, acquisitions,
change of control transactions, voting rights or share acquisitions, and (iv) to the extent within
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the control of the Obligor and its Controlled Affiliates (through its or their boards of directors,
stockholders, other governing bodies, managements or otherwise), cause the Trusts’
Representative (acting for the benefit of each of the Trusts) ownership or voting rights with
respect to the Section 524(g) Shares not to be limited, qualified, diluted or restricted by any plan,
provision, agreement or Law referred to in clauses (iii)(A) through (iii)(C).

        (e) The Obligor shall not enter into any agreement with respect to its securities which
conflicts with the rights granted to the Trusts’ Representative for the benefit of the Trusts
pursuant to this Share Issuance Agreement or the provisions hereof. The Obligor will not, by
amendment of its Governing Documents or through any Transaction or any other voluntary
action, avoid or seek to avoid the observance or performance of any of the terms to be observed
or performed hereunder by the Obligor.

       (f) Concurrently with the issuance of Section 524(g) Shares, the Obligor shall deliver to
the Trusts’ Representative an opinion of the Obligor’s outside counsel on such customary and
appropriate matters concerning due authorization, receipt of approvals, issuance and compliance
with the securities laws as the Trusts’ Representative may reasonably request.

         Section 6. Adjustment Events. (a) If at any time after the date hereof the Obligor shall
(a) issue a stock dividend in respect of shares of Common Stock, (b) effect a stock split or
reverse stock split in respect of shares of Common Stock, (c) otherwise subdivide or combine
shares of Common Stock and/or (d) amend its Governing Documents, or otherwise change or
recapitalize its capital structure, in any manner that results in one share of Common Stock being
converted into more or less than one share of Common Stock (each a “Mechanical Adjustment
Event”), the number of Section 524(g) Shares issuable under this Share Issuance Agreement
shall automatically be adjusted such that, upon issuance (if any), the Trusts’ Representative shall
be entitled to receive a number of Section 524(g) Shares equal to (a) in the case of a stock
dividend, the sum of (i) the number of Section 524(g) Shares the Trusts’ Representative would
have been entitled to receive if the Section 524(g) Shares had been issued immediately prior to
the consummation of such Mechanical Adjustment Event (the “Pre-Adjustment Number”) plus
(ii) the product obtained by multiplying (x) the Pre-Adjustment Number by (y) the number of
shares of Common Stock to be issued as a stock dividend in respect of each outstanding share of
Common Stock and (b) in the case of any other Mechanical Adjustment Event, the product
obtained by multiplying (i) the Pre-Adjustment Number by (ii) the number of shares of Common
Stock into which each share of Common Stock shall be converted in such Mechanical
Adjustment Event.

        (b)     In addition, if at any time after the date hereof the Obligor shall issue or sell any
shares of Common Stock, other than Excluded Stock, or any rights (including any (x) options
(other than Excluded Options), warrants or other rights to purchase or acquire Common Stock,
other than Excluded Stock (whether or not at the time exercisable), or (y) securities by their
terms convertible into or exchangeable for Common Stock, other than Excluded Stock (whether
or not at the time so convertible or exchangeable) or options, warrants or rights to purchase such
convertible or exchangeable securities), for no consideration or for a consideration per share that
is less than the Fair Market Value of the Common Stock (a “Dilution Adjustment Event” and
collectively with Mechanical Adjustment Events, “Adjustment Events”), the number of Section
524(g) Shares issuable under this Share Issuance Agreement shall automatically be adjusted such
that, upon issuance (if any), the Trusts’ Representative shall receive the greater of (i) a number of
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Section 524(g) Shares having a Fair Market Value equal to the number of Section 524(g) Shares
the Trust would have received had the Dilution Adjustment Event not occurred or (ii) a number
of Section 524(g) Shares equal to the percentage of the total number of issued and outstanding
shares of Common Stock the Trusts’ Representative, on behalf of the Trusts, would have
received had the Dilution Adjustment Event not occurred. For purposes of this Section 6(b), (i)
“Excluded Stock” means shares of Common Stock issued and sold in a registered firm
commitment underwritten public offering pursuant to a registration statement declared effective
in accordance with the Securities Act of 1933, as amended, or any successor statute thereto, (ii)
“Excluded Options” means options to purchase shares of Common Stock issued to directors,
officers, employees and consultants of Obligor or any of its Controlled Affiliates (x) pursuant to
an option plan or arrangement approved by either the stockholders of Obligor or the Bankruptcy
Court before which the chapter 11 proceedings of Obligor and certain of its affiliates were heard
and (y) with an exercise price equal to the average of the high and low trading prices of Common
Stock on the New York Stock Exchange (or if the Common Stock is not traded on the New York
Stock Exchange, on the principal stock exchange on which it trades) on the date of grant of the
option and (iii) Fair Market Value shall be determined as the of the last trading date immediately
prior to the date of consummation of the issuance or sale constituting the Dilution Adjustment
Event.

        (c)     For the avoidance of doubt, and notwithstanding anything to the contrary in
Section 6(a) or 6(b), in no event shall any issuance of any shares of Common Stock or other
equity securities of the Obligor in any circumstance other than as specified in such immediately
preceding two sentences constitute or result in an Adjustment Event, including (i) any sale or
other issuance of Common Stock or other equity securities other than pursuant to a Dilution
Adjustment Event, (ii) in connection with any purchase or other acquisition by the Obligor of,
and/or as consideration for, the equity or debt securities or assets of any other Entity or (iii) in
connection with any merger or consolidation of the Obligor or any of its subsidiaries with or into
any other Entity.

        Section 7. Registration Rights. Prior to or concurrently with the issuance of the Section
524(g) Shares, the Obligor shall (i) file a registration statement on the appropriate form to
register the Section 524(g) Shares under the Securities Act of 1933 and shall use its reasonable
best efforts to have such registration statement declared effective on or as soon as practicable
following the date of issuance and (ii) make all necessary filings under and/or obtain all
necessary exemptions pursuant to all other applicable United States and all state and foreign
securities or blue sky Laws. In connection with the filing of any such registration statement and
the sale of the Section 524(g) Shares pursuant thereto, the Trusts’ Representative shall pay for
and bear on behalf of the Trusts (and be reimbursed by the Trusts pursuant to Section 8(b) of the
Intercreditor Agreement) all (i) registration, filing and stock exchange listing fees, and
reasonable fees and disbursements of printers and accountants for the Obligor; (ii) all legal fees
and disbursements and other expenses of the Obligor complying with state securities or blue sky
laws of any jurisdictions in which the securities to be offered are to be registered or qualified;
and (iii) the reasonable fees and expenses of one counsel for the Obligor in connection therewith.

       Section 8. Waiver of Demand, etc. The Obligor hereby waives demand, payment, notice
of dishonor or protest and all other notices of any kind in connection with the Deferred Payment
Obligations except the Demand for Issuance of the Section 524(g) Shares and any other notices

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required by law or by this Share Issuance Agreement or any other agreement between the
Obligor and the Trusts’ Representative or either Trust.

       Section 9. Expenses. The Obligor shall reimburse the Trusts’ Representative promptly
upon demand for all documented out-of-pocket costs and expenses, including all attorney’s fees
and expenses of legal counsel, arising out of or incurred by the Trusts’ Representative in
connection with the enforcement of any rights or actions of the Trusts’ Representative under this
Share Issuance Agreement, but only to the extent that the Trusts’ Representative succeeds in
enforcing this Share Issuance Agreement.

        Section 10. Modification. No provision of this Share Issuance Agreement may be
amended, supplemented or modified except by a written instrument executed by each of the
Trusts’ Representative, Parent and Grace. The Trusts’ Representative and the Trusts agree not to
amend, supplement or modify Section 2(f) and Section 12 of the Intercreditor Agreement,
including any defined terms used therein or underlying defined terms, without the prior written
consent of Parent and any amendment in breach of this Section 10 shall be null and void and
have no force or effect.

      Section 11. Notices. Except as otherwise expressly provided herein, all notices and other
communications made or required to be given pursuant to this Share Issuance Agreement shall
be made in accordance with the provisions of Section 18 of the Deferred Payment Agreement.

       Section 12. Assignment.

        (a) This Share Issuance Agreement shall be binding upon the Obligor and upon the
successors and permitted assigns of the Obligor and shall inure to the benefit of the Trusts’
Representative and the Trusts. The successors and assigns of the Obligor shall include their
respective receivers, trustees or debtors-in-possession.

       (b) Neither the Trusts’ Representative nor any of the Trusts may Transfer this Share
Issuance Agreement or any of its rights, interests, duties, liabilities or obligations under this
Share Issuance Agreement without the prior written consent of the Obligor.

       (c) Subject to Section 12(d) hereof, the Obligor shall not Transfer this Share Issuance
Agreement or any of its rights, interests, duties, liabilities or obligations under this Share
Issuance Agreement without the prior written consent of the Trusts’ Representative.

        (d) Subject to Section 12(e), neither Section 12(c) nor anything else in this Share
Issuance Agreement shall prohibit or restrict the ability of the Obligor to undertake any
Transaction; provided that, unless the Trusts’ Representative otherwise consents in writing, (i)
such Transaction shall not violate Section 6(b) of any Deferred Payment Agreement or Section
7(b) of any Parent Guarantee; (ii) no Event of Default (as defined in the Deferred Payment
Agreement) and, no event which, with the giving of notice or the passage of time, would
constitute an Event of Default, exists at the time of, or would exist immediately following, the
consummation of such Transaction; (iii) such Transaction shall not conflict with, or result in a
breach of, any of the provisions of, or constitute a default under, the Governing Documents of
the Obligor or the surviving or succeeding Entity that results from such Transaction; and (iv) at
least ten (10) business days prior to consummation of such Transaction, the Obligor shall, subject

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to reasonable confidentiality arrangements between the Trusts’ Representative and the Obligor,
deliver to the Trusts’ Representative written notice of its intention to consummate such
Transaction.

        (e) If the surviving or succeeding Entity as a result of any such Transaction is not the
Obligor, then prior to, or concurrently with, the consummation of any such Transaction, the
surviving or succeeding Entity shall, by written instrument substantially in the form of Exhibit A,
expressly assume the rights and obligations of the Obligor hereunder (it being expressly
acknowledged and agreed by the Obligor, the Trusts and the Trusts’ Representative that such
written instrument shall, and shall expressly provide that it shall, be binding upon, and inure to
the benefit of, the Trusts, the Trusts’ Representative, the Obligor and such surviving or
succeeding Entity whether or not the Trusts’ Representative shall have executed such written
instrument); provided, however, that the Obligor shall not be discharged from, and shall remain
liable for, any and all of its duties, liabilities and obligations under this Share Issuance
Agreement. The provisions of Section 12(d) and Section 12(e) hereof shall apply to successive
events constituting a Transaction.

        (f) The Obligor shall be responsible for, and shall pay promptly upon demand all
documented and direct out-of-pocket costs and expenses incurred by the Trusts’ Representative
(including legal fees and expenses of one legal counsel) in connection with any Transaction
proposed by the Obligor if the Trusts’ Representative challenges such Transaction in a judicial or
other proceeding or otherwise as being in breach of the provisions of the Deferred Payment
Documents and the Trusts’ Representative is successful in such challenge.

        (g) Any assignment or transfer in breach of this Section 12 shall be null and void and
shall not Transfer any right, interest, duty, liability or obligation in or under this Share Issuance
Agreement to any Entity.

       Section 13. Authorization to Disclose Information to Trusts. The Obligor hereby
authorizes the Trusts’ Representative to disclose and furnish to the Trusts any information or
documentation that the Trusts' Representative receives from the Obligor or any of its
Subsidiaries or Affiliates in connection with or related to the Section 524(g) Shares, this Share
Issuance Agreement and the other Deferred Payment Documents.

        Section 14. Severability. Whenever possible, each provision of this Share Issuance
Agreement will be interpreted in such manner as to be effective and valid under applicable Law,
but if any provision of this Share Issuance Agreement by any party hereto is held to be invalid,
void, voidable, illegal or unenforceable in any respect under any applicable Law in any
jurisdiction, such event will not affect any other provision or the effectiveness or validity of any
provision in any other jurisdiction, or the obligations of any other party to this Share Issuance
Agreement, and this Share Issuance Agreement will be reformed, construed and enforced in such
jurisdiction as if such invalid, void, voidable, illegal, unenforceable or rejected provision had
never been contained herein. The parties hereto further agree to use commercially reasonable
efforts to replace such invalid, void, voidable, illegal, unenforceable or rejected provision of this
Share Issuance Agreement with an effective, valid and enforceable provision which will achieve,
to the fullest extent possible, the economic, business and other purposes of the invalid, void,
voidable, illegal, unenforceable or rejected provision.

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       Section 15. Further Assurances. The Obligor at its sole cost and expense shall execute,
acknowledge and deliver all such instruments and take all such action as the Trusts’
Representative from time to time may reasonably request in order to further effectuate the
purposes of this Share Issuance Agreement and to carry out the terms hereof.

        Section 16. Survival of Representations and Warranties. All representations and
warranties contained in this Share Issuance Agreement shall survive the execution and delivery
of this Share Issuance Agreement, the Deferred Payment Agreements and the other Deferred
Payment Documents.

        Section 17. Not a Security Agreement. The parties hereto acknowledge and agree that
this Share Issuance Agreement does not constitute a security agreement, including without
limitation a “security agreement” as defined in the Uniform Commercial Code of any relevant
jurisdiction, and nothing herein or in any other Deferred Payment Document constitutes an
authorization for the Trusts’ Representative or any other Entity (including any Trust) to file a
financing statement under the UCC or otherwise seek to perfect a purported security interest
against Grace, the Obligor or any other Entity.

        Section 18. Captions. Captions and headings in this Share Issuance Agreement are for
convenience only and in no way define, limit or describe the scope or intent of the provisions
hereof.

        Section 19. Termination. Upon payment in full of the Deferred Payment Obligations
(other than indemnities), this Share Issuance Agreement shall automatically terminate and shall
become null and void and of no further force and effect, except for such provisions expressly
stated to survive such termination.

       Section 20. Conflict. In the event that there is a conflict between any provision of this
Share Issuance Agreement and the Deferred Payment Agreement, the provisions of the Deferred
Payment Agreement shall control.

       Section 21. Governing Law; Jurisdiction.

        (a) This Share Issuance Agreement and the rights and obligations of the parties hereto
shall be construed in accordance with the laws of the State of New York, without giving effect to
any choice or conflict of law provision or rule (whether of the State of New York or any other
jurisdiction) that would cause the application of the laws of any jurisdiction other than the State
of New York.

        (b) With respect to all claims, suits, actions, proceedings and other disputes arising out
of, in respect of or relating to this Share Issuance Agreement (such claims, suits, actions,
proceedings, and other disputes, the “Claims”) each of the parties to this Share Issuance
Agreement hereby irrevocably submits to the jurisdiction of the Bankruptcy Court for the
District of Delaware or the United States District Court for the District of Delaware, or, if both
such Courts are not permitted under applicable Law to exercise jurisdiction with respect to the
matter in question then, at the sole election of the Trusts’ Representative, to the jurisdiction of
any other federal or state court in the state, county and city of New York, New York (the
“Courts”), and each of the parties to this Share Issuance Agreement agrees that any and all

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Claims may be brought, heard and determined in such Courts.

        (c) Each of the parties to this Share Issuance Agreement agrees that (i) venue shall be
proper in such Courts and hereby waives any objection or defense which it may now or hereafter
have to the laying of venue in such courts, including any of the foregoing based upon the
doctrine of forum non conveniens; and (ii) all process which may be or be required to be served
in respect of any such Claim (including any pleading, summons or other paper initiating any such
Claim) may be served upon it, which service shall be sufficient for all purposes, in the manner
for the provision of notice under Section 18 of the Deferred Payment Agreement and shall be
deemed in every respect effective service of process upon such party when so given.

      (d) EACH PARTY HERETO HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING OUT OF,
UNDER OR IN CONNECTION WITH THIS SHARE ISSUANCE AGREEMENT OR ANY
OF THE DEFERRED PAYMENT DOCUMENTS. EACH PARTY HERETO (A) CERTIFIES
THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS SHARE ISSUANCE AGREEMENT AND THE
OTHER DEFERRED PAYMENT DOCUMENTS, AS APPLICABLE, BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS PROVISION.

         Section 22. Specific Performance. Each of the parties hereto acknowledges and agrees
that, in the event of any breach of, or any failure to perform, any specific provision of this Share
Issuance Agreement, the non-breaching party would be irreparably and immediately harmed and
could not be made whole by monetary damages. It is accordingly agreed that, subject to Section
7 of each Deferred Payment Agreement, the parties hereto (a) shall be entitled, in addition to any
other remedy to which they may be entitled at law or in equity, to compel specific performance
of any specific provision of this Share Issuance Agreement or to obtain injunctive relief to
prevent breaches of any specific provision of this Share Issuance Agreement exclusively in the
Courts, (b) shall waive, in any action for specific performance or injunctive relief, the defense of
the adequacy of a remedy at law, and (z) shall waive any requirement for the securing or posting
of any bond in connection with the obtaining of any such specific performance or injunctive
relief. For the avoidance of doubt, the parties agree that the Trusts’ Representative on behalf of
each Trust shall be entitled to enforce specifically the terms and provisions of this Share Issuance
Agreement to prevent breaches of or enforce compliance with (i) those covenants of the Obligor
that require the Obligor to issue the Section 524(g) Shares if the conditions to the Obligor’s
obligations to issue such shares as set forth in Section 2 have been satisfied or waived and (ii) the
covenants and agreements of the Obligor set forth in Section 5. The Trusts’ Representative’s
pursuit of specific performance or injunctive relief at any time will not be deemed an election of
remedies or waiver of the right to pursue any other right or remedy to which the Trusts’
Representative or either Trust may be entitled, including without limitation the right to pursue
remedies for liabilities or damages incurred or suffered by the Trusts’ Representative or either
Trust.


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       Section 23. Complete Agreement. This Share Issuance Agreement, together with the
Deferred Payment Agreements, the Parent Guarantees, the Intercreditor Agreement, the Plan of
Reorganization and the Confirmation Order, embodies the complete agreement and
understanding between the parties hereto in respect of the subject matter hereof and supersedes,
preempts and terminates all other prior understandings, agreements or representations by or
among the parties hereto, written or oral, to the extent relating thereto.

        Section 24. Waivers. Any of the terms, covenants, representations, warranties or
conditions hereof may be waived, only by a written instrument executed by the party waiving
compliance. Any waiver by any party of any condition, or of the breach of any provision, term,
covenant, representation or warranty contained in this Share Issuance Agreement, in any one or
more instances, shall not be deemed to be nor construed as a further or continuing waiver of any
such condition, or of the breach of any other provision, term, covenant, representation or
warranty of this Share Issuance Agreement. No action taken pursuant to this Share Issuance
Agreement, including any investigation by or on behalf of any party, shall be deemed to
constitute a waiver by the party taking such action of compliance with any representation,
warranty, condition or agreement contained herein.

       Section 25. Execution in Counterparts. This Share Issuance Agreement may be executed
in any number of counterparts and by different parties hereto in separate counterparts (including,
without limitation, by facsimile or portable document format (pdf)), each of which when so
executed shall be deemed to be an original and all of which taken together shall constitute one
and the same agreement.

       Section 26. No Third Party Beneficiaries. There are no third party beneficiaries of this
Share Issuance Agreement and nothing in this Share Issuance Agreement, express or implied, is
intended to confer on any Entity other than the parties hereto and their respective successors, and
assigns, any rights, remedies, obligations or liabilities.

        Section 27. Other Remedies. Except as otherwise provided herein, any and all remedies
herein expressly conferred upon a party shall be deemed cumulative with and not exclusive of
any other remedy conferred hereby or by law on such party, and the exercise of any one remedy
shall not preclude the exercise of any other.

                                    [Signature page follows]




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      IN WITNESS WHEREOF, the parties hereto have duly executed this Share Issuance
Agreement as of the date first above written.

 OBLIGOR:                         W. R. GRACE & CO.



                                  By: ______________________________
                                     Name:
                                     Title:




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TRUST (PI):                   WRG ASBESTOS PI TRUST



                              By: ______________________________
                                 Name:
                                 Trustee


TRUST (PD/ZAI):               WRG ASBESTOS PD TRUST,
                              on behalf of the Holders of the US ZAI PD Claims
                              and the Holders of Asbestos PD Claims



                              By: ______________________________
                                 Name:
                                 Trustee


TRUSTS’ REPRESENTATIVE:       WRG ASBESTOS PI TRUST,
                              as representative for the Trusts pursuant to the terms
                              of the Intercreditor Agreement



                              By: ______________________________
                                 Name:
                                 Trustee




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                          EXHIBIT A

                    ASSUMPTION AGREEMENT




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                           EXHIBIT 21 TO EXHIBIT BOOK
                     UNRESOLVED ASBESTOS PD CLAIMS SCHEDULE

                                                                                                 EXHIBIT 21

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                        Total Remaining Active PD Claims and PD Claims on Appeal




I. Active PD Claims

Speights Canadian Claims

     Claimant Name Claim Number          Counsel    Firm Name    Building Name       Property Address

  1 354401 Alberta         011620     Daniel A     Speights &                      287 Broadway Winnipeg,
    LTD. C/O Redcliff                 Speights     Runyan                          MB R3c0r9
    Realty
    Management Inc.
  2 Avalon East            012491     Daniel A     Speights &                      391 Topsail Road St
    School Board                      Speights     Runyan                          John's, NL A1e2b7
  3 Calgary Board Of       012454     Daniel A     Speights &   James Fowler        4004-4th St. Nw
    Education                         Speights     Runyan       High               Calgary, AB T2k1a1
  4 Calgary Board Of       012457     Daniel A     Speights &   Kingsland          7430 5th Street Sw
    Education                         Speights     Runyan       Elementary         Calgary, AB T2v1b1
  5 Calgary Board Of       012443     Daniel A     Speights &   William Aberhart   3009 Morley Trail Nw
    Education                         Speights     Runyan       High               Calgary, AB T2m4g9

  6 Calgary Board Of       014885     Daniel A     Speights &   Altadore         4506 16th Street SW
    Education                         Speights     Runyan       Elementary       Calgary, AB T2t4h9
  7 Calgary Board Of       012442     Daniel A     Speights &   Wildwood         120 45th Street Sw
    Education                         Speights     Runyan       Elementary       Calgary, AB T3c2b3
  8 Calgary Board Of       012570     Daniel A     Speights &   Balmoral Junior  220 16th Avenue
    Education                         Speights     Runyan       High             Calgary, AB T2m0h4
  9 Calgary Board Of       012590     Daniel A     Speights &   Parkdale         728 32nd Street NW
    Education                         Speights     Runyan       Elementary       Calgary, AB T2n2v9
 10 Calgary Board Of       012591     Daniel A     Speights &   Queen Elizabeth  512 18th Street NW
    Education                         Speights     Runyan       High             Calgary, AB T2n2g5
 11 Calgary Board Of       012438     Daniel A     Speights &   Vincent Massey   939 45th St Sw Calgary,
    Education                         Speights     Runyan       Junior High      AB T3c2b9
 12 Calgary Board Of       012439     Daniel A     Speights &   Viscount Bennett 2519 Richmond Road
    Education                         Speights     Runyan                        Sw Calgary, AB
                                                                                 T3e4m2
 13 Calgary Board Of       012412     Daniel A     Speights &   Cambrian Heights 640 Northmount Dr Nw
    Education                         Speights     Runyan       Elementary       Calgary, AB T2k3j5

 14 Calgary Board Of       012410     Daniel A     Speights &   Briar Hill         1233 21st Street Nw
    Education                         Speights     Runyan       Elementary         Calgary, AB T2n2l8
 15 Canadian Imperial      012536     Daniel A     Speights &                      215 Water Street St
    Bank Of                           Speights     Runyan                          John's, NL A1c6c9
    Commerce
 16 City Of Edmonton       012489     Daniel A     Speights &   Century Place      9803 102a Avenue
                                      Speights     Runyan                          Edmonton, AB T5j3a3




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    Claimant Name Claim Number      Counsel   Firm Name     Building Name        Property Address

17 City Of Vancouver   012476     Daniel A    Speights &   Q.E. And           649-695 Cambie
                                  Speights    Runyan       Playhouse          Vancouver, BC
                                                           Theatres
18 City Of Vancouver   012346     Daniel A    Speights &   Parkade            700 Georgia Street
                                  Speights    Runyan                          Vancouver, BC

19 Edmonton Public     012549     Daniel A    Speights &   Wellington School 13160 127 Street
   Schools                        Speights    Runyan                         Edmonton, AB T5l1b2
20 Edmonton Public     012557     Daniel A    Speights &   Eastglen School 11430 68 Street
   Schools                        Speights    Runyan                         Edmonton, AB T5b1p1
21 Edmonton Public     012554     Daniel A    Speights &   Woodcroft School 13750 Woodcroft
   Schools                        Speights    Runyan                         Avenue Edmonton, AB
                                                                             T5t5x9
22 Edmonton Public     012548     Daniel A    Speights &   Victoria School   10210 108 Avenue
   Schools                        Speights    Runyan                         Edmonton, AB T5h1a8

23 Edmonton Public     012546     Daniel A    Speights &   Strathcona School 10450 72 Avenue
   Schools                        Speights    Runyan                         Edmonton, AB T6e0z6
24 Edmonton Public     012542     Daniel A    Speights &   North Edmonton 6920 128 Avenue
   Schools                        Speights    Runyan       School            Edmonton, AB T5c1s7

25 Edmonton Public     012576     Daniel A    Speights &   JA Fife School     15004 76 Street
   Schools                        Speights    Runyan                          Edmonton, AB T6c1c2

26 Edmonton Public     012541     Daniel A    Speights &   Newton School      5523 122 Avenue
   Schools                        Speights    Runyan                          Edmonton, AB T5w1s3

27 Edmonton Public     012394     Daniel A    Speights &   Bonnie Doon        8205 90 Avenue
   Schools                        Speights    Runyan       School             Edmonton, AB T6c1n8

28 Edmonton Public     012377     Daniel A    Speights &   Delton School      12126 89 Street
   Schools                        Speights    Runyan                          Edmonton, AB T5b3w4

29 Edmonton Public     012388     Daniel A    Speights &   Allendale       6415 106 Street
   Schools                        Speights    Runyan                       Edmonton, AB T6h2v5
30 Edmonton Public     012537     Daniel A    Speights &   Parkview School 14313 92 Street
   Schools                        Speights    Runyan                       Edmonton, AB T5r3b3
31 Edmonton Public     012503     Daniel A    Speights &   Sherbrooke      12245 131 Street
   Schools                        Speights    Runyan       School          Edmonton, AB T5l1m8
32 Edmonton Public     012500     Daniel A    Speights &   Ritchie School  9750 74 Avenue
   Schools                        Speights    Runyan                       Edmonton, AB T6j1t4
33 Edmonton Public     012498     Daniel A    Speights &   Queen Alexandra 7730 106 Street
   Schools                        Speights    Runyan       School          Edmonton, AB T6g0x4

34 Edmonton Public     012496     Daniel A    Speights &   Prince Rupert      11515 113 Avenue
   Schools                        Speights    Runyan       School             Edmonton, AB T5g0j3




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    Claimant Name Claim Number       Counsel   Firm Name     Building Name      Property Address

35 Edmonton Public      012501     Daniel A    Speights &   Ross Sheppard    13546 111 Avenue
   Schools                         Speights    Runyan       School           Edmonton, AB T5m2p2

36 Fairmall             012396     Daniel A    Speights &   Fairview Mall    1800 Sheppard Ave E,
   Leasehold Inc                   Speights    Runyan                        Ste330 P.O. Box 330
                                                                             Willowdale, ON M2j5a7

37 Great West Life      012534     Daniel A    Speights &                    199 Bay Street,
                                   Speights    Runyan                        Commerce Court West
                                                                             Toronto, ON M5l1e2
38 Hamilton District    011684     Daniel A    Speights &   Westview School 60 Rolston Drive
   School Board                    Speights    Runyan                        Hamilton, ON L9c3x7
39 Hamilton District    011682     Daniel A    Speights &   Sir John A.      130 York Boulevard
   School Board                    Speights    Runyan       Macdonald        Hamilton, ON L8r1y5
                                                            Secondary School

40 Hamilton District    011681     Daniel A    Speights &   Sir Alan MacNabb 145 Magnolia Drive
   School Board                    Speights    Runyan       School           Hamilton, ON L9c5p4

41 Hamilton District    011680     Daniel A    Speights &   Sherwood Heights 105 High Street
   School Board                    Speights    Runyan       School           Hamilton, ON L8t3z4
42 Hamilton District    011678     Daniel A    Speights &   Pauline Johnson 25 Hummingbird Lane
   School Board                    Speights    Runyan       Public School    Hamilton ON L9a4b1
43 Hamilton District    011322     Daniel A    Speights &   Sherwood         25 High Street Hamilton,
   School Board                    Speights    Runyan       Secondary School ON L8t3z4

44 Hamilton District    011323     Daniel A    Speights &   Scott Park       1055 King Street West
   School Board                    Speights    Runyan       Secondary        Hamilton, ON L8m1e2

45 Health Care          012493     Daniel A    Speights &                    300 Prince Philip Drive
   Corporation Of                  Speights    Runyan                        St John's, NL A1b3v6
   St.John's
46 Mc Master            012368     Daniel A    Speights &   McMaster         1280 Main Street West
   University                      Speights    Runyan       University       Hamilton, ON L8s4m3
47 Morguard             012427     Daniel A    Speights &                    55 City Centre Drive
   Investments                     Speights    Runyan                        Mississauga, ON
   Limited                                                                   L5b1m3
48 Oxford Properties    012421     Daniel A    Speights &                    10025-102 Avenue
   Group                           Speights    Runyan                        Edmonton, AB T5j2z1
49 Oxford Properties    012422     Daniel A    Speights &   Edmonton City    Between 100/101/102 &
   Group                           Speights    Runyan       Centre East      102a St Edmonton, AB
                                                                             T5j2y8
50 Oxford Properties    012423     Daniel A    Speights &                    10088-102 Avenue
   Group                           Speights    Runyan                        Edmonton, AB T5j2z1
51 School District 68   011627     Daniel A    Speights &   Nanaimo Senior    3955 Wakesiah Ave
   Nanaimo-                        Speights    Runyan       Secondary        Nanaimo, BC V9r3k5
   Ladysmith




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     Claimant Name Claim Number       Counsel   Firm Name     Building Name      Property Address

 52 School District 68   011632     Daniel A    Speights &   Woodlands        1270 Strathmore Street
    Nanaimo-                        Speights    Runyan       Secondary        Nanaimo, BC V9s2i9
    Ladysmith
 53 Toronto District     012304     Daniel A    Speights &   Deer Park Junior 23 Ferndale Avenue
    School Board                    Speights    Runyan       And Senior       Toronto, ON M4t2b4
                                                             School
 54 Atlantic Shopping    012490     Daniel A    Speights &                    2000 Barrington Street
    Centres LTD                     Speights    Runyan                        Halifax, NS B3j3k1

 55 Great West Life -    012533     Daniel A    Speights &                    2001 University Street
    London Life                     Speights    Runyan                        Montreal, QC H3a2a6
Speights U.S. Claims
  1 Anderson             011008     Daniel A    Speights &                    800 North Fant
    Memorial Hospital               Speights    Runyan                        Anderson, SC 29261

  2 John Muir Hospital   011026     Daniel A    Speights &                    1601 Ygnacid Valley
                                    Speights    Runyan                        Road, Walnut Creek, CA
                                                                              94598
  3 St. Joseph's         011243     Daniel A    Speights &                    555 E. Market Street,
    Hospital                        Speights    Runyan                        Elmira, NY
  4 North Arkansas       010995     Daniel A    Speights &                    620 N. Willow, Harrison,
    Regional Medical                Speights    Runyan                        AR 72601
    Center
  5 211 Main Street      011099     Daniel A    Speights &                    211 Main Street, San
    Building                        Speights    Runyan                        Francisco, CA 94105
  6 Bergdorf Building    011027     Daniel A    Speights &                    80 Coventry Street,
                                    Speights    Runyan                        Hartford, CT 06112
  7 Chicago Historical   011104     Daniel A    Speights &                    Chicago, IL
    Society                         Speights    Runyan

  8 F.F. Thompson        006636     Daniel A    Speights &                    350 Parish Street,
    Continuing Care                 Speights    Runyan                        Canandaigua, NY
    Center, Inc.                                                              14424
  9 Glen Oak Country     010749     Daniel A    Speights &                    151 Post Avenue, Old
    Club                            Speights    Runyan                        Westberry, NY
 10 Gulf Atlantic        006637     Daniel A    Speights &                    100 1st Avenue, South
    Properties, Inc.                Speights    Runyan                        Saint Petersburg, FL
                                                                              33701
 11 Hyatt Corporation    009915     Daniel A    Speights &                    5 Embarcadero, Sam
                                    Speights    Runyan                        Francisco, CA 94111
 12 KARK-TV and          009912     Daniel A    Speights &                    Third and Louisiana
    Morris Multimedia,              Speights    Runyan                        Streets, Little Rock, AR
    Inc.                                                                      72201
 13 KARK-TV and          009913     Daniel A    Speights &                    Third and Center
    Morris Multimedia,              Speights    Runyan                        Streets, Little Rock, AR
    Inc.                                                                      72201




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     Claimant Name Claim Number          Counsel     Firm Name     Building Name      Property Address

 14 Olympus 555            009684      Daniel A      Speights &                    555 Broad Hollow Road,
    Properties LLC                     Speights      Runyan                        Melville, NY 11747

 15 Allegheny Center      011037 and   Daniel A      Speights &                    Allegheny Center,
                            011036     Speights      Runyan                        Pittsburgh, PA 15212
 16 Presidential            011428     Daniel A      Speights &                    1836 Metserott Road,
    Towers Condo                       Speights      Runyan                        Adelphi, MD 20783


Other U.S. Claim
  1 Sheldon H Solow,       007020      Edward J      Richardson                    9 West 57th Street New
    Solow                              Westbrook     Patrick                       York, NY 10019
    Development                                      Westbrook
    Corp., et al.                                    & Brickman
                                                     LLC


II. PD Claims on Appeal
Anderson Memorial Class Claims

  1 Anderson               009911      Daniel A.     Speights &   Various          Various locations
    Memorial Hospital                  Speights      Runyan                        worldwide

  2 Anderson               009914      Daniel A.     Speights &   Various          Various locations
    Memorial Hospital                  Speights      Runyan                        statewide South Carolina


State of California Department of General Services
  1 State of California    010653      Steven        Hahn &                        7650 South Newcastle
    Dept of General                    Mandelsberg   Hessen,                       Road Stockton, CA
    Services                                         LLP                           95213

  2 State of California    010662      Steven        Hahn &                        744 P Street
    Dept of General                    Mandelsberg   Hessen,                       Sacramento, CA 95814
    Services                                         LLP

  3 State of California    010661      Steven        Hahn &                        31 East Channel Street
    Dept of General                    Mandelsberg   Hessen,                       Stockton, CA 95202
    Services                                         LLP

  4 State of California    010660      Steven        Hahn &                        End of Highway 202 at
    Dept of General                    Mandelsberg   Hessen,                       Cummings Valley
    Services                                         LLP                           Tehachapi, CA 93561




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    Claimant Name Claim Number        Counsel     Firm Name   Building Name     Property Address

 5 State of California   010659     Steven        Hahn &                      1234 East Shaw Ave.
   Dept of General                  Mandelsberg   Hessen,                     Fresno, CA 93710
   Services                                       LLP

 6 State of California   010657     Steven        Hahn &                      2501 Harbor Blvd. Costa
   Dept of General                  Mandelsberg   Hessen,                     Mesa, CA 92626
   Services                                       LLP

 7 State of California   010656     Steven        Hahn &                      End of Highway 202 at
   Dept of General                  Mandelsberg   Hessen,                     Cummings Valley
   Services                                       LLP                         Tehachapi, CA 93561

 8 State of California   010654     Steven        Hahn &                      2501 Harbor Blvd. Costa
   Dept of General                  Mandelsberg   Hessen,                     Mesa, CA 92626
   Services                                       LLP

 9 State of California   010655     Steven        Hahn &                      5100 O'byrnes Ferry
   Dept of General                  Mandelsberg   Hessen,                     Road, Jamestown, CA
   Services                                       LLP                         95327

10 State of California   010652     Steven        Hahn &                      714 P Street
   Dept of General                  Mandelsberg   Hessen,                     Sacramento, CA 95814
   Services                                       LLP

11 State of California   010651     Steven        Hahn &                      1234 East Shaw Ave.
   Dept of General                  Mandelsberg   Hessen,                     Fresno, CA 93710
   Services                                       LLP

12 State of California   010650     Steven        Hahn &                      10333 El Camino Real
   Dept of General                  Mandelsberg   Hessen,                     Atascadero, CA 93423
   Services                                       LLP

13 State of California   010649     Steven        Hahn &                      1416 9th Street
   Dept of General                  Mandelsberg   Hessen,                     Sacramento, CA 95814
   Services                                       LLP

14 State of California   010648     Steven        Hahn &                      28 Civic Center Plaza
   Dept of General                  Mandelsberg   Hessen,                     Santa Ana, CA 92701
   Services                                       LLP

15 State of California   010658     Steven        Hahn &                      3100 Wright Road
   Dept of General                  Mandelsberg   Hessen,                     Camarillo, CA 93010
   Services                                       LLP




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     Claimant Name Claim Number        Counsel     Firm Name     Building Name       Property Address

 16 State of California   014411     Steven        Hahn &                         7650 S. Newcastle
    Dept of General                  Mandelsberg   Hessen,                        Road, Stockton, CA
    Services                                       LLP                            95213


Macerich Fresno
  1 Macerich Fresno       012758     Gerald        Pillsbury                      645 East Shaw Avenue
    Limited                          George        Winthrop                       Fresno, CA 93710
    Partnership                                    LLP

Speights & Runyan Late Authority Claims
  1 Mission Towers        010516     Daniel A.     Speights &   Mission Towers    57th Broadmore, Kansas
    f/k/a Foxridge                   Speights      Runyan                         City, KS
    Office Building
  2 Bethesda              010533     Daniel A.     Speights &   Bethesda          St. Paul, MN
    Rehabilitation                   Speights      Runyan       Rehabilitation
    Hospital                                                    Hospital
  3 First Tennessee       010533     Daniel A.     Speights &   First Tennessee   Memphis, TN
    Bank                             Speights      Runyan       Bank
  4 First Tennessee       010534                                First Tennessee   Memphis, TN
    Bank                                                        Bank
  5 Washington            010668     Daniel A.     Speights &   Washington        Fremont, CA
    Township Health                  Speights      Runyan       Hospital
    Care District
  6 New Hanover           010672     Daniel A.     Speights &   New Hanover       Wilmington, NC
    Regional Medical                 Speights      Runyan       Regional Medical
    Center                                                      Center
  7 First Health          010673     Daniel A.     Speights &   First Health      Troy, NC
    Montgomery                       Speights      Runyan       Montgomery
    Memorial Hospital                                           Memorial Hospital

  8 Pierre Laclede        010696     Daniel A.     Speights &   Pierre Laclede    Clayton, MO
    Center Nos. 1 & 2                Speights      Runyan       Center Nos. 1 and
                                                                2
  9 St. Joseph's Hill     010700     Daniel A.     Speights &   St. Joseph's Hill St. Louis, MO
    Infirmary Nursing                Speights      Runyan       Infirmary Nursing
    Home                                                        Home
 10 IBM Metro             010722     Daniel A.     Speights &                     Bridge Plaza North at
    Employees FCU                    Speights      Runyan                         41st Street, Long Island
                                                                                  City, NY
 11 Palos                 011066     Daniel A.     Speights &   Palos Community Palos, IL
    Commmunity                       Speights      Runyan       Hospital
    Hospital
 12 St. Mary's Medical    010746     Daniel A.     Speights &   St. Mary's Medical 1st Avenue & 29th
    Center                           Speights      Runyan       Center             Street, Huntingdon, WV




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    Claimant Name Claim Number        Counsel   Firm Name     Building Name        Property Address

13 Friendly Home         010747     Daniel A.   Speights &                      3156 East Avenue,
   Nursing Care &                   Speights    Runyan                          Rochester, NY
   Rehabilitation
14 99 Founders Plaza     010762     Daniel A.   Speights &   99 Founders        Gilbert Street, Hartford,
                                    Speights    Runyan       Plaza              CT
15 Oneida County         010767     Daniel A.   Speights &   Oneida County      Oneida, NY
   Office Building                  Speights    Runyan       Office Building
16 Manor Oak Two         010789     Daniel A.   Speights &   Manor Oak Two      Greentree, PA
                                    Speights    Runyan
17 Cayuga County         010947     Daniel A.   Speights &                      Auburn, NY
   Office Building                  Speights    Runyan
18 St. Luke's Hospital   010998     Daniel A.   Speights &   St. Luke's        Bethlehem, PA
                                    Speights    Runyan       Hospital
18 Schuyler Hospital     011003     Daniel A.   Speights &   Schuyler Hospital Montour Falls, NY
                                    Speights    Runyan
20 Santa Teresa          011018     Daniel A.   Speights &   Santa Teresa       San Jose, CA
   Medical Office                   Speights    Runyan       Medical Office
   Building                                                  Building
21 Nebraska Skilled      011046     Daniel A.   Speights &                      Omaha, NE
   Nursing and                      Speights    Runyan
   Rehabilitation
22 Virtua Health -       011226     Daniel A.   Speights &                      Voorhees, NJ
   West Jersey                      Speights    Runyan
   Hospital Voorhees

23 Titusville Area       011106 /   Daniel A.   Speights &                      Titusville, PA
   Hospital / Farrell    011144     Speights    Runyan
   Hospital
24 Hotel Captain         011110     Daniel A.   Speights &   Hotel Captain      5th & K Street,
   Cook - Tower # 2                 Speights    Runyan       Cook               Anchorage, AK
25 Gundersen             011124     Daniel A.   Speights &   Gundersen          Lacrosse, WI
   Lutheran Medical                 Speights    Runyan       Lutheran Medical
   Center                                                    Center
26 Arkansas Baptist      011128     Daniel A.   Speights &   Arkansas Baptist   Little Rock, AR
   Health Medical                   Speights    Runyan       Medical Center
   Center
27 Abbeville General     011133     Daniel A.   Speights &   Abbeville General Abbeville, LA
   Hospital                         Speights    Runyan       Hospital
28 St. Anthony's         011151     Daniel A.   Speights &   St. Anthony's     Carroll, IA
   Regional Hospital                Speights    Runyan       Hospital
   & Nursing Home

29 Fulton County         011158     Daniel A.   Speights &   Fulton County      S. Snoop Ave., Wausein,
   Health Center                    Speights    Runyan       Health Center      OH
30 Ohio Savings          011179     Daniel A.   Speights &                      1801 E. Ninth Street,
   Plaza                            Speights    Runyan                          Cleveland, OH




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    Claimant Name Claim Number       Counsel   Firm Name     Building Name       Property Address

31 YWCA of Greater      011153     Daniel A.   Speights &                     8th & Grand Ave., Des
   Des Moines                      Speights    Runyan                         Moines, IA

32 Scottish Rite        011200     Daniel A.   Speights &   Scottish Rite     West & Linden Streets,
   Cathedral                       Speights    Runyan       Cathedral         Allentown, PA
33 First Tennessee      011722     Daniel A.   Speights &   National Bank     Memphis, TN
   Bank                            Speights    Runyan       Building
34 Panda Prints         011257     Daniel A.   Speights &
                                   Speights    Runyan
35 McKenzie             011262     Daniel A.   Speights &                     Eugene, OR
   Williamette                     Speights    Runyan
   Medical Center
36 Keller Building      011384     Daniel A.   Speights &   Keller Memorial   Fayette, MO
                                   Speights    Runyan       Hospital
37 Virtua West Jersey   011389     Daniel A.   Speights &                     Evesham Township, NJ
   Hospital Marlton                Speights    Runyan

38 The Homeplace of     011422     Daniel A.   Speights &   Buffalo Memorial Mondovi, WI
   Mondovi Hospital                Speights    Runyan       Hospital

39 Dodge County         011550     Daniel A.   Speights &
   Hospital                        Speights    Runyan
40 Carson Pirie Scott   011555     Daniel A.   Speights &                     Waukegan, IL
   Store - Store #                 Speights    Runyan
   537
41 Harry C. Levy        011572     Daniel A.   Speights &                     Las Vegas, NV
   Gardens                         Speights    Runyan
42 Jordan Hospital,     011689     Daniel A.   Speights &
   Inc.                            Speights    Runyan
43 University of New    011701     Daniel A.   Speights &
   England -                       Speights    Runyan
   Westbrook
   College Campus
44 1199 SEIU            011703     Daniel A.   Speights &   310 W. 43rd       310 W. 43rd St., New
                                   Speights    Runyan       Street Building   York, NY




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                               EXHIBIT 22 TO EXHIBIT BOOK
                           SEALED AIR SETTLEMENT AGREEMENT

                                                                                                 EXHIBIT 22

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

In re:                         )    Chapter 11
                               )    Case Nos. 01-1139 through 01-1200
W.R. GRACE & CO., et al.,      )
                               )
                   Debtors.    )
                               )
OFFICIAL COMMITTEE OF          )
ASBESTOS PERSONAL INJURY )
CLAIMANTS, et al.,             )
                               )
                   Plaintiffs, )
                               )
      -against-                )    Adv. No. 02-2210
                               )    [LEAD DOCKET]
SEALED AIR CORPORATION         )
and CRYOVAC, INC.,             )
                               )
                   Defendants. )
______________________________)
OFFICIAL COMMITTEE OF          )
ASBESTOS PERSONAL INJURY )
CLAIMANTS, et al.,             )
                               )    Adv. No. 02-2211
                   Plaintiffs, )
                               )
      -against-                )
                               )
FRESENIUS MEDICAL CARE,        )
HOLDINGS, INC., et al.,        )    This Document Pertains to Adv. No.
                               )    02–2210
                               )
                   Defendants. )
______________________________)

                   SETTLEMENT AGREEMENT AND RELEASE




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               This Settlement Agreement and Release, dated November 10, 2003, is made by and

among the Official Committee of Asbestos Personal Injury Claimants, the Official Committee of

Asbestos Property Damage Claimants, Sealed Air Corporation, a Delaware corporation, and

Cryovac, Inc., a Delaware corporation.

I.     Definitions

               As used in this Agreement, the following capitalized terms shall have the following

meanings (such meanings to be equally applicable to the singular and plural forms of the terms

defined), unless a paragraph or subparagraph of this Agreement expressly provides otherwise:

       a.      "Action" means the suit styled Official Committee of Asbestos Personal Injury

Claimants and Official Committee of Asbestos Property Damage Claimants of W.R. Grace & Co.,

suing in behalf of the Chapter 11 Bankruptcy Estate of W.R. Grace & Co., et al. v. Sealed Air

Corporation and Cryovac, Inc., Adv. No. 02-2210 (D. Del.).

       b.      "Actually Realized" shall have the meaning set forth in paragraph VI(h) of this

Agreement.

       c.      "Affiliate" means with respect to any Person, any other Person that directly or

indirectly, through one or more intermediaries, controls, is controlled by, or is under common control

with, such Person.

       d.      "Agreement" means this Settlement Agreement and Release and any exhibits,

schedules, and annexes thereto, including, without limitation, the Registration Rights Agreement

attached hereto as Exhibit 1 (the "Registration Rights Agreement").

       e.      "Announcement" means an "Announcement" (including any successor name to an

Announcement) published in the Internal Revenue Bulletin (including any successor publication).

       f.      "Anti-Dilution" means the provisions set forth in Article III of this Agreement.


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        g.      "Asbestos Claims" means, collectively, Asbestos Personal Injury Claims, Asbestos

Property Damage Claims, and any 'demand' related thereto as the term is defined in section 524(g)(5)

of the Bankruptcy Code.

        h.      "Asbestos Personal Injury Claims" means any and all Claims, Debts, and Damages

for death, bodily injury, sickness, disease, medical monitoring, or other personal injuries (whether

physical or not) caused or allegedly caused by, based on, arising out of, or attributable to, directly

or indirectly, in whole or in part, the presence of or exposure at any time to asbestos or asbestos-

containing material or products, mined, processed, consumed, used, stored, manufactured, designed,

sold, assembled, distributed, disposed of, or installed by or on behalf of any Debtor or any of its

predecessors, successors, or assigns, or any current or former Affiliate of any of the foregoing,

including, without limitation, any Claims, Debts, and Damages for reimbursement, indemnification,

subrogation, or contribution.

        i.      "Asbestos Property Damage Claims" means any and all Claims, Debts, and Damages

for or arising out of property damage, including, without limitation, the cost of inspecting,

maintaining, encapsulating, abating, repairing, decontaminating, removing, or disposing of asbestos

or asbestos containing materials or products in buildings or other structures, or other property caused

or allegedly caused by, based on, arising out of, or attributable to, directly or indirectly, in whole or

in part, the installation in, presence in, or removal of asbestos or asbestos-containing material or

products mined, processed, consumed, used, stored, manufactured, designed, sold, assembled,

distributed, disposed of, or installed by or on behalf of any Debtor or any of its predecessors,

successors, or assigns, or any current or former Affiliate of any of the foregoing, including, without

limitation, any Claims, Debts, or Damages for reimbursement, indemnification, subrogation, or

contribution.


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       j.      "Asbestos-Related Claims" means any and all Claims, Debts, or Damages based on

or arising from, in whole or in part, directly or indirectly: (i) Asbestos Claims or (ii) Successor

Claims based on or arising from, in whole or in part, directly or indirectly, the Cryovac Transaction.

       k.      "Bankruptcy Code" means title 11 of the United States Code as in effect on the date

of this Agreement.

       l.      "Bankruptcy Court" means the United States Bankruptcy Court for the District of

Delaware.

       m.      "Bankruptcy Termination Event" means, in the case of either of Sealed Air

Corporation or Cryovac, Inc., (a) the filing by such entity of a voluntary petition for relief under the

Bankruptcy Code or (b) the pendency against such entity of an involuntary petition for relief under

the Bankruptcy Code (i) that has not been dismissed within ninety days of the filing or (ii) upon

which an order for relief granting the involuntary petition has been entered.

        n.      "CFO Annual Statement" shall have the meaning set forth in paragraph VI(j)(ii) of

this Agreement.

        o.      "Change in Circumstances" means (i) for U.S. federal income tax purposes, (x) any

amendment to the Internal Revenue Code or the final or temporary regulations promulgated under

the Internal Revenue Code, (y) a decision by any federal court, or (z) a Revenue Ruling, Notice,

Revenue Procedure, or Announcement, which amendment is enacted, promulgated, issued, or

announced, or which decision, Revenue Ruling, Notice, Revenue Procedure, or Announcement is

issued or announced, in each case, after the Execution Date, and (ii) for financial accounting

purposes, any amendment to or change in generally accepted accounting principles, which

amendment is issued or announced or, which change occurs, in each case, after the Execution Date.

        p.      "Chapter 11 Plan" means a confirmed plan or plans of reorganization of the Debtors.


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        q.      "Claims" means any and all claims, whether direct, indirect, derivative or otherwise,

including, without limitation, 'claim' as the term is defined in section 101(5) of the Bankruptcy Code

(except that a right to an equitable remedy shall also be considered a claim whether or not the breach

gives rise to a right to payment), remedies, or causes of actions, liability, Debts, or Damages, known

or unknown, now existing or hereafter arising, that have been, could have been, may be, or could be

alleged or asserted now or in the future by any Person against the Debtors, their predecessors,

successors, assigns, or any current or former Affiliate of any of the foregoing, or the Released

Parties, of whatsoever kind or nature, whether alleged or asserted or not, whether founded in law,

equity, admiralty, tort, contract, statute, or otherwise, and includes, without limitation, demands,

liability, suits, judgments, and all legal or equitable theories of recovery whether arising under the

common law or any statute, ordinance, or regulation. Without limiting the generality of the

foregoing, Claims shall include any and all claims, causes of action, Debts, or Damages under or

attributable to: (i) chapter 5 of the Bankruptcy Code; (ii) successor liability, piercing the corporate

veil, alter ego liability, agency liability, transferee liability, or other similar claims or causes of action

seeking to hold a Person liable for the debts or obligations of another Person; (iii) chapter 176 of title

28 of the United States Code or any other similar statutes; (iv) any debtor-creditor, fraudulent

transfer or fraudulent conveyance statutes; or (v) any other similar claims or causes of action (all

such Claims, causes of action, Debts, or Damages under or attributable to (i) through (v),

collectively, "Successor Claims").

        r.      "Confirmation Order" means an order or orders confirming the Chapter 11 Plan.

        s.      "Contrary Opinion" means (i) a written opinion from a nationally recognized law firm

experienced in Tax matters that states that, as a result of a Change in Circumstances, there is no

"reasonable basis", as defined under section 6662 of the Internal Revenue Code (or successor


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provision thereof), for the taking of, or the failure to take, a Defined Action referred to in paragraph

II(c)(ix), (x), or (xi), VI(b) or VI(g), of this Agreement, as the case may be, by such Plaintiff, 524(g)

Trust, Debtor or Non-Debtor Affiliate, as the case may be, or (ii) a written opinion from nationally

recognized accounting firm that states that, as a result of a Change in Circumstances, the taking, or

the failure to take, a Defined Action referred to in paragraph II(c)(ix), (x), or (xi), VI(b) or VI(g), of

this Agreement, as the case may be, by such Plaintiff, 524(g) Trust, Debtor or Non-Debtor Affiliate,

as the case may be, will be inconsistent with generally accepted accounting principles.

        t.      "Court" means the court in which the Action is pending or, if no longer pending, the

Bankruptcy Court.

        u.      "Cryovac Cash Amount" shall have the meaning set forth in paragraph II(a) of this

Agreement.

        v.      "Cryovac Remaining Amount" means an amount of cash and the number of shares

of Sealed Air Common Stock equal to the excess, if any, of (i) the Cryovac Total Amount over (ii)

the Cryovac 524(g) Trust Amount.

        w.      "Cryovac Total Amount" means the sum of the Cryovac Cash Amount and the Fair

Market Value of the Settlement Shares, provided, however, that this sum shall be subject to any

setoff or reduction pursuant to paragraph II(j) of this Agreement.

        x.      "Cryovac 524(g) Trust Amount" means an amount of cash and the number of shares

of Sealed Air Common Stock equal in the aggregate to the lesser of (i) the Cryovac Total Amount

and (ii) the 524(g) Trust Total Amount less the Grace Specialty Initial Contribution.

        y.      "Cryovac 524(g) Trust" means any 524(g) Trust to which all or a portion of the

Cryovac Cash Amount or the Settlement Shares will be directly transferred by Cryovac, Inc. pursuant

to paragraph II(a) of this Agreement.


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       z.      "Cryovac Transaction" means the transfers of assets, the distributions of stock, the

merger, and all predecessor, related, and ancillary transactions, agreements, transfers, and

distributions relating to the transactions described in, referred to, or contemplated by Form S-4

Registration Statement filed by W.R. Grace & Co. with the Securities and Exchange Commission

under the Securities Act of 1933, as amended, on or about February 13, 1998, SEC File No. 333-

46281, including all attachments, exhibits, and schedules thereto.

       aa.      "Damages" means any and all potential elements of recovery or relief, including,

without limitation, those that are known, unknown, certain, uncertain, anticipated, or unanticipated,

that have been, could have been, may be, or could be alleged or asserted now or in the future against

the Released Parties, whether alleged, unalleged, asserted, or unasserted by Plaintiffs or by any other

Person under any legal, regulatory, administrative, or equitable theory against the Released Parties,

and includes, without limitation, equitable relief, declaratory relief, actual damages (whether for

successor liability, fraudulent transfer, fraudulent conveyance, alter ego liability, agency liability,

property damage, environmental liability, Tax liability, economic loss, loss of profits, medical

expenses, medical monitoring, personal injury, loss of consortium, wrongful death, survivorship, or

compensatory, proximate, consequential, general, incidental, or special damages, or any other

liability, loss, or injury), statutory or treble, or multiple or penal or punitive or exemplary damages,

attorneys' fees, interest, expenses, and costs of court.

       bb.      "Debtors" means W.R. Grace & Co., W.R. Grace & Co.-Conn., and related entities

that have filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the

Bankruptcy Court, each of their estates, any trustee or examiner that may be appointed in any of the

Debtors' cases under the Bankruptcy Code, and the reorganized Debtors and includes, without

limitation, any new corporation or other entity to which the stock or the assets of any of the Debtors,


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or any combination thereof, are transferred pursuant to the Chapter 11 Plan (other than a 524(g)

Trust, or an unrelated third-party that has purchased assets from a Debtor pursuant to section 363 of

the Bankruptcy Code).

         cc.    "Debts" means any liability or obligation arising from, based on, or attributable to any

Claim.

         dd.    "Defined Action" means any action, including the filing of any Tax Return, a

Protective Claim or other information with respect to Taxes, making any statement in any public or

regulatory filing or press release or otherwise, relating to any obligation of a Person set forth or

referred to in paragraph II(c)(ix), (x), or (xi), VI(b) or VI(g), of this Agreement, provided, however,

that a Defined Action shall not include the making of a statement by any of the Plaintiffs or the

Debtors in a court document filed in the Debtors' chapter 11 cases or in an oral statement to the court

in the Debtors' chapter 11 cases if, with respect to such Defined Action, such Plaintiff or Debtor has

used its best efforts to satisfy its obligations set forth or referred to in paragraphs II(c)(ix), (x), and

(xi), VI(b) or VI(g), of this Agreement, and provided, further, that a Defined Action shall not include

(x) the preparation and execution of a Grace Protective Claim by the Debtors pursuant to and in

accordance with paragraph VI(h) of this Agreement and (y) the pursuit by the Debtors of a Grace

Protective Claim pursuant to and in accordance with the third sentence of paragraph VI(i) of this

Agreement.

         ee.    "Effective Date" means the date that is ten business days after the Confirmation Order

becomes a Final Order or, if later, the date by which transfers to the 524(g) Trusts must be made

pursuant to the Chapter 11 Plan and Confirmation Order.




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       ff.     "Excluded Fees" means costs and expenses (including lawyer's fees, expert's fees, and

accountant's fees) incurred by the Released Parties in defending the Action or any other proceedings

or controversies arising out of or based upon Asbestos-Related Claims prior to the Effective Date.

       gg.     "Execution Date" means November 10, 2003.

       hh.     "Fair Market Value" means (i) with respect to each of the Settlement Shares the last

sale price on the New York Stock Exchange of a share of Sealed Air Common Stock, regular way,

one business day before the Effective Date, and (ii) with respect to other property, the value assigned

to such property in the disclosure statement approved by a Final Order of the Bankruptcy Court

pursuant to section 1125(b) of the Bankruptcy Code with respect to the Chapter 11 Plan.

       ii.     "Final Determination" means any assessment or resolution of liability for any Tax for

any taxable period with respect to a Tax Claim against such Person required to take, or prohibited

from taking, a Defined Action pursuant to the provisions set forth or referred to in this Agreement

(i) by a decision, decree or other order by a court of competent jurisdiction, which has become final

and unappealable or (ii) by any other means (including a closing agreement or accepted offer in

compromise under section 7121 or 7122 of the Internal Revenue Code) if Cryovac, Inc. has

consented to such other means, which consent shall not be unreasonably withheld or delayed.

       jj.     "Final Order" means an order or judgment, the operation or effect of which has not

been stayed, reversed, or amended and as to which order or judgment (or any revision, modification,

or amendment thereof) the time to appeal or to seek review or rehearing has expired and as to which

no appeal or petition for review or rehearing was filed, or if filed, remains pending.

       kk.     "Fresenius" means Fresenius Medical Care Holdings, Inc., its Affiliates, and any and

all of their predecessors, successors, and assigns.




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       ll.     "Fresenius Release" means a duly executed release in the form annexed hereto as

Exhibit 5, with appropriate insertions thereto.

       mm.     "Fresenius Transaction" means the transfer of assets, the distributions of stock, and

the merger and all predecessor related and ancillary transactions, agreements, transfers, and

distributions relating to the transactions described in, referred to, or contemplated by Form S-4

Registration Statement filed by W.R. Grace & Co. with the Securities and Exchange Commission

under the Securities Act of 1933, as amended, on or about August 2, 1996, SEC File No. 333-09497,

including all attachments, exhibits and schedules thereto.

       nn.     "Government Plaintiff" means the United States of America, acting for and on behalf

of the United States Environmental Protection Agency.

       oo.     "Government Release" means a release in the form annexed hereto as Exhibit 2, with

appropriate insertions therein.

       pp.     "Grace New York" means W.R. Grace & Co., a New York corporation (now known

as Fresenius Medical Care Holdings, Inc.) (Taxpayer Identification Number XX-XXXXXXX).

       qq.     "Grace New York Group" means that group of corporations, including, without

limitation, W.R. Grace & Co.-Conn., Cryovac, Inc., and Sealed Air Corporation, that were members

through (and including) September 28, 1996 or December 31, 1996, as applicable, of the affiliated

group of corporations within the meaning of section 1504 of the Internal Revenue Code, and the

Treasury Regulations, of which Grace New York was the common parent, and, with respect to

Taxes of other jurisdictions (domestic or foreign), that group of corporations that included Grace

New York or one or more members of the Grace New York Group with respect to any combined,

consolidated, joint, or similar Tax Return under the laws of any jurisdiction (domestic or foreign).




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       rr.     "Grace Protective Claim" shall have the meaning set forth in paragraph VI(h) of this

Agreement.

       ss.     "Grace Specialty" means W.R. Grace & Co. (formerly known as Grace Specialty

Chemicals, Inc.) (Taxpayer Identification Number XX-XXXXXXX), or its successor.

       tt.     "Grace Specialty Initial Contribution" means, with respect to the 524(g) Trusts in the

aggregate, the "voting shares of" and "rights" in (as those terms are used in section

524(g)(2)(B)(i)(III) of the Bankruptcy Code) Grace Specialty or one or more other Debtors to be

received by such 524(g) Trusts pursuant to section 524(g)(2)(B)(i)(III)(aa), (bb), or (cc), as the case

may be, which voting shares and rights, if exercised, would entitle such 524(g) Trusts to own the

lesser of (i) 50.1% of the voting shares of such entity or entities or (ii) the percentage of voting

shares of such entity or entities that are to be received by the 524(g) Trusts.

       uu.     "Grace Taxes" means all Taxes imposed on or with respect to, or related or

attributable to, the Grace New York Group or any member thereof for or attributable to any taxable

period (or any portion thereof) ending on or before December 31, 1996.

       vv.     "Indemnified Taxes" means all Taxes and other amounts that W.R. Grace & Co.-

Conn. or any other Debtor is responsible for or required to pay, or is required to indemnify any

Released Party for or in respect thereto, pursuant to the 1998 Tax Sharing Agreement and including,

without limitation, all Grace Taxes.

       ww.     "Internal Revenue Code" means the Internal Revenue Code of 1986.

       xx.     "IRS" means the Internal Revenue Service.

       yy.     "Material Draft" means each of (i) the first draft of a Trust Document circulated to

any Person who is not in an attorney-client relationship with the draftsman, (ii) the first draft of a

Trust Document circulated following the draft of such Trust Document that Cryovac, Inc. or its


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representatives provided comments with respect thereto, pursuant to and in accordance with the last

sentence of paragraph VI(a) of this Agreement (such comments, the "Cryovac Language"), (iii) the

first draft of a Trust Document that contains the Cryovac Language (or any variation thereof), (iv)

any draft of a Trust Document which contains changes to the Cryovac Language (as the same may

be amended or modified), or language inconsistent with the Cryovac Language or paragraphs

II(c)(ix), (x), and (xi) of this Agreement, (v) the draft of a Trust Document that the Plaintiffs or the

Debtors, as the case may be, reasonably believe is the penultimate draft of such document and (vi)

the final draft of a Trust Document.

        zz.     "Non-Debtor Affiliates" means the Affiliates of the Debtors that are not debtors or

debtors in possession under the Bankruptcy Code.

        aaa.    "Notice" means a "Notice" (including any successor name to a Notice) published in

the Internal Revenue Bulletin (or successor publication).

        bbb.    "Paragraph II(a) Proviso" shall have the meaning set forth in paragraph II(a) of this

Agreement.

        ccc.    "Paragraph VI(f) Issue" shall have the meaning set forth in paragraph VI(f) of this

Agreement.

        ddd.    "Person" means any individual, corporation, company, partnership, limited liability

company, firm, association, joint venture, joint stock company, trust, estate, business trust,

unincorporated organization, any other entity, and any 'governmental unit' (as that term is defined

in section 101(27) of the Bankruptcy Code).

        eee.    "Plaintiffs" means the Official Committee of Asbestos Personal Injury Claimants and

the Official Committee of Asbestos Property Damage Claimants of W.R. Grace & Co., suing in

behalf of the Chapter 11 Bankruptcy Estate of W.R. Grace & Co.


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       fff.    "Preliminary Injunction" means the preliminary injunction issued by the Bankruptcy

Court on May 3, 2001, as modified on January 22, 2002, in W.R. Grace & Co. v. Chakarian,

Adversary No. A-01-771 (Bankr. D. Del.), staying all actions arising from alleged exposure to

asbestos indirectly or directly allegedly caused by Debtors or alleging fraudulent transfer or

fraudulent conveyance claims that were filed or pending against Sealed Air Corporation, Cryovac,

Inc., or certain of their Affiliates and staying all such future actions upon filing and service against

Sealed Air Corporation, Cryovac, Inc., or certain of their Affiliates.

       ggg.    "Protective Claim" means a Form 1120X (Amended U.S. Corporation Income Tax

Return) or similar state or local tax form, which is prominently and clearly labeled on every page

thereof with the words "Protective Claim Only" and which clearly and prominently states that the

Person filing such form asserts its right to the claimed Tax benefits conditionally or contingently,

and only in the event that such Tax benefits are denied in full to Cryovac, Inc. (or the consolidated,

combined, unitary or similar group of which Sealed Air Corporation is the common parent) by a

decision, decree or other order by a court of competent jurisdiction, which has become final and

unappealable, or by a closing agreement or accepted offer in compromise under section 7121 or 7122

of the Internal Revenue Code entered into by Sealed Air Corporation and the Internal Revenue

Service.

        hhh.    "Qualified Settlement Fund" shall have the meaning set forth in paragraph II(c)(ix)

of this Agreement.

        iii.   "Release" means a release, in the form annexed hereto as Exhibit 3, with appropriate

insertions therein.

        jjj.    "Released Parties" means Sealed Air Corporation, Cryovac, Inc., and all of their

parent corporations, subsidiary corporations, joint venturers, Affiliates, and sister corporations, and


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any and all of their past, present, and future agents, servants, officers, directors, employees,

successors, assigns, heirs, executors, administrators,legal representatives, beneficiaries, insurers (but

solely to the extent of coverage procured by Sealed Air Corporation (after March 31, 1998) or

Cryovac, Inc. (after such date) of any liabilities of Sealed Air Corporation or Cryovac, Inc. for

Asbestos-Related Claims), or any of them, including any Person acting on behalf of or at the

direction of any of them, but specifically excluding (i) the Debtors, (ii) all Non-Debtor Affiliates,

(iii) Fresenius (to the extent of any and all Claims, Damages, or Debts arising out of the Fresenius

Transaction), and (iv) any and all insurers of the Debtors or the Non-Debtor Affiliates to the extent

that they have provided coverage for Asbestos-Related Claims now or hereafter asserted or which

could have been asserted at any time against the Debtors or the Non-Debtor Affiliates.

        kkk.    "Relevant Tax Year" shall have the meaning set forth in paragraph VI(h) of this

Agreement.

        lll.    "Revenue Procedure" means a "Revenue Procedure" (including any successor name

to a Revenue Procedure) published in the Internal Revenue Bulletin (or successor publication).

        mmm. "Revenue Ruling" means a "Revenue Ruling" (including any successor name to a

Revenue Ruling) published in the Internal Revenue Bulletin (or successor publication).

        nnn.    "Sealed Air Common Stock" means the voting common stock, par value $0.10 per

share, of Sealed Air Corporation.

        ooo.    "Sealed Air Opinion" means, with respect to any Contrary Opinion obtained by any

Plaintiff, Cryovac 524(g) Trust, Debtor, or Non-Debtor Affiliate, as the case may be, with respect

to a Defined Action (i) if such Contrary Opinion is with respect to a Tax issue, a written opinion

addressed to such Plaintiff, Cryovac 524(g) Trust, Debtor or Non-Debtor Affiliate, as the case may

be, from a nationally recognized law firm experienced in Tax matters that states that there is


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"substantial authority", as defined under section 6662 of the Internal Revenue Code (or successor

provision thereof), for the taking of, or the failure to take, such Defined Action or, (ii) if such

Contrary Opinion is with respect to an accounting issue, a written opinion addressed to such

Plaintiff, Cryovac 524(g) Trust, Debtor or Non-Debtor Affiliate, as the case may be, from nationally

recognized accounting firm that states that the taking, or the failure to take, such Defined Action will

not be inconsistent with generally accepted accounting principles.

       ppp.    "Settlement Shares" shall have the meaning set forth in paragraph II(a) of this

Agreement.

       qqq.     "SOL" shall have the meaning set forth in paragraph VI(h) of this Agreement.

       rrr.     "Successor Claims" shall have the meaning set forth in the definition of Claims.

       sss.    "Tax" or "Taxes" means all taxes, customs, duties, levies, fees, tariffs, imports,

deficiencies, or other charges or assessments of any kind whatsoever, including all net income, gross

income, capital gains, gross receipt, property, franchise, sales, use, excise, withholding, payroll,

employment, social security, worker's compensation, unemployment, occupation, severance, capital

stock, ad valorem, value added, transfer, gains, profits, net worth, asset, transaction, business

consumption or other taxes, and any interest, penalties, fines, additions to tax or additional amounts

with respect thereto, imposed by any governmental authority (whether domestic or foreign).

        ttt.    "Tax Benefit" shall have the meaning set forth in paragraph VI(h) of this Agreement.

        uuu.    "Tax Benefit Accountant" shall have the meaning set forth in paragraph VI(j) of this

Agreement.

        vvv.    "Tax Benefit Dispute Notice" shall have the meaning set forth in paragraph VI(j) of

this Agreement.




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       www. "Tax Benefit Report" shall have the meaning set forth in paragraph VI(j) of this

Agreement.

       xxx.    "Tax Benefit Start Date" shall have the meaning set forth in paragraph VI(j)(ii) of this

Agreement.

       yyy.    "Tax Benefit Statement" shall have the meaning set forth in paragraph VI(j) of this

Agreement.

       zzz.    "Tax Claim" shall have the meaning set forth in paragraph VI(c) of this Agreement.

       aaaa. "Tax Return" means all returns, reports and information (including elections,

declarations, disclosures, schedules, estimates and information returns) required to be supplied to

a Tax Authority relating to Taxes.

       bbbb. "Transfer" shall have the meaning set forth in paragraph VI(h) of this Agreement.

       cccc. "Transferor" shall have the meaning set forth in paragraph II(c)(ix) of this Agreement.

       dddd. "Treasury Regulations" means the treasury regulations (including temporary

regulations) promulgated pursuant to the Internal Revenue Code.

       eeee. "Trust Document" means, for each trust to which all or any portion of the Cryovac

Cash Amount or the Settlement Shares is directly transferred by Cryovac, Inc. pursuant to paragraph

II(a) of this Agreement, each of the plan of reorganization of the Debtors, and any document

pursuant to which such trust is organized or created (and any amendments thereto).

       ffff.   "524(g) Trust" means any trust established pursuant to 11 U.S.C. § 524(g), as

provided in the Chapter 11 Plan and the Confirmation Order.

       gggg. "524(g) Trust Total Amount" means the sum of the aggregate amount of cash and the

Fair Market Value of all property to be contributed to all of the 524(g) Trusts, as provided in the

Chapter 11 Plan and the Confirmation Order.


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        hhhh. "1998 Tax Sharing Agreement" means the Tax Sharing Agreement by and among

W.R. Grace & Co., W.R. Grace & Co.-Conn., and Sealed Air Corporation, dated as of March 30,

1998.

II.     Settlement Agreement and Release of All Claims

        a.     On the Effective Date, Cryovac, Inc. shall, subject to paragraph II(j) of this

Agreement, transfer in the aggregate (i) the sum of $512.5 million in cash, plus interest thereon from

December 21, 2002 until the Effective Date, at a rate of 5.5% per annum compounded annually (the

"Cryovac Cash Amount"), and (ii) nine million shares of Sealed Air Common Stock, as adjusted for

Anti-Dilution (the "Settlement Shares"). Such transfer shall be made as directed in the Confirmation

Order; provided, however, that each of the Plaintiffs shall use its best efforts to require the Chapter

11 Plan (whether confirmed under section 1129(a) or (b) of the Bankruptcy Code) to provide that

the Cryovac Cash Amount and the Settlement Shares shall be transferred by Cryovac, Inc. directly

to one or more of the 524(g) Trusts for Asbestos Claims, unless the 524(g) Trust Total Amount

reduced by the Grace Specialty Initial Contribution is less than the Cryovac Total Amount, in which

case, the Chapter 11 Plan shall provide that Cryovac, Inc. shall transfer (x) in the aggregate directly

to one or more of the 524(g) Trusts for Asbestos Claims, an amount of cash and shares of Sealed Air

Common Stock equal, in the aggregate, to the Cryovac 524(g) Trust Amount, in the same proportion

that the Cryovac Cash Amount and the Fair Market Value of the Settlement Shares, respectively,

bears to the sum of both, and (y) directly to Grace Specialty, an amount of cash and shares of Sealed

Air Common Stock equal, in the aggregate, to the Cryovac Remaining Amount, in such same

proportions (this proviso, the "Paragraph II(a) Proviso"). The provisions of paragraph II(b) of this

Agreement shall apply first with respect to the Plaintiffs' obligations set forth in the Paragraph II(a)

Proviso. If the Chapter 11 Plan cannot be confirmed in accordance with both the Paragraph II(a)


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Proviso and paragraph II(b) of this Agreement, then each of the Plaintiffs shall use its best efforts

to require that the Chapter 11 Plan (whether confirmed under section 1129(a) or (b) of the

Bankruptcy Code) (x) maximize the initial funding of one or more of the 524(g) Trusts from the

Cryovac Cash Amount and the Settlement Shares, and provide for the transfer of such funding by

Cryovac Inc. directly to such 524(g) Trusts for Asbestos Claims and (y) provide that such amounts

not transferred by Cryovac Inc. directly to such 524(g) Trusts will be transferred by Cryovac Inc.

directly to Grace Specialty, and paragraph II(b) of this Agreement shall apply anew to these

obligations. If the transfers made pursuant to this paragraph II(a) are directed to more than one

524(g) Trust, then the portion of the entire amount to be transferred to such 524(g) Trusts shall be

allocated among each of such 524(g) Trusts pursuant to and in accordance with the Confirmation

Order. Under no circumstances shall any fractional shares of Sealed Air Common Stock be

transferred pursuant to this Agreement or any Person be the transferee of less than one thousand

shares of Sealed Air Common Stock pursuant to this Agreement, provided, however, that in no event

shall the Cryovac 524(g) Trusts incur any costs or expenses associated with such one thousand share

limitation, nor shall such limitation affect the apportionment, if any, of the Settlement Shares and

the Cryovac Cash Amount that may be allocated between the Cryovac 524(g) Trusts, on the one

hand, and Grace Specialty, on the other hand. Sealed Air Corporation irrevocably, absolutely and

unconditionally guarantees the performance of the obligations of Cryovac, Inc. set forth in this

paragraph II(a) and the right of the Plaintiffs to enforce this guaranty shall not require the Plaintiffs

first to proceed against Cryovac, Inc.

        b.      In furtherance of the Plaintiffs' obligations pursuant to paragraph II(a) of this

Agreement, each of the Plaintiffs shall: (i) support the approval of a disclosure statement(s) that

relates to a Chapter 11 Plan that satisfies the provisions set forth in paragraph II(a) of this Agreement


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(such a Chapter 11 Plan, the "Conforming Plan"), as long as the Conforming Plan meets the

requirements for confirmation set forth in sections 524 and 1129 of the Bankruptcy Code, regardless

of whether confirmation may be obtained under section 1129(a) or (b) of the Bankruptcy Code; (ii)

recommend to the creditors and parties in interest the interests of which are represented by it to vote

in favor of the confirmation of the Conforming Plan; (iii) oppose the approval of any disclosure

statement that relates to a non-Conforming Plan; (iv) recommend to the creditors and parties in

interest the interests of which are represented by it to vote against the confirmation of a non-

Conforming Plan; (v) not take any action, of whatever kind and nature, to oppose, or designed to

prevent confirmation of, the Conforming Plan; and (vi) take any action, of whatever kind and nature,

that is necessary, required or appropriate in order to confirm the Conforming Plan, provided,

however, that the Plaintiffs shall not be required to support or recommend a Conforming Plan which,

in the exercise of Plaintiffs' respective fiduciary obligations, is determined to be unacceptable (other

than as to provisions required by the terms of this Agreement), and provided, further, that the

Plaintiffs shall not be bound by the provisions of paragraphs II(b)(i) through (vi) of this Agreement

if (x) the Bankruptcy Court determines in a Final Order, on a motion brought by a party in interest,

and on notice to Sealed Air Corporation and Cryovac, Inc., seeking an order excusing their

performance under the provisions contained in paragraphs II(b)(i) through (vi) of this Agreement,

that the Conforming Plan cannot meet the confirmation requirements set forth in sections 524 and

1129 of the Bankruptcy Code, or (y) the Bankruptcy Court refuses to confirm the Conforming Plan,

except if such refusal relates to issues unrelated to the requirements contained in paragraph II(a) of

this Agreement. The provisions of this paragraph II(b) shall apply as set forth in paragraph II(a) of

this Agreement.




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       c.      As a condition to the obligations of Cryovac, Inc. set forth in paragraph II(a) of this

Agreement, each of the Confirmation Order and the Chapter 11 Plan shall expressly provide that:

       (i) each of the Plaintiffs and the Debtors shall execute and deliver the Release, and the
       Government Plaintiff shall execute and deliver the Government Release;

       (ii) in consideration of the transfers made pursuant to paragraph II(a) of this Agreement, each
       of the Non-Debtor Affiliates irrevocably releases, acquits, and forever discharges the
       Released Parties from any and all Asbestos-Related Claims, and any and all Claims, Debts,
       and Damages on the basis of, arising from, or attributable to (in whole or in part, directly or
       indirectly) the Fresenius Transaction, that have accrued or been asserted or that hereafter
       might accrue or be asserted against the Released Parties, and that each Non-Debtor Affiliate
       shall not institute, participate in, maintain, maintain a right to or assert against the Released
       Parties, either directly or indirectly, on its own behalf, derivatively, or on behalf of any other
       Person any and all Asbestos-Related Claims, and any and all Claims, Debts, and Damages
       on the basis of, arising from, or attributable to (in whole or in part, directly or indirectly) the
       Fresenius Transaction;

       (iii) the Action shall be dismissed with prejudice;

       (iv) each of the Release and the Government Release is approved;

       (v) the Plaintiffs shall deliver the Fresenius Release;

       (vi) the Released Parties shall receive the full benefit of an injunction under sections 524(g)
       and 105(a) of the Bankruptcy Code, which injunction shall be in form and substance
       reasonably acceptable to Sealed Air Corporation and Cryovac, Inc. and which injunction
       shall include, without limitation, provisions enjoining any and all Persons from taking any
       and all legal or other actions (including, without limitation, the continued prosecution of
       pending 'Actions' or the commencement of future 'Actions' as such term is defined in the
       Preliminary Injunction) or making any demand (as such term is defined in section 524(g)(5)
       of the Bankruptcy Code) for the purpose of, directly or indirectly, claiming, collecting,
       recovering, or receiving any payment, recovery or any other relief whatsoever from any of
       the Released Parties with respect to any and all Asbestos-Related Claims;

       (vii) (A) the Debtors shall, jointly and severally, at their sole expense, indemnify, defend, and
       hold-harmless the Released Parties from and against (1) any and all Asbestos-Related Claims
       and all Indemnified Taxes, (2) any and all losses, costs, and expenses incurred as a result of
       any breach of any of the Debtors' or Non-Debtor Affiliates' obligations, covenants, and
       agreements set forth or referred to in this Agreement, including, without limitation, any such
       obligation, covenant, or agreement of any Debtor or Non-Debtor Affiliate set forth in the
       Chapter 11 Plan or Confirmation Order, (3) if any Non-Debtor Affiliate has not executed and
       delivered a Release, any and all Asbestos-Related Claims based on, arising out of, or
       attributable to, directly or indirectly, in whole or in part, such Non-Debtor Affiliate and (4)


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any and all attorneys' fees or costs and expenses attributable to any Indemnity Claim,
provided, however, that in each case such indemnification shall not apply to Excluded Fees
(such indemnity obligations, collectively, the "Debtors' Indemnity Obligation"; any and all
Claims, Debts, or Damages that could be asserted by any of the Released Parties under
Debtors' Indemnity Obligation, the "Indemnity Claims"), and provided, further, that nothing
in this Agreement shall adversely affect any rights of any Person to file and pursue, or object
to, a proof of claim for Excluded Fees in the Debtors' chapter 11 cases, (B) each Debtor shall
execute and deliver an indemnity agreement in favor of the Released Parties in the form
annexed hereto as Exhibit 6 (the "Indemnification Agreement"), (C) the Debtors' Indemnity
Obligation (and the obligations, covenants, and agreements of each of the Debtors and Non-
Debtor Affiliates set forth or referred to in this Agreement, including, without limitation, any
such obligation, covenant, or agreement of any Debtor or Non-Debtor Affiliate set forth in
the Chapter 11 Plan or Confirmation Order) shall not be discharged, expunged, estimated,
or otherwise adversely affected in the Debtors' bankruptcy cases or by the confirmation of
the Chapter 11 Plan, and (D) the Debtors' Indemnity Obligation (and the obligations,
covenants, and agreements of each of the Debtors and Non-Debtor Affiliates set forth or
referred to in this Agreement, including, without limitation, any such obligation, covenant,
or agreement of any Debtor or Non-Debtor Affiliate set forth in the Chapter 11 Plan or
Confirmation Order) shall continue unaffected as a post-confirmation obligation of each of
the reorganized Debtors;

(viii) there shall be established under state law the 524(g) Trusts, each of which shall be
subject to the continuing jurisdiction of the Bankruptcy Court;

(ix) if one or more Cryovac 524(g) Trusts is established, then each Cryovac 524(g) Trust
shall be established to qualify as a "qualified settlement fund" for federal income tax
purposes within the meaning of Treasury Regulations section 1.468B (each, a "Qualified
Settlement Fund"), and, unless otherwise required by a Final Determination, the Plaintiffs
and the Cryovac 524(g) Trusts (A) shall file all Tax Returns required to be filed by such
Person, if any, consistent with the provisions of this paragraph II(c)(ix) and shall take all
other Defined Actions that are reasonably requested by Sealed Air Corporation and
consistent with the provisions of this paragraph II(c)(ix) and (B) shall be prohibited from
taking any Defined Action that may result in the disqualification of any Cryovac 524(g) Trust
as a Qualified Settlement Fund or be inconsistent with Cryovac, Inc. being treated as a
"transferor" (as defined under Treasury Regulations section 1.468B-1(d)) ("Transferor") to
each Cryovac 524(g) Trust of the cash and Settlement Shares transferred by Cryovac, Inc.
directly to such Cryovac 524(g) Trust or each Cryovac 524(g) Trust constituting a Qualified
Settlement Fund, provided, however, that a Person shall not be required to take, or be
prohibited from taking, as the case may be, a Defined Action as required pursuant to this
paragraph II(c)(ix) if each of the following four requirements has been previously satisfied
(I) such Person has fully performed all of its obligations set forth in paragraph VI(f) of this
Agreement, (II) such Person has received a Contrary Opinion with respect to such Defined
Action required or prohibited pursuant to this paragraph II(c)(ix), (III) such Person has
provided a copy of such Contrary Opinion to Sealed Air Corporation, and (IV) within forty-



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five days of the receipt by Sealed Air Corporation of such Contrary Opinion, Sealed Air
Corporation has not provided such Person with a Sealed Air Opinion;

(x) if one or more Cryovac 524(g) Trusts is established, then unless otherwise required by
a Final Determination, the Cryovac 524(g) Trusts shall treat for all Tax purposes any and all
payments by Cryovac, Inc. directly to the Cryovac 524(g) Trusts pursuant to paragraph II(a)
of this Agreement as a direct payment by Cryovac, Inc. to the Cryovac 524(g) Trusts for
Asbestos Claims that constitutes an ordinary and necessary expense of Cryovac, Inc., and the
Plaintiffs and the Cryovac 524(g) Trusts (A) shall be prohibited from taking any Defined
Action that is inconsistent with the foregoing provisions of this paragraph II(c)(x), and (B)
shall take all Defined Actions that are reasonably requested by Sealed Air Corporation and
consistent with the provisions of this paragraph II(c)(x); provided, however, that a Person
shall not be required to take, or be prohibited from taking, as the case may be, a Defined
Action as required pursuant to this paragraph II(c)(x) if each of the following four
requirements has been previously satisfied (I) such Person has fully performed all of its
obligations set forth in paragraph VI(f) of this Agreement, (II) such Person has received a
Contrary Opinion with respect to such Defined Action required or prohibited pursuant to this
paragraph II(c)(x), (III) such Person has provided a copy of such Contrary Opinion to Sealed
Air Corporation, and (IV) within forty-five days of the receipt by Sealed Air Corporation of
such Contrary Opinion, Sealed Air Corporation has not provided such Person with a Sealed
Air Opinion;

(xi) if one of more Cryovac 524(g) Trusts is established, then unless otherwise required by
a Final Determination, the Cryovac 524(g) Trusts shall treat for all Tax purposes all
payments, if any, by Cryovac, Inc. to Grace Specialty pursuant to paragraph II(a) of this
Agreement as ordinary income of Grace Specialty, and the Plaintiffs and the Cryovac 524(g)
Trusts (A) shall file all Tax Returns required to be filed by such Person, if any, consistent
with the provisions of this paragraph II(c)(xi) and shall take all other Defined Actions that
are reasonably requested by Sealed Air Corporation and consistent with the provisions of this
paragraph II(c)(xi) and (B) shall be prohibited from taking any Defined Action that is
inconsistent with the foregoing provisions of this paragraph II(c)(xi) or that is inconsistent
with any such payment being treated as an ordinary and necessary expense incurred by
Cryovac, Inc.; provided, however, that a Person shall not be required to take, or be prohibited
from taking, as the case may be, a Defined Action as required pursuant to this paragraph
II(c)(xi) if each of the following four requirements has been previously satisfied (I) such
Person has fully performed all of its obligations set forth in paragraph VI(f) of this
Agreement, (II) such Person has received a Contrary Opinion with respect to such Defined
Action required or prohibited pursuant to this paragraph II(c)(xi), (III) such Person has
provided a copy of such Contrary Opinion to Sealed Air Corporation, and (IV) within forty-
five days of the receipt by Sealed Air Corporation of such Contrary Opinion, Sealed Air
Corporation has not provided such Person with a Sealed Air Opinion; and

(xii) the 1998 Tax Sharing Agreement is an assumed agreement of each of the Debtors
(including, without limitation, Grace Specialty and W.R. Grace & Co.-Conn.) pursuant to
section 365 of the Bankruptcy Code, and nothing contained in or contemplated by this


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       Agreement, the Chapter 11 Plan, or the Confirmation Order shall adversely affect the rights
       of Sealed Air Corporation or any of its Affiliates under the 1998 Tax Sharing Agreement.


       d.      Simultaneously with and in exchange for the transfers contemplated by paragraph

II(a) of this Agreement, the Plaintiffs shall deliver to Cryovac, Inc. and Sealed Air Corporation: (i)

the Release duly executed by each of the Plaintiffs and the Debtors; (ii) a copy of the Chapter 11

Plan; (iii) a copy of the Confirmation Order; (iv) a duly executed Stipulation of Dismissal With

Prejudice of the Action, in the form annexed hereto as Exhibit 4, denying any other recovery against

the Released Parties; and (v) the Registration Rights Agreement, in the form annexed hereto as

Exhibit 1, with appropriate insertions therein, duly executed by the Initial Holders.

       e.      The Released Parties shall not seek indemnity, contribution, or reimbursement for any

payments made under paragraph II(a) of this Agreement from any source, including, without

limitation, the insurers of the Debtors (but solely to the extent of coverage procured by the Debtors

or any of its predecessors).

       f.      The transfers made pursuant to paragraph II(a) of this Agreement shall be made in

full compromise and settlement of any and all Asbestos-Related Claims against any and all of the

Released Parties.

       g.      Any order of the Court approving this Agreement shall provide that the Preliminary

Injunction shall remain in full force and effect through and including the Effective Date.

       h.      Neither this Agreement nor any of the transactions contemplated hereby is, or shall

be construed as, an admission of liability, fault or wrongdoing by the Released Parties, who have

denied and continue to deny any liability, fault, or wrongdoing, but, instead, is a compromise

settlement of disputed claims, made in order to avoid the further substantial expense, burden, and




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inconvenience of protracted litigation and appeal that may occur in further proceedings relating to

these actions or any future actions, by which the Released Parties have forever bought their peace.

       i.      The Plaintiffs do hereby and the Confirmation Order shall expressly provide that the

Debtors, the Plaintiffs, and the Non-Debtor Affiliates fully understand and agree that Cryovac, Inc.

and Sealed Air Corporation have entered into this Agreement in order to settle, release, extinguish,

and terminate fully, finally, and forever any and all further controversy respecting any and all

Asbestos-Related Claims against any and all of the Released Parties. The Plaintiffs do hereby and

the Confirmation Order shall expressly provide that the Debtors, the Plaintiffs, and the Non-Debtor

Affiliates acknowledge and agree that this provision is an essential and material term of this

Agreement and the compromise settlement leading to this Agreement, and that, without such

provision, neither Cryovac, Inc. nor Sealed Air Corporation would have executed this Agreement

and the compromise settlement would not have been accomplished.

       j.      Notwithstanding anything in this Agreement to the contrary, Cryovac, Inc., and Sealed

Air Corporation as guarantor, shall have a right of setoff or reduction against, the payments and

transfers required by paragraph II(a) of this Agreement or otherwise for, and upon the payment by

any of the Released Parties of, the amount of any Indemnified Taxes or any obligation of any of the

Debtors or the 524(g) Trusts set forth or referred to in this Agreement, including, without limitation,

any Indemnity Obligation required to be provided in the Confirmation Order and Chapter 11 Plan

that any of the Debtors has failed to pay to the Released Parties.

       k.      Each of Sealed Air Corporation, Cryovac, Inc., and the Plaintiffs (upon court

approval) represents and warrants, as to itself, that this Agreement has been duly authorized, and

executed and delivered, constitutes the valid and binding obligation of such party, enforceable in

accordance with its terms, except as the enforcement thereof may be limited by bankruptcy,


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insolvency (including, without limitation, all laws relating to fraudulent transfers), reorganization,

moratorium or other similar laws relating to or affecting enforcement of creditors' rights generally,

or by general principles of equity (regardless of whether enforcement is considered in a proceeding

in equity).

III.   Anti-Dilution

        a.     In the event Sealed Air Corporation should at any time after the date of this

Agreement but prior to the Effective Date fix a record date for (i) the effectuation of a split or

subdivision of the outstanding shares of Sealed Air Common Stock, or (ii) the payment of a dividend

or making of a distribution on Sealed Air Common Stock in additional shares of Sealed Air

Common Stock, then as of such record date, the number of Settlement Shares to be transferred by

Cryovac, Inc. on the Effective Date shall be increased in proportion to the increase in the aggregate

number of shares of Sealed Air Common Stock outstanding immediately following such action.

        b.     If the number of shares of Sealed Air Common Stock outstanding after the date of this

Agreement but prior to the Effective Date is decreased by a combination of the outstanding shares

of Sealed Air Common Stock or a reverse stock split, then following the record date for such

combination or reverse stock split, the number of Settlement Shares transferable by Cryovac, Inc.

upon the Effective Date shall be decreased in proportion to the decrease in the aggregate number of

shares of Sealed Air Common Stock outstanding immediately following such action.

        c.     In the event Sealed Air Corporation, after the date of this Agreement but prior to the

Effective Date, declares a distribution payable to all holders of Sealed Air Common Stock in shares

of capital stock of Sealed Air Corporation or its subsidiaries (other than Sealed Air Common Stock),

or evidences of its indebtedness or other assets (excluding quarterly cash dividends) or options or

rights not referred to in paragraph III(a) above, then in each such case, on the Effective Date, holders


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of Settlement Shares shall be entitled to any such distribution as if the Effective Date had occurred

immediately prior to the record date fixed for the determination of the holders of Sealed Air

Common Stock entitled to such distribution.

        d.      In case of any reclassification of the Sealed Air Common Stock, any consolidation

of Sealed Air Corporation with another entity, or merger of another entity into Sealed Air

Corporation (other than a merger that does not result in any reclassification, conversion, exchange,

or cancellation of outstanding shares of Sealed Air Common Stock), or Sealed Air Corporation into

another entity, any sale or transfer of all or substantially all of the assets of Sealed Air Corporation

or any compulsory share exchange pursuant to such share exchange, the Sealed Air Common Stock

is converted into other securities, cash, or property, then lawful provision shall be made as part of

the terms of such transaction, whereby on the Effective Date, holders of Settlement Shares shall be

entitled to receive from Cryovac, Inc. the kind and amount of securities, cash, and other property

receivable upon the reclassification, consolidation, merger, sale, transfer, or share exchange as if the

Effective Date had occurred immediately prior to the reclassification, consolidation, merger, sale,

transfer or exchange. The provisions of this paragraph III(d) shall similarly apply to successive

reclassifications, consolidations, mergers, sales, transfers, or share exchanges.

IV.     Investment Representations

        a.      Each of the Plaintiffs, and the Confirmation Order shall expressly provide that each

of the Debtors, acknowledges and agrees with Sealed Air Corporation that the Settlement Shares

have not been and, upon delivery as provided in (ii) of the first sentence of paragraph II(a) of this

Agreement, will not be registered under the Securities Act of 1933, as amended (the "Securities

Act"), and that the certificates for the Settlement Shares will bear a legend to that effect. Each of the

Plaintiffs, and the Confirmation Order shall expressly provide that each of the Debtors, also


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understands that any transfer of Settlement Shares to the 524(g) Trusts or Grace Specialty is being

made pursuant to an exemption from registration contained in the Securities Act, based in part upon

their respective representations contained in this Agreement.

        b.      The Confirmation Order shall expressly provide that, upon any transfer of the

Settlement Shares to the 524(g) Trusts or Grace Specialty, the trustee(s) of each such 524(g) Trust

or Grace Specialty, as applicable, shall represent and warrant, and agree on behalf of the 524(g) Trust

or Grace Specialty with Sealed Air Corporation, that: (i) the 524(g) Trust or Grace Specialty, as

applicable, is acquiring the Settlement Shares for its own account for investment and not with a view

toward distribution in a manner which would violate the Securities Act; and (ii) the 524(g) Trust or

Grace Specialty, as applicable, and its respective transferees will comply with all filing and other

reporting obligations under all applicable laws which shall be applicable to such 524(g) Trust or

Grace Specialty with respect to the Settlement Shares.

        c.      Upon delivery of the Settlement Shares, Cryovac, Inc. and Sealed Air Corporation

shall represent and warrant to the Plaintiffs and the Debtors (and deliver a certification to that effect

upon the transfer of the Settlement Shares to the 524(g) Trusts or Grace Specialty) that all

adjustments to the Settlement Shares have been made in compliance with the Anti-Dilution

provisions of this Agreement.

V.      Covenant Not to Sue and Tolling

        a.      Subject to paragraph V(c) of this Agreement, unless ordered otherwise by this Court,

none of the Plaintiffs, and any order of the Court approving this Agreement shall provide that none

of the Debtors, shall sue or prosecute, institute or cooperate in the institution, commencement, filing,

or prosecution of any suit, administrative proceeding, demand, claim or cause of action, whether

asserted individually or derivatively against any of the Released Parties for any Asbestos-Related


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Claims, pending confirmation of a Chapter 11 Plan consistent with the terms of this Agreement. The

Final Order approving this Agreement shall provide that the Debtors are bound by the terms of this

paragraph.

       b.      (i) In the event that the payment and transfer obligations of Cryovac, Inc. set forth in

paragraph II(a) of this Agreement are not satisfied, the Plaintiffs (but not Sealed Air Corporation or

Cryovac, Inc.) shall have the option jointly to terminate this Agreement by providing written notice

thereof to Sealed Air Corporation and Cryovac, Inc. (ii) Upon the occurrence of a Bankruptcy

Termination Event, before the payment and transfer obligations of Cryovac, Inc. set forth in

paragraph II(a) of this Agreement have been completely performed, the Plaintiffs may seek relief

from the automatic stay to reinstitute the Action in the Court and neither Cryovac, Inc. nor Sealed

Air Corporation shall (x) object to such relief being granted, or (y) seek to enforce the terms of this

Agreement against the Debtors' estate. (iii) In the event the Plaintiffs' obligations set forth in

paragraph II(a) or the provisions of paragraph II(b), (c), or (d), or VI, of this Agreement are not

satisfied, Sealed Air Corporation and Cryovac, Inc. shall have the option jointly to terminate this

Agreement by providing written notice thereof to the Plaintiffs. (iv) Any termination right exercised

pursuant to this Agreement, other than upon the occurrence of a Bankruptcy Termination Event, shall

become effective on the date (the "Termination Date") ten days following receipt of a notice of

intention to terminate by the party exercising such termination right to the other parties to this

Agreement, which notice shall specify the reasons for termination; provided, however, that such

notice provided by the Plaintiffs shall not become effective if the payment and transfer obligations

of Cryovac, Inc. set forth in paragraph II(a) of this Agreement shall have been satisfied prior to the

Termination Date.




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       c.       If this Agreement is terminated by any party, then within 120 days from the

Termination Date a proper representative of the Debtors' estate may seek to have the Court reinstate

the Action on the active docket, it being expressly agreed that the Court is the appropriate venue in

all instances, including, without limitation, upon the occurrence of a Bankruptcy Termination Event.

For purposes of statutes of limitation, statutes of repose, and any procedural bars to the prosecution

of claims, as long as the Court reinstates the Action, all claims, counterclaims, cross-claims and

claims for contribution or indemnity will be deemed to have been tolled during the time period

between the date of this Agreement and the Termination Date.

VI.     Tax Matters

       a.      Each of the Plaintiffs shall use its best efforts to, and shall use its best efforts to cause

the Confirmation Order and Chapter 11 Plan expressly to provide that each of the Debtors shall use

its best efforts to, (i) cause each of the trusts to which all or any portion of the Cryovac Cash Amount

or the Settlement Shares is directly transferred by Cryovac, Inc. pursuant to paragraph II(a) of this

Agreement to qualify, and to maintain its status, as a Qualified Settlement Fund, and (ii) structure

the transactions contemplated by this Agreement to achieve favorable tax treatment to Cryovac, Inc.

and its Affiliates, as set forth in paragraphs II(a) and (b) of this Agreement, provided, however, that

nothing herein shall in any way be construed as a representation, warranty, or covenant concerning

the treatment for federal income tax purposes of any transfer by Cryovac, Inc. pursuant to paragraph

II(a) of this Agreement. Without limiting the foregoing, each of the Plaintiffs shall use its best

efforts to, and shall use its best efforts to cause the Confirmation Order and Chapter 11 Plan

expressly to provide that each of the Debtors shall use its best efforts to, cause the constitutive

document(s) of each of the trusts to which all or any portion of the Cryovac Cash Amount or the

Settlement Shares is directly transferred pursuant to paragraph II(a) of this Agreement to contain


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provisions, reasonably satisfactory to Cryovac, Inc., qualifying and maintaining its status as a

Qualified Settlement Fund, and providing that Cryovac, Inc. or its designee shall be a Transferor to

each such trust. Each of the Plaintiffs shall, and shall use its best efforts to cause the Confirmation

Order and Chapter 11 Plan expressly to provide that each of the Debtors shall (i) promptly provide

to Cryovac, Inc. all Material Drafts of each Trust Document (but excluding or redacting the claims

resolution procedures), provided, however, that any Plaintiff or Debtor shall not be required to

provide any draft of a Trust Document that such Plaintiff or Debtor, as the case may be, does not

have in its possession, custody, or control, and provided, further, that Cryovac, Inc. shall keep any

such Material Draft confidential and shall disclose any such Material Draft only to Sealed Air

Corporation, and officers, employees, and advisors of Cryovac, Inc., Sealed Air Corporation, or its

Affiliates, and only after such Person agrees to keep such Material Draft confidential, and (ii)

incorporate promptly (if such party is the party drafting such Trust Document), or if otherwise, urge

the party drafting such Trust Document promptly to incorporate, into any such document each

provision with respect to the subject matter set forth or referred to in paragraphs II(c)(ix), (x), and

(xi), and VI(g), and clauses (i)(A) through (D) of paragraph VI(c), of this Agreement that are

reasonably requested by Cryovac, Inc. Notwithstanding anything to the contrary contained in the

immediately preceding sentence, Cryovac, Inc. and officers, employees, advisors and other agents

of Cryovac, Inc., Sealed Air Corporation, or its Affiliates may disclose to any and all Persons,

without limitation of any kind, the tax treatment and any facts that may be relevant to the tax

structure of the transactions contemplated by this Agreement.

       b.      Each of the Plaintiffs shall, and shall use its best efforts to require the Confirmation

Order and Chapter 11 Plan expressly to provide that each of the Debtors and the Non-Debtor

Affiliates shall, (i) take all Defined Actions required to be taken pursuant to, or that are reasonably


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requested by Sealed Air Corporation and consistent with the provisions of, paragraphs II(c)(ix), (x),

or (xi), or VI(g), of this Agreement and (ii) be prohibited from taking any Defined Action prohibited

from being taken pursuant to, or that is inconsistent with the provisions of, paragraphs II(c)(ix), (x),

or (xi), or VI(g), of this Agreement, provided, however, that a Person shall not be required to take,

or be prohibited from taking, as the case may be, a Defined Action as required pursuant to this

sentence if each of the following four requirements has been previously satisfied (I) such Person has

fully performed all of its obligations set forth in paragraph VI(f) of this Agreement, (II) such Person

has received a Contrary Opinion with respect to such Defined Action required or prohibited pursuant

to this paragraph VI(b), (III) such Person has provided a copy of such Contrary Opinion to Sealed

Air Corporation, and (IV) within forty-five days of the receipt by Sealed Air Corporation of such

Contrary Opinion, Sealed Air Corporation has not provided such Person with a Sealed Air Opinion.

Each of the Plaintiffs shall use its best efforts, and shall use its best efforts to cause the Confirmation

Order and Chapter 11 Plan expressly to provide that each of the Debtors shall use its best efforts, not

to make any statement in a court document filed in the Debtors' chapter 11 cases or in any oral

statement to the court in the Debtors' chapter 11 cases that is prohibited by, or inconsistent with the

provisions of, paragraphs II(c)(ix), (x), or (xi), or VI(g), of this Agreement, provided, however, that

a Person shall not be required to take, or be prohibited from taking, as the case may be, a Defined

Action as required pursuant to this sentence if each of the following four requirements has been

previously satisfied (I) such Person has fully performed all of its obligations set forth in paragraph

VI(f) of this Agreement, (II) such Person has received a Contrary Opinion with respect to such

Defined Action required or prohibited pursuant to this sentence, (III) such Person has provided a

copy of such Contrary Opinion to Sealed Air Corporation, and (IV) within forty-five days of the

receipt by Sealed Air Corporation of such Contrary Opinion, Sealed Air Corporation has not


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provided such Person with a Sealed Air Opinion. Each of the Plaintiffs shall use its best efforts to

require the Confirmation Order and Chapter 11 Plan expressly to provide that each of the Debtors

shall cause each of the Non-Debtor Affiliates to perform and satisfy fully all obligations, covenants,

and agreements of such Non-Debtor Affiliate set forth or referred to in this Agreement, including,

without limitation, any such obligation, covenant, or agreement of any Non-Debtor Affiliate set forth

in the Chapter 11 Plan or Confirmation Order.

       c.      Each of the Plaintiffs shall use its best efforts to require the Confirmation Order and

Chapter 11 Plan expressly to provide that (i) each of the Debtors and their Affiliates shall promptly

notify Cryovac, Inc. and Sealed Air Corporation upon receipt by any Debtor or any Affiliate of any

Debtor of any notice of any pending or threatened audit or assessment, suit, litigation, proposed

adjustment, deficiency, dispute, administrative or judicial proceeding or other similar Claim

involving any Debtor or any Affiliate of any Debtor from any Tax authority or any other Person

challenging (A) the qualification of any Cryovac 524(g) Trust as a Qualified Settlement Fund, (B)

the qualification of Cryovac, Inc. as a Transferor to any Cryovac 524(g) Trust, (C) the payment by

Cryovac, Inc. to one or more 524(g) Trusts pursuant to paragraph II(a) of this Agreement as a direct

payment by Cryovac, Inc. to such 524(g) Trusts for Asbestos Claims that constitutes an ordinary and

necessary expense of Cryovac, Inc., and (D) the payment, if any, by Cryovac, Inc. to Grace Specialty

pursuant to paragraph II(a) of this Agreement as an ordinary and necessary expense of Cryovac, Inc.

or as income of Grace Specialty (any such audit or assessment, suit, litigation, proposed adjustment,

deficiency, dispute, administrative or judicial proceeding or other similar Claim, a "Tax Claim"), (ii)

Cryovac, Inc. and Sealed Air Corporation shall be entitled to participate at their expense in the

defense or prosecution of any Tax Claim (including to participate in all discussions with the Tax

authorities regarding such Tax Claims and to be allowed to provide affirmative suggestions or


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comments with respect to any written submissions or communications to the Tax authorities

regarding such Tax Claims, which comments and suggestions shall be incorporated into such written

submissions or communications with the consent of the Debtors, such consent not to be unreasonably

withheld), and the Debtors and their Affiliates shall consult with Cryovac, Inc. and Sealed Air

Corporation in connection with the defense or prosecution of any such Tax Claim and provide such

cooperation and information as Cryovac, Inc. and Sealed Air Corporation shall reasonably request

with respect to any such Tax Claim, (iii) each of the Debtors and its Affiliates shall agree to use its

best efforts to attempt to sever any Tax Claim from other issues raised in any audit or assessment,

suit, litigation, proposed adjustment, deficiency, dispute, administrative or judicial proceeding or

other similar Claim, (iv) in furtherance of the obligations of the Debtors set forth in this paragraph

VI(d), W.R. Grace & Co.-Conn. and W.R. Grace & Co. shall, and shall instruct their respective

Chief Executive Officer, Chief Financial Officer, and Director of Taxes, and shall cause each of their

Affiliates, to (A) deliver, promptly after the receipt of any document received from the IRS relating

to a Tax Claim, a copy of such document to Cryovac, Inc. and Sealed Air Corporation, (B) deliver

to Cryovac, Inc. and Sealed Air Corporation any document delivered to the IRS with respect to a Tax

Claim promptly after such document is delivered to the IRS, provided, however, that, if such

document was prepared in response to a request by the IRS, then prior to the delivery of such

document to the IRS, Cryovac, Inc. and Sealed Air Corporation shall be allowed to provide

affirmative suggestions or comments with respect to any such document, as provided in paragraph

VI(c)(ii) of this Agreement, (C) provide Cryovac, Inc. and Sealed Air Corporation, at least five days

prior to any meeting or conference (whether in person or by teleconference) scheduled with the IRS

during which a Tax Claim may be discussed, with written notice of such scheduled meeting or

conference, and an opportunity to attend the portions of such meeting or conference during which


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any Tax Claim is discussed, and (D) provide Cryovac, Inc. and Sealed Air Corporation with

cooperation and information reasonably requested by Cryovac, Inc. or Sealed Air Corporation in

connection with any Tax Claim, including, at Cryovac, Inc.'s or Sealed Air Corporation's request,

status updates with respect to all Tax Claims, (v) any document to be provided by the Debtors to

Cryovac, Inc. or Sealed Air Corporation in furtherance of the obligations set forth in this paragraph

VI(c) may be redacted by the Debtors to exclude information not pertinent to the Tax Claim and (vi)

unless otherwise required by a Final Determination, none of the Debtors or any of their Affiliates

shall settle or otherwise dispose of any Tax Claim.

       d.      The obligations of each Plaintiff contained in paragraphs II(c)(ix), (x), and (xi), and

VI(a) and (b) of this Agreement shall survive until such Plaintiff has ceased to exist.

       e.      Each of the Plaintiffs shall use its best efforts to cause the Confirmation Order and

Chapter 11 Plan expressly to provide an acknowledgment and agreement of each of the Debtors that

(i) to the extent that any of the Debtors are required, pursuant to generally accepted accounting

principles, to accrue a liability for asbestos which liabilities are satisfied by Cryovac, Inc. by a

transfer made by Cryovac, Inc. directly to the Cryovac 524(g) Trusts pursuant to this Agreement and

such Debtor is required pursuant to generally accepted accounting principles to reverse such accrual,

to the extent that there is more than one methodology under generally accepted accounting principles

pursuant to which the Debtors are allowed to reverse any such accrual, such Debtor shall adopt the

methodology, if any, not inconsistent with the provisions of paragraphs VI(b) and VI(g) of this

Agreement, (ii) any payment or transfer by Cryovac, Inc. directly to a 524(g) Trust shall not be

treated, for financial accounting purposes, as resulting in an expense or deduction of any Debtor or

Non-Debtor Affiliate and (iii) to the extent that any payment or transfer by Cryovac, Inc. directly to

a Cryovac 524(g) Trust results, for financial accounting purposes, in income to any Debtor, Debtors


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shall treat such income as income from the cancellation of indebtedness or liabilities of the Debtors.

Sealed Air Corporation and Cryovac, Inc. acknowledge and agree that the obligation of the Debtors

to reverse any accrual referred to in paragraph VI(e)(i) of this Agreement shall not be a breach of

such Debtor's obligations set forth or referred to in this Agreement.

       f.      If any of the Plaintiffs, and each of the Plaintiffs shall use its best efforts to require

the Confirmation Order and Chapter 11 Plan expressly to provide that if, any of the Debtors, the

Non-Debtor Affiliates, or the Cryovac 524(g) Trusts, has determined that an issue (a "Paragraph

VI(f) Issue") may exist with respect to its taking, or the failure to take, a Defined Action as required

pursuant to paragraph II(c)(ix), (x), or (xi), or VI(b) or VI(g), of this Agreement, then, prior to

delivering a Contrary Opinion to Sealed Air Corporation with respect to such Defined Action in

accordance with the provisos set forth in paragraph II(c)(ix), (x), or (xi), VI(b) or VI(g) of this

Agreement, as the case may be, (i) such Person shall provide to Sealed Air Corporation, as promptly

as practicable, a written notice identifying such Defined Action and describing in detail the

Paragraph VI(f) Issue and (ii) such Person shall, and shall cause its advisors (including accountants

and tax attorneys, as the case may be) to, and Sealed Air Corporation shall, consult and act in good

faith to determine and resolve (A) if such issue relates to a Tax issue, whether, as a result of a

Change in Circumstances, there is no "reasonable basis", as defined in section 6662 of the Internal

Revenue Code (or successor provision thereof ), for the taking of, or the failure to take, such Defined

Action by such Person or (B) if such issue relates to an accounting issue, whether, as a result of a

Change in Circumstances, the taking, or the failure to take, such Defined Action is inconsistent with

generally accepted accounting principles.

        g.      Each of the Plaintiffs shall use its best efforts to require the Confirmation Order and

Chapter 11 Plan expressly to provide that:


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(i) unless otherwise required by a Final Determination, the Debtors and the Non-Debtor
Affiliates (A) shall file all Tax Returns required to be filed by such Person, if any, consistent
with the provisions of paragraph II(c)(ix) of this Agreement and shall take all other Defined
Actions that are reasonably requested by Sealed Air Corporation and consistent with the
provisions of paragraph II(c)(ix) of this Agreement and (B) shall be prohibited from taking
any Defined Action that may result in the disqualification of any Cryovac 524(g) Trust as a
Qualified Settlement Fund or be inconsistent with Cryovac, Inc. being treated as a Transferor
to each Cryovac 524(g) Trust of the cash and Settlement Shares transferred by Cryovac, Inc.
directly to such Cryovac 524(g) Trust or each Cryovac 524(g) Trust constituting a Qualified
Settlement Fund, provided, however, that a Person shall not be required to take, or be
prohibited from taking, as the case may be, a Defined Action as required pursuant to this
paragraph VI(g)(i) if each of the following four requirements has been previously satisfied
(I) such Person has fully performed all of its obligations set forth in paragraph VI(f) of this
Agreement, (II) such Person has received a Contrary Opinion with respect to such Defined
Action required or prohibited pursuant to this paragraph VI(g)(i), (III) such Person has
provided a copy of such Contrary Opinion to Sealed Air Corporation, and (IV) within forty-
five days of the receipt by Sealed Air Corporation of such Contrary Opinion, Sealed Air
Corporation has not provided such Person with a Sealed Air Opinion;

(ii) if one or more Cryovac 524(g) Trusts is established, then unless otherwise required by
a Final Determination, the Debtors and the Non-Debtor Affiliates shall treat for all Tax
purposes any and all payments by Cryovac, Inc. directly to the Cryovac 524(g) Trusts
pursuant to paragraph II(a) of this Agreement as a direct payment by Cryovac, Inc. to the
Cryovac 524(g) Trusts for Asbestos Claims that constitutes an ordinary and necessary
expense of Cryovac, Inc., and the Debtors and Non-Debtor Affiliates (A) for financial
accounting or any other regulatory purpose, shall be prohibited from treating any payment
by Cryovac, Inc. directly to a Cryovac 524(g) Trust as a payment by Cryovac, Inc. to any of
the Debtors or Non-Debtor Affiliates, or as a payment by any Debtor or Non-Debtor Affiliate
to any Person (including any 524(g) Trust) (or treating such payment as, or resulting in, an
expense or deduction of any Debtor or Non-Debtor Affiliate), (B) for Tax purposes, shall be
prohibited from claiming that any payment by Cryovac, Inc. directly to a Cryovac 524(g)
Trust results in or gives rise (directly or indirectly) to the accrual or allowance of a deduction
or expense, or income to, or any other transfer of any type to, any Debtor or Non-Debtor
Affiliate, (C) shall take all Defined Actions that are reasonably requested by Sealed Air
Corporation and consistent with the provisions of this paragraph VI(g)(ii), (D) shall not take
any position inconsistent with the foregoing on any Tax Return or with any Tax authority,
and (E) shall not make any statement in any public or regulatory filing or release or
otherwise, or take any other Defined Action, that is inconsistent with the obligations of such
Person pursuant to this paragraph VI(g)(ii); provided, however, that a Person shall not be
required to take, or be prohibited from taking, as the case may be, a Defined Action as
required pursuant to this paragraph VI(g)(ii) if each of the following four requirements has
been previously satisfied (I) such Person has fully performed all of its obligations set forth
in paragraph VI(f) of this Agreement, (II) such Person has received a Contrary Opinion with
respect to such Defined Action required or prohibited pursuant to this paragraph VI(g)(ii),
(III) such Person has provided a copy of such Contrary Opinion to Sealed Air Corporation,


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       and (IV) within forty-five days of the receipt by Sealed Air Corporation of such Contrary
       Opinion, Sealed Air Corporation has not provided such Person with a Sealed Air Opinion;
       and

       (iii) unless otherwise required by a Final Determination, the Debtors and the Non-Debtor
       Affiliates shall treat for all Tax purposes all payments, if any, by Cryovac, Inc. to Grace
       Specialty pursuant to paragraph II(a) of this Agreement as ordinary income of Grace
       Specialty, and the Debtors and the Non-Debtor Affiliates (A) shall file all Tax Returns
       required to be filed by such Person, if any, consistent with the provisions of this paragraph
       VI(g)(iii) and shall take all other Defined Actions that are reasonably requested by Sealed Air
       Corporation and consistent with the provisions of this paragraph VI(g)(iii) and (B) shall be
       prohibited from taking any Defined Action that is inconsistent with the foregoing provisions
       of this paragraph VI(g)(iii) or that is inconsistent with any such payment being treated as an
       ordinary and necessary expense incurred by Cryovac, Inc.; provided, however, that a Person
       shall not be required to take, or be prohibited from taking, as the case may be, a Defined
       Action as required pursuant to this paragraph VI(g)(iii) if each of the following four
       requirements has been previously satisfied (I) such Person has fully performed all of its
       obligations set forth in paragraph VI(f) of this Agreement, (II) such Person has received a
       Contrary Opinion with respect to such Defined Action required or prohibited pursuant to this
       paragraph VI(g)(iii), (III) such Person has provided a copy of such Contrary Opinion to
       Sealed Air Corporation, and (IV) within forty-five days of the receipt by Sealed Air
       Corporation of such Contrary Opinion, Sealed Air Corporation has not provided such Person
       with a Sealed Air Opinion.

       h.      The Debtors may prepare and execute (but not file with the IRS or other governmental

authority, which filing shall be effected only by Cryovac, Inc. pursuant to and in accordance with this

Agreement) a Protective Claim (a "Grace Protective Claim") for the taxable year of the Debtors in

which the payments and transfers provided in paragraph II(a) of this Agreement (the "Transfer") are

made, or for any other prior (solely with respect to a carryback from the taxable year of the Transfer)

or subsequent taxable year in which the Tax Benefits realized as a result of such Transfer may be

claimed by the Debtors (any such taxable year, a "Relevant Tax Year"), and require Cryovac, Inc.

to file such Grace Protective Claim with the IRS or other governmental authority for and on behalf

of the Debtors, provided, however, that a Grace Protective Claim shall not be required to be filed by

Cryovac, Inc. at any time prior to 15 days before the expiration (taking into account all extensions

thereof) of the applicable statute of limitations for the Debtors to file an amended return ("SOL") for


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the Relevant Tax Year, and provided, further, that, notwithstanding anything to the contrary set forth

in this paragraph VI(h), the Debtors may prepare and execute a Grace Protective Claim, and require

Cryovac, Inc. to file such Grace Protective Claim with the IRS or other governmental authority for

a Relevant Tax Year, only if each of the following requirements has been previously satisfied:

       (i) (A) the Debtors have granted each extension (and each further extension) to the applicable
       SOL for such Relevant Tax Year that has been requested by the IRS; (B) at the time of each
       such request by the IRS referred to in this paragraph VI(h)(i), above, to extend (or further
       extend) the applicable SOL for such Relevant Tax Year, the Debtors shall have used their
       best efforts to extend (and cause the IRS to agree to extend) such SOL for a period of two
       (2) years or longer; (C) in the event that the IRS has not requested the Debtors to extend (or
       further extend) the applicable SOL for such Relevant Tax Year prior to 180 days prior to the
       end of such SOL, the Debtors shall have used their best efforts to extend (and cause the IRS
       to agree to extend) such SOL for a period of two (2) years or longer, and (D) the Debtors
       shall have provided to Cryovac, Inc. a written statement by their Chief Financial Officer that
       each of the requirements set forth immediately above in paragraphs VI(h)(i)(A), (B) and (C)
       of this Agreement has been satisfied in all respects; and

       (ii) each of the Confirmation Order and the Chapter 11 Plan expressly provide the provisions
       of this paragraph VI(h) in its entirety, the provisions of paragraphs VI(i) through VI(l) set
       forth below in their entirety, and that: (A) in addition to the obligation of Cryovac, Inc. to file
       a Grace Protective Claim if required by the Debtors in accordance with and subject to the
       conditions set forth in this paragraph VI(h), Sealed Air Corporation may file a Grace
       Protective Claim with the IRS or other taxing authority for a Relevant Tax Year at its
       election, and in connection therewith, the Debtors shall prepare and execute such Grace
       Protective Claim; (B) the Debtors shall pay to Cryovac, Inc. in immediately available funds
       fifty (50) percent of the amount of any Tax Benefit realized as a result of the Transfer no later
       than ten (10) days after such Tax Benefit has been deemed to have been Actually Realized
       pursuant to this paragraph VI(h); (C) if requested by Sealed Air Corporation, the Debtors
       shall use their best efforts to extend (and cause the IRS to agree to extend) the applicable
       SOL for any Relevant Tax Year; (D) other than any obligation of Cryovac, Inc. expressly set
       forth in paragraphs VI(h) through VI(l) of this Agreement, no obligations relating to the
       subject matter set forth in paragraphs VI(h) through (l) shall be undertaken or deemed to be
       undertaken by Cryovac, Inc. or any of its affiliates pursuant to paragraphs VI(h) through VI(l)
       of this Agreement or otherwise, and (E) the language to be included in Part II of Form 1120X
       (or applicable section of any similar state or local tax form) of a Grace Protective Claim shall
       include the language set forth on Exhibit 7 and only such other language as may be mutually
       agreed to by the Debtors and Cryovac, Inc.

For purposes of this Agreement, "Tax Benefit" shall mean the amount of any reduction of the actual

Tax liability (after giving effect to any alternative minimum or similar Tax) of the Debtors to the


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appropriate governmental authority for a taxable year as a result of the Transfer (including, without

limitation, as a result of a deduction, loss, credit, or exclusion, whether available in the current

taxable year, as an adjustment to the taxable income in any other taxable year or as a carryforward

or carryback, as applicable, or as an offset or reduction to any assessment), increased by any interest

(on an after-Tax basis) received from such governmental authority relating to such reduction in Tax

liability; it being understood that the amount of such reduction of the actual Tax liability of the

Debtors to the appropriate governmental authority for a taxable year shall take into account, without

duplication, the amount of any correlative increase in Tax liability of the Debtors (including as a

result of any correlative inclusion, gain, reduction in a credit, or as an increase to any assessment)

for such taxable year as a result of the Transfer. For purposes of this Agreement, a Tax Benefit shall

be deemed to have been "Actually Realized" at the time any refund of Taxes is actually received or

applied against other Taxes due (including all assessments by any governmental authority), or at the

time of the filing of a Tax Return (including any Tax Return relating to estimated Taxes) on which

a deduction, loss or other Tax item is applied to reduce the amount of Taxes which would otherwise

be payable. The determination of any Tax Benefit Actually Realized as a result of the Transfer shall

be deemed to have been utilized based on the order that the deductions, losses, credits, exclusions

or other Tax items realized as a result of the Transfer are considered to be utilized by the Debtors

pursuant to the ordering rules set forth in the Internal Revenue Code and the Treasury Regulations.

        i.      The Debtors shall withdraw all Grace Protective Claims upon a Cryovac Final

Determination that the Transfer results in a Tax Benefit to Cryovac, Inc. (or the affiliated group filing

a consolidated Tax Return of which Sealed Air Corporation is the common parent), and the Debtors

shall provide a written statement to Cryovac, Inc. signed by the Chief Financial Officer of the

Debtors stating that all Grace Protective Claims have been withdrawn. Cryovac, Inc. shall notify the


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Debtors to pursue all Grace Protective Claims upon a Cryovac Final Determination that the Transfer

results in no Tax Benefit to Cryovac, Inc. (or the affiliated group filing a consolidated Tax Return

of which Sealed Air Corporation is the common parent). Upon receipt of such notice referred to in

the preceding sentence or if otherwise requested in writing by Cryovac, Inc., the Debtors shall use

reasonable best efforts to pursue all Grace Protective Claims, and the Debtors shall keep Cryovac,

Inc. fully informed of, and Cryovac, Inc. shall be entitled to participate in, all developments with

respect to all such Grace Protective Claims in a manner consistent with the provisions set forth in

paragraphs VI(c)(ii) through (vi) of this Agreement. For purposes of this Agreement, "Cryovac Final

Determination" means the later of (i) sixty days after the expiration of the statute of limitations

(taking into account all extensions thereof) of the Sealed Air Corporation affiliated group filing a

consolidated Tax Return for the taxable year in which Cryovac, Inc. makes the Transfer and (ii) if

the IRS has challenged the ability of the Sealed Air Corporation affiliated group filing a consolidated

Tax Return to claim any deduction or loss as a result of the transactions set forth in or contemplated

by this Agreement, sixty days after the final resolution of the last of all such issues by a decision or

other order of a court of competent jurisdiction, which has become final and unappealable, or the

execution by Sealed Air Corporation of a closing agreement or accepted offer in compromise under

section 7121 or 7122 of the Internal Revenue Code.

        j.      For purposes of determining any Tax Benefit that is Actually Realized by the Debtors

as a result of the Transfer:

                (i)     No later than ten (10) days after the Debtors shall have Actually Realized a

Tax Benefit as a result of the Transfer, the Debtors shall provide Cryovac, Inc. with a detailed

statement (the "Tax Benefit Statement") specifying (A) the amount of the Tax Benefit that was

Actually Realized by the Debtors and any information relevant to the computation thereof (including


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full access to any applicable Tax Return, non-proprietary work papers and other materials and

information of the Debtors and their accountants), (B) the date that such Tax Benefit was Actually

Realized, (C) the amount of deduction, loss, credit or exclusion initially claimed by the Debtors as

a result of the Transfer (the "Initial Tax Benefit Item"), (D) the amount of the Initial Tax Benefit Item

that is utilized by the Debtors to create such Tax Benefit Actually Realized (including as a result of

all or a portion of the Initial Tax Benefit Item being carried back or forward), and (E) the amount of

the Initial Tax Benefit Item not yet utilized by the Debtors (to create a Tax Benefit Actually

Realized) that will be carried forward.

                (ii)    No later than 30 days after the Debtors have filed their U.S. federal

consolidated income Tax Return for each year beginning the year that includes the Tax Benefit Start

Date, the Debtors shall deliver to Cryovac, Inc. an annual statement (the "CFO Annual Statement"),

signed by their Chief Financial Officer under penalties of perjury, that sets forth (A) the amount of

the Tax Benefits Actually Realized, if any, by the Debtors as a result of the Transfer during the

preceding taxable year (including, without limitation, as a result of an amended return for any taxable

year, a loss or deduction being utilized for such preceding taxable year, a loss or credit carryback

from such preceding taxable year, or a loss or credit carryforward to such preceding taxable year),

(B) the date (or dates) such Tax Benefits were Actually Realized during such taxable year, (C) the

amount of the Initial Tax Benefit Item, (D) the amount of the Initial Tax Benefit Item that is utilized

by the Debtors to create such Tax Benefit Actually Realized, and (E) the amount of the Initial Tax

Benefit Item not yet utilized by the Debtors (to create a Tax Benefit Actually Realized) that will be

carried forward. The Debtors shall also provide Cryovac, Inc. with all information relevant to the

computation of such Tax Benefits Actually Realized by the Debtors set forth in paragraph

VI(j)(ii)(A) of this Agreement (including full access to any applicable Tax Return, the non-


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proprietary work papers, and other materials and information of the Debtors and their accountants).

For purposes of this Agreement, "Tax Benefit Start Date" means the date on which the Debtors are

required to pursue all Protective Claims pursuant to the third sentence of paragraph VI(i) of this

Agreement.

               (iii)   If Cryovac, Inc. disagrees in any respect with the Debtors' computation of the

amount of the Tax Benefit Actually Realized that is set forth on the Tax Benefit Statement or the

CFO Annual Statement, Cryovac, Inc. may, on or prior to forty-five (45) days after the receipt of

either such statement from the Debtors, deliver a notice to the Debtors setting forth in reasonable

detail the basis for Cryovac, Inc.'s disagreement therewith ("Tax Benefit Dispute Notice"). If no Tax

Benefit Dispute Notice is received by the Debtors on or prior to the forty-fifth (45th) day after

Cryovac, Inc.'s receipt of the Tax Benefit Statement or the CFO Annual Statement, as the case may

be, from the Debtors, the Tax Benefit Statement or the CFO Annual Statement, as the case may be,

shall be deemed accepted by Cryovac, Inc.

               (iv)    Within fifteen (15) days after the Debtors' receipt of a Tax Benefit Dispute

Notice, unless the matters in the Tax Benefit Dispute Notice have otherwise been resolved by mutual

agreement of the parties, the Debtors and Cryovac, Inc. shall jointly select a nationally-recognized

independent certified public accountant (the "Tax Benefit Accountant"); provided, however, if the

Debtors and Cryovac, Inc. are unable to agree upon the Tax Benefit Accountant within such fifteen

(15) day period, then the Debtors and Cryovac, Inc. shall each select a nationally-recognized

independent certified public accountant which shall then jointly choose the Tax Benefit Accountant

within fifteen (15) days thereafter. The Tax Benefit Accountant shall conduct such review of the

work papers and such other materials and information, and the Tax Benefit Dispute Notice, and any

supporting documentation as the Tax Benefit Accountant in its sole discretion deems necessary, and


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the Tax Benefit Accountant shall conduct such hearings or hear such presentations by the parties or

obtain such other information as the Tax Benefit Accountant in its sole discretion deems necessary.

The Tax Benefit Accountant shall, as promptly as practicable and in no event later than forty-five

(45) days following the date of its retention, deliver to the Debtors and Cryovac, Inc. a report (the

"Tax Benefit Report") in which the Tax Benefit Accountant shall, after reviewing disputed items set

forth in the Tax Benefit Dispute Notice, determine what adjustments, if any, should be made to the

amount of the Tax Benefit Actually Realized. The Tax Benefit Report shall set forth, in reasonable

detail, the Tax Benefit Accountant's determination with respect to the disputed items or amounts

specified in the Tax Benefit Dispute Notice, and the revisions, if any, to be made to the amount of

the Tax Benefit Actually Realized, together with supporting calculations. All fees and expenses

relating to this work of the Tax Benefit Accountant shall be borne equally by the Debtors and

Cryovac, Inc. Absent manifest error, the Tax Benefit Report shall be final and binding upon the

Debtors and Cryovac, Inc., and no party shall seek further recourse to courts, other arbitral tribunals

or otherwise. The Debtors shall pay to Cryovac, Inc. in immediately available funds no later than

five (5) days after delivery of the Tax Benefit Report to the Debtors and Cryovac, Inc. the sum of (x)

the excess, if any, of fifty (50) percent of the amount of the Tax Benefit Actually Realized set forth

in the Tax Benefit Report over the amount previously paid, if any, by the Debtors to Cryovac, Inc.

with respect thereto and (y) interest with respect to any such excess, as provided for in paragraph

VI(k) of this Agreement.

               (v)     If a loss, deduction, credit or exclusion that resulted in Tax Benefit that was

Actually Realized by the Debtors is later denied by a Taxing authority by (x) a decision, decree or

other order by a court of competent jurisdiction, which has become final and unappealable or (y)

any other means (including a closing agreement or accepted offer in compromise under section 7121


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or 7122 of the Internal Revenue Code) if Cryovac, Inc. has consented to such other means, which

consent shall not be unreasonably withheld or delayed, the Debtors shall provide a written statement,

signed under penalties of perjury by the Chief Financial Officer of the Debtors, that states (A) the

amount of such loss, deduction, credit or exclusion that was denied, (B) the amount of the Tax

Benefits Actually Realized that was initially determined and paid by the Debtors to Cryovac, Inc. for

such taxable period, and (C) the revised amount of the Tax Benefit Actually Realized for such

taxable period taking into account the denial of such loss, deduction, credit or exclusion. The

Debtors shall also provide to Cryovac, Inc. any information relevant to the computation of such

initial and revised amount of the Tax Benefits Actually Realized by the Debtors (including full

access to any applicable Tax Return, the non-proprietary work papers, and other materials and

information of the Debtors and their accountants). If Cryovac, Inc. disagrees in any respect with the

Debtors' computation of such revised amount of the Tax Benefit Actually Realized by the Debtors

for such taxable period, the principles of the dispute resolution mechanism set forth in paragraphs

VI(j)(iii) and VI(j)(iv) shall apply. No later than five (5) days after final resolution of the amount

of the revised Tax Benefits Actually Realized for such taxable period, Cryovac, Inc. shall pay to the

Debtors in immediately available funds fifty (50) percent of the excess, if any, of the amount of Tax

Benefits Actually Realized that was initially determined for such taxable period and paid by the

Debtors to Cryovac, Inc. over the amount of the Tax Benefit Actually Realized for such taxable

period as revised. Any amount that is not paid within the period set forth in this paragraph VI(j)(v)

shall accrue interest in accordance with paragraph VI(k) of this Agreement.

       k.      Notwithstanding anything to the contrary set forth in this Agreement, any amount of

Tax Benefit Actually Realized that is required to be paid by the Debtors to Cryovac, Inc. pursuant

to this Agreement and that is not paid within the period set forth in paragraph VI(h) of this


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Agreement shall accrue interest at the prime rate announced from time to time by Bank of America,

N.A., compounded annually.

       l.      In the event of a conflict between this Agreement and the 1998 Tax Sharing

Agreement, this Agreement shall govern and control.



VII.   General Matters and Reservations

       a.      In addition to other conditions set forth in this Agreement, the obligation of the parties

to conclude the proposed settlement set forth in this Agreement is subject to and contingent upon

the entry of a Final Order by this Court approving this Agreement, pursuant to Rules 2002 and 9019

of the Federal Rules of Bankruptcy Procedure.

       b.      This Agreement (as amended, modified, or supplemented) sets forth the sole and

entire agreement among the parties with respect to its subject matter, and may not be waived,

amended, modified, or supplemented except by written instrument executed by duly authorized

representatives of each of the parties and entitled "Modification of Settlement Agreement and

Release." This Agreement supercedes any prior agreement, understanding, or undertaking (written

or oral) by and among the parties regarding the subject matter of this Agreement.

       c.      All parties agree that the terms of this Agreement were drafted jointly by counsel for

the parties following extensive arm's length negotiations. In the event there arises an ambiguity or

question of intent or interpretation of this Agreement or any provision thereof, the Agreement (and

each of its provisions) shall be construed as if drafted jointly by the parties and no presumption or

burden of proof shall arise favoring or disfavoring any party by virtue of the authorship of any

provision of this Agreement.




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       d.      The article and section headings contained in this Agreement are solely for the

purpose of reference, are not part of the agreement of the parties, and shall not, in any way, define,

limit, extend, or otherwise affect the scope, meaning, intent, or interpretation of this Agreement or

any provision thereof.

       e.      Without affecting any determination as to the law applicable to the Action, this

Agreement and the rights and obligations of the parties hereunder shall be governed by and construed

in accordance with the laws of the State of Delaware (without giving effect to its provisions on

conflict of laws).

       f.      Nothing in this Agreement shall preclude any action to enforce any of the terms of

this Agreement; provided, however, that any such action shall be brought exclusively in this Court,

which shall retain jurisdiction of this matter and of the parties to this Agreement for the purposes of

enforcing and implementing the terms and conditions of this Agreement and resolving disputes as

to the rights and obligations of the parties under this Agreement; provided, further, that section

524(g)(2) shall govern jurisdiction over any proceeding that involves any injunction issued in

accordance with this Agreement under section 524(g) of the Bankruptcy Code. The parties to this

Agreement submit to the jurisdiction of this Court for these purposes.

       g.      This Agreement may be executed in any number of identical counterparts, any of

which may contain the signatures of less than all parties and all of which together shall constitute

a single agreement.

       h.      All parties to this Agreement shall jointly move this Court within thirty days of its

execution for full and complete approval of this Agreement, and as applicable agree to enter into the

Registration Rights Agreement, the Release, the Indemnity Agreement, and the ancillary documents

when and as contemplated in this Agreement.


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        i.      This Agreement shall be binding upon and inure to the benefit of each of the

Plaintiffs, each of the Released Parties, and any and all of their respective heirs, legal representatives,

administrators, successors and assigns, provided that (i) neither this Agreement nor any substantial

right or obligation hereunder may be assigned by Sealed Air Corporation or Cryovac, Inc. without

the written consent of the other parties that have signed this Agreement, which consent shall not be

unreasonably withheld and (ii) none of the Debtors shall transfer or agree to transfer a substantial

part of its assets (in one or a series of transactions, whether or not related) to any Person or Persons

without a prior determination of the Court by Final Order that at the time of each such transaction

such Debtors, collectively with any such successors who will be jointly and severally liable for the

obligations of such Debtors, will have the ability to pay and satisfy in the ordinary course of business

their respective obligations and liabilities, including, without limitation, all Indemnified Taxes and

all obligations set forth or referred to in this Agreement, including, without limitation, all such

obligations set forth in the Chapter 11 Plan or Confirmation Order, and provided, further, that

paragraph VII(i)(ii) of this Agreement shall not apply at any time when the following two conditions

in paragraphs VII(i)(ii)(A) and (B) of this Agreement are both satisfied: (A)(1) as a result of the

expiration of the applicable statutes of limitation, assessment against and collection of Indemnified

Taxes from each of the Released Parties (including assessment and collection pursuant to section

6901 of the Internal Revenue Code) is barred by such statutes of limitation and (2) all Indemnified

Taxes have been paid by the Debtors in accordance with the 1998 Tax Sharing Agreement and the

Released Parties have received from the Debtors (or adequate provision satisfactory to the Released

Parties has been made for the payment of) all indemnification and other payments claimed by the

Released Parties against any of the Debtors in respect of Indemnified Taxes and related matters in

accordance with the 1998 Tax Sharing Agreement; and (B) the injunctions required pursuant to


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paragraph II(c)(vi) of this Agreement shall be in effect and there shall not be pending any lawsuit,

action or other judicial or administrative proceeding (1) alleging an Asbestos-Related Claim and

seeking to impose liability on one or more of the Released Parties notwithstanding the existence and

continuing operative effect of such injunctions or (2) challenging in any manner the continuance and

operative effect of such injunctions in respect of the Released Parties.

       j.      Without prejudice to any rights or remedies otherwise available to any party to this

Agreement, each party to this Agreement acknowledges that damages would be an inadequate

remedy for any breach of the provisions of this Agreement and agrees that the obligations under this

Agreement shall be specifically enforceable.

       k.      All notices and other communication hereunder shall be in writing and shall be

deemed to have been duly given upon receipt if: (i) mailed by certified or registered mail, return

receipt requested, (ii) sent by Federal Express or other express courier, fee prepaid, (iii) sent via

facsimile with receipt confirmed, or (iv) delivered personally, addressed as follows or to such other

address or addresses of which the respective party shall have notified the other.

       A.      If to the Plaintiffs, to:

               Official Committee of Asbestos Property Damage Claimants
               c/o Bilzin Sumberg Baena Price & Axelrod LLP
               200 South Biscayne Boulevard
               Suite 2500
               Miami, Florida 33131
               Attention: Scott L. Baena
               Telephone: (305) 350-2403
               Facsimile: (305) 374-7593

               -and-

               Official Committee of Asbestos Personal Injury Claimants
               c/o Caplin & Drysdale, Chartered
               One Thomas Circle, NW
               Washington, D.C. 20005


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     Attention: Peter V. Lockwood
     Telephone: (202) 862-5000
     Facsimile: (202) 429-3301

B.   If to the Released Parties, to:

     Sealed Air Corporation/Cryovac, Inc.
     Park 80 East
     Saddle Brook, New Jersey 07663
     Attention: General Counsel and Secretary
     Facsimile: (201) 703-4113

     with copies to:

     Skadden, Arps, Slate, Meagher & Flom LLP
     Four Times Square
     New York, New York 10036-6522
     Attention: Sheila L. Birnbaum
     Telephone: (212) 735-3000
     Facsimile: (212) 735-2000




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       Exhibit 1: REGISTRATION RIGHTS AGREEMENT
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                            REGISTRATION RIGHTS AGREEMENT

               This REGISTRATION RIGHTS AGREEMENT (the "Registration Rights
Agreement") is made and entered into as of __________________, 200__, by and between SEALED
AIR CORPORATION, a Delaware corporation, the Initial Holders (as defined below), and any other
Person who later becomes a party to this Registration Rights Agreement by executing and delivering
a Joinder Agreement in the form attached as Exhibit A hereto (the "Joinder Agreement"), in
connection with the issuance of 9,000,000 shares of Sealed Air Common Stock (as defined below),
as more fully set forth in the Settlement Agreement (as defined below).

                                            ARTICLE I

                                        Certain Definitions

               All capitalized terms not otherwise defined in this Registration Rights Agreement
shall have the meanings ascribed thereto in the Settlement Agreement. As used in this Registration
Rights Agreement, the following terms shall have the meanings ascribed to them below:

                  1.1   "Acquisition Blackout Period" shall have the meaning set forth in Section
2.1(e).

                  1.2   "Blackout Period" shall have the meaning set forth in Section 2.1(e).

               1.3      "Commission" shall mean the Securities and Exchange Commission or any
federal agency at the time administering the Securities Act.

                1.4     "Exchange Act" shall mean the Securities Exchange Act of 1934, as amended,
or any federal statute then in effect which has replaced such statute.

               1.5     "Holder" shall mean any Person, including any Initial Holder, who is a holder
of record or beneficial owner of Registrable Securities for so long as such Person is a holder of
record or beneficial owner of any Registrable Securities.

                  1.6   "Holder Post-Effective Amendment" shall have the meaning set forth in
Section 2.1(d).

              1.7     "Initial Holder" shall mean any Person to whom Cryovac, Inc. transfers the
Settlement Shares on or after the Effective Date.

                  1.8   "Maximum Blackout Period" shall have the meaning set forth in Section
2.1(e).

                  1.9   "Piggyback Registration" shall have the meaning set forth in Section 2.2(a).

               1.10 "Registrable Securities" shall mean the Settlement Shares and any other
securities described in Section 8.1(ii); provided that such securities shall cease to be Registrable
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